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                                                                                                        1

 1                         IN THE UNITED STATES DISTRICT COURT

 2                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 3
         IN RE: WAWA, INC.            :   19-CV-6019-GEKP
 4       DATA SECURITY LITIGATION     :
         PLAINTIFF                    :
 5                                    :
         ___________________________________________________
 6
                                        JAMES A. BYRNE U.S. COURTHOUSE
 7                                      CONDUCTED VIA VIDEOCONFERENCE
                                        W E D N E S D A Y, M A Y 5 , 2 0 2 1
 8                                      COMMENCING AT 10:00 A.M.
                                        MOTION HEARING FOR PRELIMINARY
 9                                      APPROVAL
         ________________________________________________________
10            B E F O R E T H E H O N O R A B L E G E N E E . K . P R A T T E R, J .
         ________________________________________________________
11

12       A P P E A R A N C E S:

13       S H E R R I E R . S A V E T T, E S Q U I R E
         J O N J A S O N L A M B I R A S, E S Q U I R E
14       B E R G E R M O N T A G U E, P C
         1 8 1 8 M A R K E T S T R E E T, S U I T E 3 6 0 0
15       P H I L A D E L P H I A, P A 1 9 1 0 3
         215 875-3000
16       S S A V E T T@ B M . N E T
         J L A M B I R A S@ B M . N E T
17
         COUNSEL FOR CONSUMER PLAINTIFFS
18

19
                           S U Z A N N E R . W H I T E, R P R , F C R R, C M
20                               OFFICIAL COURT REPORTER
                               ROOM 2609 U. S. COURTHOUSE
21                                     601 MARKET STREET
                                   P H I L A D E L P H I A, P A 1 9 1 0 6
22                                       (215)627-1882

23

24
         P R O C E E D I N G S R E C O R D E D B Y S T E N O T Y P E- C O M P U T E R,
25       T R A N S C R I P T P R O D U C E D B Y C O M P U T E R- A I D E D T R A N S C R I P T I O N
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                                                                                              2

 1       C O N T I N U E D A P P E A R A N C E S:

 2       R O B E R T A D . L I E B E N B E R G, E S Q U I R E
         F I N E , K A P L A N A N D B L A C K, R . P . C .
 3       O N E S O U T H B R O A D S T R E E T, 2 3 R D F L O O R
         P H I L A D E L P H I A, P A 1 9 1 0 7
 4       215 567-6565
         R L I E B E N B E R G@ F I N E K A P L A N. C O M
 5
         COUNSEL FOR CONSUMER PLAINTIFFS
 6
         B E N J A M I N J O H N S, E S Q U I R E
 7       C H I M I C L E S S C H W A R T Z K R I N E R & D O N A L D S O N- S M I T H L L P
         361 W. LANCASTER AVENUE
 8       H A V E R F O R D, P A 1 9 0 4 1
         C H I M I C L E S. C O M
 9
         COUNSEL FOR CONSUMER PLAINTIFFS
10
         D O N A L D H A V I L A N D, J R . , E S Q U I R E
11       H A V I L A N D H U G H E S, L L C
         201 S. MAPLE AVENUE
12       SUITE 110
         A M B L E R, P A 1 9 0 0 2
13       215 609-4661
         H A V I L A N D@ H A V I L A N D H U G H E S. C O M
14
         COUNSEL FOR EMPLOYEE TRACK PLAINTIFFS
15

16       G R E G O R Y T . P A R K S, E S Q U I R E
         K R I S T I N M . H A D G I S, E S Q U I R E
17       M O R G A N L E W I S B O C K I U S, L L P
         1701 MARKET STREET
18       P H I L A D E L P H I A, P A 1 9 1 0 3- 2 9 2 1
         G P A R K S@ M O R G A N L E W I S. C O M
19       K R I S T I N. H A D G I S@ M O R G A N L E W I S. C O M

20       COUNSEL FOR WAWA AND AFFILIATES

21       P R E S E N T B Y T E L E P H O N E:

22       L I N D A N U S S B A U M, E S Q U I R E
         J O N L A M B I R A S, E S Q U I R E
23       G E R A R D D E V E R, E S Q U I R E
         A M Y B R A N D T, E S Q U I R E
24       B I L L P L A T T, E S Q U I R E
         D A V I D C A T H E R I N E, E S Q U I R E
25       J E A N I N E K E N N E Y, E S Q U I R E
         S A M A N T H A H O L B R O O K, E S Q U I R E
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                                                                                                       4

 1                                  ( T H E C L E R K O P E N S C O U R T. )

 2                                  T H E C O U R T:     H E L L O, E V E R Y B O D Y.   PLEASE

 3       T A K E Y O U R S E A T S.

 4                                  FIRST OFF, IT'S LOVELY TO SEE YOU HERE.

 5       T H A N K Y O U F O R C O M I N G, A N D W E H A V E T O M Y K N O W L E D G E A T

 6       LEAST TWO CAMERAS GOING AND WHO ELSE?                                 WHO KNOWS WHAT

 7       ELSE?        O N E C A M E R A I S C O M I N G F R O M M Y R I G H T, W H I C H F O C U S E S

 8       ON YOU ALL.              THERE IS ANOTHER CAMERA AT THE BACK OF THE

 9       COURTROOM THAT SHOULD IT WANT TO, WILL FOCUS ON THE

10       B E N C H.

11                                  T H E G A M E R U L E S H E R E A R E A S F O L L O W S.      AS

12       Y O U S E E , I ' M I N A T E R R A R I U M B E H I N D P L A S T I C, A N D T H A T I S

13       WHY I'M NOT WEARING A MASK, AND I'M ALSO QUITE FAR AWAY

14       FROM ALL OF YOU.                YOU ALL ARE VERY NICELY PHYSICALLY

15       D I S T A N C E D.   YOU ARE FOLLOWING SOME PROTOCOL WHICH CALLS

16       F O R W E A R I N G M A S K S, W H I C H I S T E R R I F I C.

17                                  W H E N A N D I F Y O U S P E A K, P A R T I C U L A R L Y I F

18       Y O U C O M E U P H E R E T O T H E L E C T E R N, A S F A R A S I ' M C O N C E R N E D

19       A N D S O T H A T I T F A C I L I T A T ES O U R C O U R T R E P O R T E R, W H O I S

20       T O D A Y R E M O T E.

21                                  M S . W H I T E, H O W A R E Y O U , B Y T H E W A Y ?

22                                  C O U R T R E P O R T E R:   G R E A T, A N D Y O U ?

23                                  T H E C O U R T:     I ' M G R E A T.

24                                  SO THAT MS. WHITE CAN HEAR YOU AND MAKE

25       S U R E S H E K N O W S W H O I S S P E A K I N G, I W O U L D A P P R E C I A T E I T I F
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                                                                                                          5

 1       Y O U I D E N T I F I E D Y O U R S E L F A N D T H E N S P O K E.     IF YOU WISH AND

 2       IF THOSE AROUND YOU ARE COMFORTABLE WITH THIS, THEN

 3       P A R T I C U L A R L Y I F Y O U A R E S P E A K I N G A T T H E L E C T E R N, Y O U M A Y

 4       AS FAR AS I'M CONCERNED REMOVE YOUR MASK WHILE YOU

 5       S P E A K.

 6                                 M R . P A R K S:     Y O U R H O N O R, I ' M S O R R Y T O B E

 7       T H E F L Y I N T H A T P A R T I C U L A R O I N T M E N T, B U T M Y L A W F I R M

 8       DOES INSIST THAT I HAVE TO CERTIFY THAT EVERYBODY HERE

 9       IS GOING TO FOLLOW THE PROTOCOLS THAT ARE IN THE EASTERN

10       D I S T R I C T' S C O V I D R E S P O N S E P R O G R A M.     AND SO WHILE I DON'T

11       HAVE TO INSIST THAT YOUR HONOR WEARS A MASK, I DO HAVE

12       TO INSIST THAT EVERYBODY SPEAKING WEARS A MASK.                                         WE CAN

13       A L L B E L O U D A N D I N T R O D U C E O U R S E L V E S.        WE'VE WORKED WITH

14       T H E C O U R T R E P O R T E R T O M A K E S U R E S H E C A N H E A R.

15                                 T H E C O U R T:     N O P R O B L E M.

16                                 M R . P A R K S:     BUT I UNFORTUNATELY DO HAVE

17       TO INSIST ON THAT.

18                                 T H E C O U R T:     OKAY.          WELL, SOME DAY YOU

19       WON'T HAVE TO.

20                                 M R . P A R K S:     I HOPE THAT IS TRUE SOON.

21                                 T H E C O U R T:     A L L R I G H T Y.     SO YOU NEED TO

22       H A V E S T A R T E D O U T B Y E X P L A I N I N G, S T A T I N G Y O U R N A M E S O

23       THAT MS. WHITE WAS ABLE TO KNOW THAT.

24                                 M S . P A R K S:     C O R R E C T.    T H A T I S D O N E.

25                                 T H E C O U R T:     L E T ' S T A K E A T T E N D A N C E.     GO
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                                                                                                            6

 1       FOR IT.

 2                                 M S . S A V E T T:       S H E R R I E S A V E T T, B E R G E R

 3       M O N T A G U E, F O R T H E C O N S U M E R P L A I N T I F F S.

 4                                 B E N J A M I N J O H N S:      G O O D M O R N I N G, Y O U R

 5       H O N O R.    BEN JOHNS FROM THE CHIMICLES SCHWARTZ FIRM, ALSO

 6       O N B E H A L F O F T H E C O N S U M E R P L A I N T I F F S.

 7                                 M S . L I E B E N B E R G:      G O O D M O R N I N G.    BOBBIE

 8       L I E B E N B E R G, F I N E , K A P L A N A N D B L A C K, F O R T H E C O N S U M E R

 9       P L A I N T I F F S.

10                                 M S . H O L B R O O K:       G O O D M O R N I N G, Y O U R H O N O R.

11                                 SAMANTHA HOLBROOK FROM CHIMICLES

12       S C H W A R T Z, A L S O F O R T H E C O N S U M E R P L A I N T I F F S.

13                                 M R . C O H E N:       G O O D M O R N I N G, Y O U R H O N O R.

14       BART COHEN FROM NUSSBAUM LAW GROUP FOR THE CONSUMER

15       P L A I N T I F F S.

16                                 M R . H A V I L A N D:       G O O D M O R N I N G, Y O U R H O N O R,

17       I N T H E B A C K H E R E , D O N H A V I L A N D, H A V I L A N D H U G H E S F O R T H E

18       E M P L O Y E E T R A C K P L A I N T I F F S.

19                                 M R . P L A T T:       Y O U R H O N O R, B I L L P L A T T.       I'M

20       HERE WITH MR. HAVILAND FOR THE EMPLOYEE TRACK

21       P L A I N T I F F S.

22                                 M R . C A T H E R I N E:      G O O D M O R N I N G, Y O U R H O N O R.

23       M Y N A M E I S D A V I D C A T H E R I N E.         I'M HERE WITH MR. HAVILAND

24       O N B E H A L F O F T H E E M P L O Y E E T R A C K P L A I N T I F F S.

25                                 T H E C O U R T:       I ' M A S S U M I N G, S U Z A N N E, T H A T
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                                                                                                            7

 1       YOU ARE GETTING A WRITTEN LIST OF WHO-ALL IS APPEARING

 2       F R O M M R . C O Y L E.      R I G H T?

 3                                  AND THEN FINALLY --

 4                                  M S . K E N N E Y:       JEANNINE KENNEY FROM

 5       H A U S F E L D L L P F O R T H E F I N A N C I A L I N S T I T U T I O N C L A S S.     I'M

 6       ON THE LIST.

 7                                  T H E C O U R T:     IT WAS MS. KENNEY FROM

 8       H A U S F E L D.

 9                                  I BELIEVE ON THE PHONE WE MAY HAVE -- OR

10       I N S O M E O T H E R F A S H I O N H A V E S O M E B O D Y E L S E O N T H E P H O N E.

11       W O U L D Y O U A L L P L E A S E N O T E Y O U R P R E S E N C E.

12                                  M S . B R A N D T:       Y E S , Y O U R H O N O R.   THIS IS

13       A M Y B R A N D T F R O M T H E L A W F I R M O F W E I R A N D P A R T N E R S, A N D

14       I ' M A P P E A R I N G O N B E H A L F O F T H E C O N S U M E R P L A I N T I F F S, B U T

15       S P E C I F I C A L L Y P L A I N T I F F M A R I S A G R A Z I A N O.

16                                  M S . N U S S B A U M:      G O O D M O R N I N G, Y O U R H O N O R.

17       LINDA NUSSBAUM OF THE NUSSBAUM LAW GROUP FOR THE

18       C O N S U M E R P L A I N T I F FS .

19                                  M R . L A M B I R A S:      THIS IS JOHN LAMBIRAS WITH

20       BERGER MONTAGUE ON BEHALF OF THE CONSUMER TRACK

21       P L A I N T I F F S.

22                                  M R . D E V E R:     Y O U R H O N O R, I T ' S J E R R Y D E V E R

23       F R O M F I N E K A P L A N A N D B L A C K, A L S O O N B E H A L F O F T H E

24       C O N S U M E R P L A I N T I F F S.   THANK YOU.

25                                  T H E C O U R T:     I BELIEVE WE ALSO -- JUST SO
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                                                                                                             8

 1       EVERYBODY KNOWS THIS, WE HAVE AT LEAST ONE MEMBER OF THE

 2       PRESS WHO WAS INTERESTED ENOUGH TO SECURE THE LINK TO

 3       T H I S H E A R I N G.       A N D F O R E V E R Y B O D Y' S B E N E F I T, I W I L L

 4       MERELY REPEAT TO THE EXTENT THAT ANYONE IS --

 5                                    M R . P A R K S:     F O R D E F E N D A N T S, H E L L O A G A I N,

 6       Y O U R H O N O R, G R E G P A R K S O F M O R G A N L E W I S A N D B O C K I U S F O R

 7       D E F E N D A N T W A W A , I N C . A N D I T S A F F I L I A T E S.

 8                                    M S . H A D G I S:    G O O D M O R N I N G, Y O U R H O N O R,

 9       K R I S T I N H A D G I S, A L S O M O R G A N L E W I S A N D B O C K I U S, F O R

10       DEFENDANT WAWA, INC.                    A N D I T S A F F I L I A T E S.

11                                    T H E C O U R T:     I THINK NOW WE HAVE EVERYBODY

12       CHECKED IN.

13                                    I WILL STATE AND REMIND YOU ALL THAT AS A

14       MATTER OF FEDERAL LAW, NOT JUST EVEN EASTERN DISTRICT

15       PROTOCOL -- AS A MATTER OF FEDERAL LAW NO RECORDING OR

16       COPYING OF A VIDEO OF A COURT PROCEEDING MAY BE MADE OR

17       C I R C U L A T E D.     SOME DAY WE WILL EVEN HAVE THE TECHNOLOGY

18       TO PUT A LITTLE WIRED MARK ON OUR FILM, BUT APPARENTLY

19       T H A T I S B E Y O N D O U R K E N A T T H I S P O I N T.

20                                    S O W H O W A N T S T O S T A R T?       I HAVE NO

21       P A R T I C U L A R O R D E R I N W H I C H I N E E D T H I S T O P R O C E E D.          I

22       WILL TRY TO BE AS POLITE AS I CAN WHEN I INTERRUPT YOU

23       W I T H Q U E S T I O N S.

24                                    M S . S A V E T T:    Y O U R H O N O R, I F I M A Y ,

25       SHERRIE SAVETT FOR THE CONSUMER TRACK PLAINTIFFS WOULD
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                                                                                                            9

 1       L I K E T O L A Y O U T O U R C L A I M S.

 2                                  T H E C O U R T:       SURE.      G O A H E A D.

 3                                  M S . S A V E T T:      THANK YOU.

 4                                  I WILL BE PRESENTING TODAY ALONG WITH MY

 5       C O - C O U N S E L B E N J O H N S.      A N D F I R S T, I W I L L A D D R E S S T H E

 6       C O N S U M E R P L A I N T I F F S' O V E R A L L M O T I O N F O R P R E L I M I N A R Y

 7       A P P R O V A L O F T H E S E T T L E M E N T.

 8                                  N E X T, I W I L L A D D R E S S S O M E O F T H E

 9       O B J E C T I O N S R A I S E D B Y T H E E M P L O Y E E P L A I N T I F F S.     SOME OF

10       T H E S E O B J E C T I O N S H A V E B E E N R E S O L V E D B Y T H E P A R T I E S'

11       A M E N D M E N T T O T H E S E T T L E M E N T A G R E E M E N T, W H I C H W E F I L E D

12       W I T H T H E C O U R T L A S T W E E K.         THE AMENDMENT CLARIFIES THE

13       S C O P E O F T H E R E L E A S E.        THE REVISED RELEASE ENCOMPASSES

14       ONLY CLAIMS OF THEFT OF PAYMENT CARD INFORMATION AND

15       ONLY DURING THE PERIOD OF MARCH 2019 TO DECEMBER 2019.

16       THE RELEASE DOES NOT RELEASE CLAIMS OF THEFT OF

17       E M P L O Y M E N T- R E L A T E D I N F O R M A T I O N.   T H A T I S M R . H A V I L A N D' S

18       CASE.       THUS THE EMPLOYEE PLAINTIFFS ARE FREE TO PURSUE

19       T H E I R C L A I M S O F T H E F T O F E M P L O Y M E N T- R E L A T E D I N F O R M A T I O N

20       I N T H E E M P L O Y E E T R A C K.

21                                  MR. JOHNS WILL ADDRESS THE PROPOSED

22       NOTICE PLAN WHEN I HAVE GONE THROUGH THE OTHER ELEMENTS

23       OF OUR CASE.             WE WOULD LIKE TO RESERVE REBUTTAL TIME IF

24       WE MAY, AFTER --

25                                  T H E C O U R T:       T H A T I S F I N E.
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                                                                                                      10

 1                                  BY THE WAY, MY BEST GUESS IS THAT THIS

 2       SHOULD BASICALLY BE A MORNING ACTIVITY FOR ALL OF US,

 3       R A T H E R T H A N - - A S O P P O S E D T O A M A R A T H O N B E Y O N D T H A T.

 4                                  M S . S A V E T T:    HOPEFULLY THAT WILL BE THE

 5       CASE.

 6                                  T H E C O U R T:     ARE YOU SUPPOSED TO SAY THAT

 7       W O U L D B E U P T O M E B E C A U S E I W I L L K E E P M Y Q U E S T I O NS T O A

 8       M I N I M U M.    YOU ALL CAN GET OUT AND ABOUT ON YOUR MERRY

 9       WAY.      G O A H E A D.

10                                  M S . S A V E T T:    THANK YOU.

11                                  AS A HIGH LEVEL OVERVIEW OF THE CASE IN

12       S E T T L E M E N T, T H I S I S A D A T A B R E A C H C L A S S A C T I O N.     THE

13       CONSUMER PLAINTIFFS SEEK PRELIMINARY APPROVAL OF THE

14       PROPOSED SETTLEMENT UNDER FEDERAL RULE OF CIVIL

15       PROCEDURE 23(E)(1).                    THE DATA BREACH INVOLVES THE THEFT

16       O F C R E D I T A N D D E B I T C A R D N U M B E R S, E X P I R A T I O N D A T E S A N D

17       C A R D H O L D E R N A M E S.    THE CLASS SIZE IS APPROXIMATELY 22

18       M I L L I O N C A R D H O L D E R S.    THE BREACH TOOK PLACE FROM MARCH

19       4 T H , 2 0 1 9 T O D E C E M B E R 1 2 T H , 2 0 1 9.

20                                  THE SETTLEMENT PROPOSED OFFERS TANGIBLE

21       BENEFITS TO ALL CONSUMERS WHO USED PAYMENT CARDS AT WAWA

22       D U R I N G T H E B R E A C H P E R I O D.      THE SETTLEMENT WAS REACHED

23       W I T H T H E A S S I S T A N C E O F A H I G H L Y R E S P E C TE D M E D I A T O R, T H E

24       H O N O R A B L E D I A N E W E L S H O F J A M S.   JUDGE WELSH PREPARED A

25       D E C L A R A T I O N I N S U P P O R T O F T H E S E T T L E M E N T, W H I C H W E F I L E D
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                                                                                                        11

 1       W I T H O U R O P E N I N G B R I E F.

 2                                 NOW I'M GOING TO SUMMARIZE THE SETTLEMENT

 3       B E N E F I T S.   U N D E R T H E P R O P O S E D S E T T L E M E N T, W A W A W I L L

 4       P R O V I D E U P T O $ 9 M I L L I O N I N W A W A G I F T C A R D S A N D C A S H.

 5       I N J U N C T I V E R E L I E F I S P R O V I D E D, W H I C H I S V A L U E D A T

 6       A P P R O X I M A T E L Y $ 3 5 M I L L I O N, A N D A S E P A R A T E $ 3 . 2 M I L L I O N

 7       LUMP SUM PAYMENT IS TO BE USED FOR CLAIMS ADMINISTRATION

 8       C O S T S, C L A S S C O U N S E L' S A T T O R N E Y S' F E E S A N D E X P E N S E S, A N D

 9       S E R V I C E A W A R D S T O T H E N A M E D C L A S S R E P R E S E N T A T I V E S.

10                                 THE $9 MILLION IN GIFT CARDS AND CASH

11       W I L L B E A L L O C A T E D T H R O U G H T H R E E T I E R S, R E F L E C T I N G T H E

12       DEGREE OF HARM OR NOT HARM THAT WAS EXPERIENCED BY

13       M E M B E R S O F T H E C L A S S.       T I E R 1 I S A V A I L A B L E T O C O N S U M E RS

14       WHO USED A PAYMENT CARD AT WAWA DURING THE BREACH PERIOD

15       AND DID NOT EXPERIENCE A FRAUDULENT CHARGE ON THEIR

16       CARD.       TIER 1 CLAIMANTS ARE ELIGIBLE TO RECEIVE A $5

17       WAWA GIFT CARD.              AGGREGATE TIER 1 DISTRIBUTIONS ARE

18       SUBJECT TO A $6 MILLION --

19                                 T H E C O U R T:      M S . S A V E T T, D O Y O U W A N T T O

20       ADDRESS NOW HOW YOU WOULD DESCRIBE THE DIFFERENCE

21       B E T W E E N A G I F T C A R D A N D A C O U P O N?

22                                 M S . S A V E T T:     YES.

23                                 78 PERCENT OF THE PRODUCTS SOLD AT WAWA

24       ARE SOLD FOR $5 OR LESS.                       SO THE CLASS MEMBERS WHO

25       DIDN'T EXPERIENCE ANY HARM OR FRAUD ON THEIR CARD CAN
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                                                                                                    12

 1       BUY MANY, MANY PRODUCTS AT WAWA AND THEY DON'T HAVE TO

 2       S P E N D O N E D I M E O F T H E I R O W N M O N E Y.    SO THAT IS ONE OF

 3       THE HALLMARKS OF THE GIFT CARD, AS OPPOSED TO A COUPON

 4       W H E R E Y O U H A V E T O P U T O U T - - I F Y O U B U Y A P R O D U C T, Y O U

 5       H A V E T O P U T O U T Y O U R O W N M O N E Y A N D Y O U G E T A D I S C O U N T.

 6                               T H E C O U R T:     WHAT IF THE COUPON IS FREE,

 7       FREE CANDY BAR?

 8                               M S . S A V E T T:    W E L L T H E N, I T ' S M O R E L I K E A

 9       GIFT CARD.         B U T T H E R E' S O T H E R E L E M E N T S T H A T M A K E T H I S A

10       GIFT CARD.         I T ' S T R A N S F E RA B L E, I T ' S O P E N F O R O N E Y E A R ,

11       A N D I T ' S T H E E Q U I V A L E N T O F C A S H.

12                               ANOTHER POINT IS THAT WAWA HAS STATISTICS

13       INDICATING THAT WHEN THEY HAVE HAD GIFT CARDS IN THE

14       PAST, THEY ARE -- 97.5 PERCENT OF THEM ARE USED.                                 SO IT

15       SHOWS THAT WAWA'S CUSTOMERS WHO HAVE A VERY, VERY HIGH

16       RATE OF BEING REPETITIVE CUSTOMERS --

17                               T H E C O U R T:     H O W D O Y O U K N O W T H A T?

18                               M S . S A V E T T:    THESE ARE STATISTICS THAT WE

19       G O T F R O M W A W A F R O M T H E I R O W N R E C O R D S.

20                               T H E C O U R T:     WELL, THEN MAYBE THEY CAN

21       TELL ME HOW THEY KNOW THAT.

22                               M S . S A V E T T:    SHOULD I GO ON?

23                               T H E C O U R T:     SURE.

24                               M S . S A V E T T:    SO I WAS JUST EXPLAINING

25       WITH THE CAPS AND THE FLOORS THAT IF THE AGGREGATE
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                                                                                                    13

 1       C L A I M S A R E G R E A T E R T H A N 6 M I L L I O N, E A C H G I F T C A R D W I L L

 2       B E R E D U C E D P R O R A T A, A N D I F T H E A G G R E G A T E C L A I M S A R E

 3       L E S S T H A N 1 M I L L I O N, E A C H G I F T C A R D W I L L B E I N C R E A S E D

 4       PRO RATA.

 5                                 TIER 2.         TIER 2 IS AVAILABLE TO CONSUMERS

 6       WHO USED A PAYMENT CARD AT WAWA DURING THE BREACH PERIOD

 7       AND EXPERIENCED AN ACTUAL OR ATTEMPTED FRAUDULENT CHARGE

 8       ON THEIR CARD, AND THEY WILL RECEIVE A $15 WAWA GIFT

 9       CARD.

10                                 T H E C O U R T:     WHAT IS THE PLAN FOR

11       D E T E R M I N I N G T H E E F F I C A C Y O F S U C H A C L A I M?

12                                 M S . S A V E T T:    WELL, IF THEY -- THE CLASS

13       MEMBER GETS TO CHOOSE BETWEEN TIER 1, TIER 2 AND TIER 3.

14       SO EVERYBODY HAS TO CERTIFY THAT THEY SPENT SOME TIME

15       M O N I T O R I N G T H E I R A C C O U N T.   THEY JUST HAVE TO CHECK A BOX

16       FOR THAT.

17                                 NOW, IF YOU JUST MAKE A CLAIM UNDER TIER

18       1, ALL YOU HAVE TO DO IS SHOW THAT YOU USED YOUR CREDIT

19       C A R D A T W A W A D U R I N G T H A T P E R I O D.     AND HOW WOULD YOU SHOW

20       THAT?       EVERYBODY GETS A CREDIT CARD STATEMENT INDICATING

21       W H E R E Y O U M A K E Y O U R P U R C H A S E S.     YOU CAN TAKE A

22       SCREENSHOT OF IT.                I F Y O U D O N ' T K E E P T H E M, I T ' S E A S Y T O

23       G E T T H E M O N L I N E.     THAT IS EXTREMELY EASY TO DO.

24                                 THEN FOR SOMEBODY IN TIER 2, THEY HAVE TO

25       SHOW THAT THEY USED THEIR CARD, THAT THERE WAS AN
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                                                                                                      14

 1       A T T E M P T E D F R A U D, A N D T H A T G E N E R A L L Y T H O S E P E O P L E W H O

 2       W O U L D C H O O S E T I E R 2 H A D T H E F R A U D C H A R G E R E V E R S ED B Y A

 3       BANK, BECAUSE IT'S THE NORMAL PRACTICE THAT WHEN FRAUD

 4       I S R E P O R T E D, B A N K S W I L L R E V E R S E T H O S E C H A R G E S, A N D S O

 5       THE PERSON DOES NOT EXPERIENCE ANY ACTUAL DAMAGE OR

 6       F R A U D U L E N T C H A R G E.

 7                                  T H E C O U R T:     A N D S A D L Y, I ' M F A M I L I A R W I T H

 8       THAT.       BUT MY REAL QUESTION IS, ONCE A CLAIMANT CHECKS

 9       THE BOX, A BOX, LET'S ASSUME THEY CHECK THE BOX THAT

10       S A Y S T H E Y A R E P A R T O F T I E R 2 , W H A T P R O C E S S, I F A N Y , I S

11       THERE UNDER THIS PROPOSED SETTLEMENT FOR AN EVALUATION

12       AS TO THE ACCURACY OF THE ASSERTION THAT THE CLAIMANT

13       BELONGS TO TIER 2 AND GETS THE $15 CARD AS OPPOSED TO

14       BEING SHUNTED OFF TO TIER 1 OR $5.

15                                  M S . S A V E T T:    WITH TIER 2 THEY HAVE TO

16       H A V E A L I T T L E M O R E P R O O F.        TIER 1 JUST HAS TO SHOW I

17       M A D E A P U R C H A S E A T W A W A D U R I N G T H A T P E R I O D.       TIER 2 HAS

18       TO SHOW THAT A CHARGE WAS REVERSED OR THAT IT APPEARED

19       T O B E A F R A U D.        THEY HAVE TO HAVE SOME OTHER

20       D O C U M E N T A T I O N T H A T S H O W S T H E P R O C E S S, T H A T I T W A S

21       F R A U D U L E N T A N D T H E N I T W A S R E V E R S E D.

22                                  T H E C O U R T:     OKAY.      IT'S THE ADMINISTRATOR

23       T H A T D E T E R M I N E S T H A T , N O T W A W A , F O R E X A M P L E.

24                                  M S . S A V E T T:    C O R R E C T.

25                                  T H E C O U R T:     IT'S NOT SOME COMMITTEE OF
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                                                                                                          15

 1       N O N E X P E R T S.

 2                                    M S . S A V E T T:   T H A T ' S R I G H T.   WE HAVE KCC,

 3       H I R E D A S O U R I N D E P E N D E N T A D M I N I S T R A T O R, A N D T H A T W I L L B E

 4       THE BIG PART OF THEIR JOB, TO MAKE SURE THAT THERE IS

 5       A D E Q U A T E P R O O F I N T H E W A Y S T H A T I J U S T D E S C R I B E D.

 6                                    AND TIER 3 ARE THE PEOPLE WHO REALLY HAD

 7       THE MOST HARM, AND THEY HAD TO SHOW THAT THEY

 8       EXPERIENCED AN ACTUAL OR FRAUDULENT CHARGE ON THEIR CARD

 9       AND THAT THEY INCURRED OUT-OF-POCKET LOSSES OR EXPENSES

10       R E L A T E D T O T H E B R E A C H.        SO THEY WILL GET CASH UP TO $500

11       P E R P E R S O N I F T H E Y P R O V I D E P R O O F.        AND QUALIFYING LOSSES

12       I N C L U D E U N R E I M B U R S E D F R A U D C H A R G E S, B A N K F E E S ,

13       R E P L A C E M E N T C A R D F E E S, L A T E F E E S F R O M T R A N S A C T I O N S W I T H

14       THIRD PARTIES THAT WERE DELAYED DUE TO FRAUD OR CARD

15       R E P L A C E M E N TS , C R E D I T F R E E Z E F E E S, P A R K I N G E X P E N S E S O R

16       TRANSPORTATION EXPENSES USED TO TRY TO CLEAR UP THEIR

17       A C C O U N T S.       A N D W E A L S O H A V E A C A T C H A L L, O T H E R E X P E N S E S

18       R E A S O N A B L Y A T T R I B U T A B L E T O T H E D A T A S E C U R I T Y I N C I D E N T.

19       S O T H E Y H A V E T O P R O V E W H A T T H E Y' D H A V E T O P R O V E I N C O U R T

20       TO GET UP TO $500.                   THE OTHER CATEGORIES ARE MUCH MORE

21       L O O S E I N T H E I R P R O O F.        CATEGORY 1 ONLY HAS TO JUST SHOW

22       A T R A N S A C T I O N.

23                                    THE NOTICE PROCEDURE IS -- WE ARE GOING

24       T O G O T H R O U G H T H A T I N G R E A T D E T A I L, B U T I T I S N O T H A R D

25       T O G E T T H I S I N F O R M A T I O N A N D F I L E A C L A I M.         IT'S VERY
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                                                                                                        16

 1       E A S I L Y A C C E S S I B L E T O A L L C O N S U M E R S.     IF YOU DON'T KEEP

 2       Y O U R S T A T E M E N T S, T H E N Y O U C A N G E T T H E M O N L I N E, A N D Y O U

 3       J U S T H A V E T O T A K E A P I C T U R E O F T H E M W I T H Y O U R P H O N E.

 4       THERE IS A QR PROCEDURE WITH A SCAN, AND YOU CAN DO IT

 5       ALL ELECTRONICALLY IF YOU ARE UNDER 40 AND YOU KNOW HOW

 6       TO DO IT.            THAT IS A JOKE.              BUT SOME PEOPLE OUR AGE KNOW

 7       HOW TO DO IT.               I JUST LEARNED HOW TO DO IT BY GOING TO

 8       R E S T A U R A N T S.     IT'S NOT SO HARD.               YOU CAN ORDER THAT WAY.

 9       BUT WE ARE TRYING TO MAKE IT AS EASY AS POSSIBLE FOR

10       P E O P L E T O M A K E C L A I M S.

11                                   SO DO YOU HAVE ANY OTHER QUESTIONS ON

12       THAT PART OF IT?                 SHOULD I GO ON?

13                                   T H E C O U R T:     W E L L , Y O U K E E P G O I N G.    I MAY

14       COME BACK TO IT.

15                                   M S . S A V E T T:    SO WAWA GIFT CARDS ARE A

16       REASONABLE FORM OF COMPENSATION IN THIS UNIQUE CASE

17       BECAUSE WAWA HAS AN UNUSUALLY LOYAL BASE OF REPEAT

18       C U S T O M E R S.       THUS, THEY ARE HIGHLY LIKELY TO REVISIT WAWA

19       I N T H E F U T U R E.        7 8 P E R C E N T O F W A W A' S P R O D U C T S A R E P R I C E D

20       LESS THAN $5 SO THEY DON'T HAVE TO SPEND ANY MONEY TO

21       G E T S O M E T H I N G.      AND BY THE WAY, THEY CAN EVEN USE IT FOR

22       GAS.         E V E R Y B O D Y N E E D S G A S - - A L M O S T E V E R Y B O D Y.

23                                   T H E C O U R T:     WHAT IS THE PRICE OF GAS

24       T O D A Y?

25                                   M S . S A V E T T:    I T ' S G E T T I N G M O R E E X P E N S I V E.
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                                                                                                    17

 1                                CLASS MEMBERS WILL NOT NEED TO SPEND ANY

 2       OF THEIR OWN MONEY IF THEY DON'T WANT TO, AND THEY CAN

 3       G E T P R O D U C T S.   T H E Y C A N G E T V A L U E F R O M T H O S E G I F T C A R D S.

 4                                T H E C O U R T:      W A S T H E R E - - W E L L, O N E O F T H E

 5       ISSUES THAT HAS BEEN KICKING AROUND HERE IS WHY A GIFT

 6       CARD?       W H Y N O T C A S H?     AND THEN ONE OF YOUR ANSWERS IS

 7       G O I N G T O B E , W E L L , T H E G I F T C A R D S A R E T R A N S F E R A B L E, E T

 8       C E T E R A, E T C E T E R A.      IF THEY ARE TRANSFERABLE AND IF A

 9       RECIPIENT OF A GIFT CARD COULD STAND OUTSIDE OR INSIDE A

10       WAWA AND TURN TO ANOTHER PERSON AND SAY, GIVE ME 5 BUCKS

11       FOR MY CARD, WHY NOT JUST PAY -- HAVE THE SETTLEMENT BE

12       MONEY INSTEAD OF A CARD?                      WHY ARE THEY CARDS AND NOT

13       CASH?

14                                M S . S A V E T T:     Y O U R H O N O R, T H I S W A S H E A V I L Y

15       N E G O T I A T E D.

16                                T H E C O U R T:      I'M SURE IT WAS.

17                                M S . S A V E T T:     SETTLEMENTS ARE A

18       C O M P R O M I S E, A N D F O R W A W A I T ' S P R O B A B L Y C O S T T H E M L E S S T O

19       D O G I F T C A R D S.    AND THEY FEEL THAT THEY WILL BE USED AND

20       WE HAVE NEGOTIATED --

21                                T H E C O U R T:      THAT'S BECAUSE YOUR

22       EXPECTATION IS THAT THEY WILL NOT ALL BE CASHED IN, SO

23       T O S P E A K.

24                                M S . S A V E T T:     WELL, WITH 97.2 PERCENT OF

25       G I F T C A R D S B E I N G U S E D O V E R T I M E, T H E R E I S A V E R Y H I G H
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                                                                                                     18

 1       P R O B A B I L I T Y T H A T T H E Y W I L L B E U S E D, A N D T H E Y A R E V E R Y

 2       EASY TO USE.            I MEAN, THERE ARE GOING TO BE SIGNS RIGHT

 3       A T T H E C H E C K O U T W H E R E Y O U C A N Q U A L I F Y, Y O U C A N D O Y O U R

 4       C L A I M V I R T U A L L Y R I G H T T H E R E.     I MEAN, THERE IS A HIGH

 5       P R O B A B I L I T Y T H A T T H E Y A R E N O T O N L Y B E U S E D, T H E Y C O U L D

 6       P O T E N T I A L L Y B E P R O R A T E D.     BUT THINK ABOUT THE FACT THAT

 7       TIER 1 --

 8                                 T H E C O U R T:      LET'S PUT IT A DIFFERENT WAY.

 9       AS OPPOSED TO THE SETTLEMENT BEING -- SENDING OUT A

10       B U N C H O F C H E C K S I N S T E A D O F T H E C A R D S, W H Y C O U L D A

11       RECIPIENT OF THE GIFT CARD, WHEN THEY COME INTO A WAWA

12       F O R T H E I R L O Y A L R E T U R N V I S I T, S I M P L Y T E N D E R T H E C A R D A N D

13       GET THE CASH?

14                                 M S . S A V E T T:       Y O U R H O N O R, T H I S W A S P A R T O F

15       T H E N E G O T I A T I O N A N D A C O M P R O M I S E, A N D W E W E R E T R Y I N G T O

16       G E T V A L U E F O R O U R C L A S S.         AND THE PEOPLE IN TIER 1,

17       R E A L L Y Y O U C O U L D A R G U E, D I D N O T H A V E A N Y H A R M .        MAYBE

18       T H E Y W E R E W O R R I E D T H A T T H E I R C R E D I T C A R D W A S S T O L E N.

19       THAT IS NOT A RECOGNIZABLE LEGAL HARM.                               WE ARE GIVING

20       THEM SOMETHING OF VALUE THAT THEY WOULD NOT OTHERWISE

21       H A V E A S A R E S U L T O F T H I S S E T T L E M E N T.        BUT WE THINK IT

22       D O E S H A V E R E A L V A L U E A N D I T I S E A S I L Y U S E D.         AND WE

23       THINK THAT THE WAY WE HAVE TIERED IT REALLY TAKES INTO

24       ACCOUNT THE DIFFERENT DEGREES OF HARM.

25                                 THE PEOPLE THAT REALLY HAD A FRAUDULENT
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                                                                                                    19

 1       C H A R G E T H A T D I D N O T G E T R E V E R S E D, T H E Y A R E G O I N G T O G E T

 2       C A S H , O R I F T H E Y H A D T O S P E N D, Y O U K N O W, $ 2 5 O R $ 3 0

 3       PARKING OUTSIDE A BANK TO CLEAR IT UP, THEY ARE GOING TO

 4       GET CASH.              THEY GET UP TO $500 IF THEY CAN PROVE THEIR

 5       E X P E N S E S.       AND THOSE ARE THE PEOPLE THAT HAVE REAL SOLID

 6       O U T - O F - P O C K E T L O S S E S.

 7                                  AND THE $15 IN-BETWEEN ONE IS FOR PEOPLE

 8       THAT REALLY HAD TO GO TO THE TROUBLE OF GETTING IT

 9       R E V E R S E D.       EVEN IF THEY DIDN'T GET CHARGED FOR THE

10       F R A U D U L E N T T R A N S A C T I O N, T H E Y H A D T O G O T O Q U I T E A B I T

11       M O R E T R O U B L E T O G E T I T R E V E R S E D.     SO THEY ARE GETTING

12       SOMETHING MORE THAN THE PEOPLE THAT HAD NO TANGIBLE HARM

13       AT ALL.            BUT THEY ARE GETTING -- TIER 1 IS GETTING A

14       TANGIBLE BENEFIT JUST FOR HAVING BEEN A VICTIM OF THAT

15       D A T A B R E A C H.      T I E R 2 I S G E T T I N G A L I T T L E B I T M O R E, A N D

16       TIER 3, THE PEOPLE THAT REALLY HAVE OUT-OF-POCKET DAMAGE

17       T H A T I F T H E Y L I T I G A T ED T H E C A S E T H E Y W O U L D H A V E T O P R O V E

18       I N C O U R T, A R E G O I N G T O G E T U P T O $ 5 0 0 .

19                                  WE THOUGHT IT WAS A VERY REASONABLE

20       C O M P R O M I S E.     I DON'T AT THIS TIME WANT TO GO INTO ALL

21       T H E R I S K S O F T H E L I T I G A T I O N, B U T T H E D E F E N D A N T A R G U E D

22       T H E R E W A S N O C A U S A T I O N.     THERE WAS SUCH A LOW DEGREE OF

23       F R A U D O N T H E S E C R E D I T C A R D S, E V E N T H O U G H 2 2 M I L L I O N

24       C A R D S W E R E S T O L E N, T H A T H O W C A N Y O U P R O V E T H A T I T W A S

25       D U E T O T H E B R E A C H, B E C A U S E T H E R E I S A L W A Y S A C E R T A I N
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                                                                                                      20

 1       DEGREE OF CREDIT CARD FRAUD IN EVERY BIT OF LARGE

 2       TRANSACTIONS WITH AN OUTFIT LIKE WAWA WITH 900 STORES

 3       A N D 6 4 M I L L I O N T R A N S A C T I O N S A M O N T H, W H I C H O C C U R R E D T H I S

 4       J A N U A R Y.   SO THIS WAS A COMPROMISE TO TRY TO GET VALUE

 5       F O R O U R C L A S S M E M B E R S, A N D W E T H I N K I T ' S A V E R Y F A I R

 6       C O M P R O M I S E B E C A U S E T H E S E A R E R E A L V A L U E.

 7                                T H E C O U R T:     WHY DO THEY EXPIRE WITHIN A

 8       YEAR?

 9                                M S . S A V E T T:     WELL, THE DEFENDANT

10       O R I G I N A L L Y P R O P O S E D A M U C H Q U I C K E R E X P I R A T I O N, A N D T H I S

11       W A S A C O M P R O M I S E.

12                                T H E C O U R T:     BETWEEN WHAT AND WHAT?

13                                M S . S A V E T T:     I THINK THE FIRST POSITION

14       W A S A M O N T H, A N D W E E N D E D U P N E G O T I A T I N G A Y E A R .         AND

15       C O N S I D E R I N G T H A T W A W A' S C U S T O M E R S D O C O M E I N Q U I T E O F T E N

16       F O R T H E I R C O F F E E S A N D T H E I R H O A G I E S, W E T H I N K T H A T

17       PEOPLE WILL USE THESE CARDS EASILY IN -- THESE GIFT

18       CARDS IN A YEAR.               AND I THINK -- WE THOUGHT IT WAS A

19       R E A S O NA B L E A M O U N T O F T I M E T H A T P E O P L E C O U L D H A V E T O U S E

20       THEM.

21                                T H E C O U R T:     A YEAR FROM WHAT?

22                                M S . S A V E T T:     F R O M T H E I R I S S U A N C E.

23                                T H E C O U R T:     N O T O N R E C E I P T?

24                                M S . S A V E T T:     WELL, RECEIPT SHOULD COME AT

25       THE SAME TIME AS ISSUANCE BECAUSE THEY ARE GOING TO --
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                                                                                                      21

 1                                 T H E C O U R T:     USING WHAT METHOD OF

 2       D E L I V E R Y?

 3                                 M S . S A V E T T:    I THINK IT WOULD BE AS THEY

 4       F I L E T H E I R C L A I M S.

 5                                 T H E C O U R T:     ARE YOU GETTING HAPPY NEW

 6       YEAR CARDS RIGHT NOW THROUGH THE MAIL?                              I'M REALLY JUST

 7       A S K I N G.

 8                                 M S . S A V E T T:    T H O S E A R E F A I R Q U E S T I O N S,

 9       FOR SURE.

10                                 T H E C O U R T:     TO FULLY UNDERSTAND WHAT DOES

11       A YEAR MEAN, A YEAR FROM WHEN THEY COME OFF THE ASSEMBLY

12       L I N E A N D T H E Y H A V E B E E N S T A M P E D O R - - Y O U R C O L L E A G U E,

13       M R . P A R K S, I S P R A C T I C A L L Y J U M P I N G O U T O F H I S S E A T H E R E.

14                                 M S . S A V E T T:    COULD I HAVE MR. PARKS

15       A N S W E R T H A T Q U E S T I O N?   I'M NOT 100 PERCENT SURE.

16                                 M S . P A R K S:     Y E S , Y O U R H O N O R.    THESE GIFT

17       CARDS ARE GOING TO BE ISSUED BY E-MAIL.                              WHEN CLASS

18       M E M B E R S M A K E C L A I M S, T H E Y A R E G O I N G T O P R O V I D E U S W I T H

19       A N E - M A I L A D D R E S S.    AND THERE WILL BE AN E-MAIL THAT

20       C O M E S O U T T H A T G I V E S T H E M T H E I R G I F T C A R D.        IT'S AN

21       E L E C T R O N I C G I F T C A R D , A C T U A L L Y, A N D I T W I L L B E A Y E A R

22       FROM WHEN THE E-MAIL COMES OUT WILL BE WHEN THEY ARE --

23                                 T H E C O U R T:     SO WE ARE NOT -- NOT IN THE

24       U.S. MAIL.

25                                 M S . P A R K S:     Y O U B E T , Y O U R H O N O R.    THAT'S
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                                                                                                      22

 1       C O R R E C T.   WE ARE NOT.

 2                                T H E C O U R T:      SO NOT TO MAKE TOO MUCH OF

 3       T H I S , I T ' S N O T U N L I K E A B E D , B A T H A N D B E Y O N D C O U P O N.

 4                                M S . P A R K S:      WELL, WE BRISTLE AT THE WORD

 5       " C O U P O N, " Y O U R H O N O R.      I T ' S N O T A C O U P O N.    BUT IN TERMS

 6       O F T H E E X P I R A T I O N D A T E, I T I S C O R R E C T T H A T I T W I L L B E A

 7       YEAR FROM THE MOMENT THE CONSUMER ACTUALLY HAS IT IN

 8       THEIR HAND AND CAN USE IT.                       THEY WILL BE ABLE TO USE IT

 9       T H E V E R Y D A Y T H E Y G E T I T B Y E - M A I L, A N D T H E N B E A B L E T O

10       U S E I T F O R A Y E A R - - U P T O A Y E A R A F T E R T H A T.

11                                T H E C O U R T:      W H A T H A P P E N S T O T H E L U D D I T E S?

12                                M S . P A R K S:      WE ACTUALLY DID TALK ABOUT

13       THAT AND WE CAME UP WITH A SOLUTION THAT IS, IF THAT

14       PERSON EITHER WANTS TO GIVE AN E-MAIL TO A FRIEND OR

15       FAMILY MEMBER WHO CAN GET THE E-MAIL AND THEN PRINT IT

16       OUT OR WE DO HAVE A SOLUTION WHEREBY THE CLAIMS

17       ADMINISTRATOR CAN PRINT A PRINTED VERSION OF IT AND SEND

18       I T T O T H E M I N T H E M A I L.          S O W E H A V E A W A Y T O D O T H A T.

19       T H E E - M A I L G I F T C A R D W H E N P R I N T E D, I T W O R K S.       YOU DON'T

20       H A V E T O B R I N G I T I N T O W A W A E L E C T R O N I C A L L Y.     IT COULD BE

21       PRINTED OUT AND USED THAT WAY.                         SO THERE ARE A COUPLE

22       D I F F E R E N T W A Y S F O R T H E L U D D I T E S, B E C A U S E W E T A L K E D A B O U T

23       THAT.       W E T A L K E D A T M E D I A T I O N A B O U T T H E F A C T T H A T, Y O U

24       KNOW, MY GRANDMOTHER GOES TO WAWA AND SHE DOES NOT

25       REALLY HAVE E-MAIL.                   B U T S H E C O U L D H A V E I T E - M A I LE D T O
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                                                                                                         23

 1       M E , I C O U L D P R I N T I T F O R H E R , S A Y , H E R E G R A N DM A , H E R E I S

 2       YOUR E-MAIL, HERE IS YOUR GIFT CARD AND EVERYBODY IS

 3       H A P P Y.

 4                                 M S . S A V E T T:     ALSO I WOULD LIKE TO ADD

 5       THAT FOR THE LUDDITE AND FOR PEOPLE THAT STILL LIKE

 6       P A P E R, T H E Y C A N F I L E A P A P E R C L A I M A N D M A I L I T I N .             WE

 7       H A V E I T E L E C T R O N I C A L L Y O R I N P A P E R.

 8                                 T H E C O U R T:     G O A H E A D.

 9                                 M S . S A V E T T:     J U D G E W E L S H' S D E C L A R A T I O N

10       C O M M E N T S O N T H I S A S P E C T O F T H E S E T T L E M E N T.       S H E S A I D:

11       WAWA EMPHASIZED THAT WAWA'S CUSTOMERS ARE FAR MORE

12       L I K E L Y T O B E R E P E A T C U S T O M E R S, A N D T H U S A C L A S S

13       SETTLEMENT INVOLVING GIFT CARDS WOULD BE A LOGICAL AND

14       E F F E C T I V E W A Y T O C O M P E N S A T E C O N S U M E R S.    WAWA AGREED THE

15       G I F T C A R D S W O U L D B E F U L L Y T R A N S F E RR A B L E A N D G O O D F O R A T

16       LEAST A YEAR.             T H I S W A S P E R S U A S I V E T O M E A S A M E D I A T O R.

17                                 SO THE POINT IS THAT THESE ASPECTS AND

18       THESE KINDS OF QUESTIONS THAT YOU ARE ASKING WERE

19       H E A V I L Y D I S C U S S E D A T T H E M E D I A T I O N, A N D W E A T T E M P T E D T O

20       WORK OUT ALL OF THE SCENARIOS THAT WE COULD THINK OF.

21                                 NOW, I WOULD LIKE TO ADDRESS THE

22       I N J U N C T I V E R E L I E F, W H I C H I S R E A L L Y V E R Y S I G N I F I C A N T

23       HERE.        AND I WOULD LIKE TO STATE THAT ALL CLASS MEMBERS

24       G E T T H E B E N E F I T O F T H E I N J U N C T I V E R E L I E F, A N D E S P E C I A L L Y

25       B E C A U S E M O S T O F T H E M A R E R E P E A T C U S T O M E R S.       AND THE
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                                                                                                        24

 1       INJUNCTIVE RELIEF AT THE END OF THE DAY IS TO PROTECT

 2       THE SYSTEM SO THIS KIND OF A CREDIT CARD -- PAYMENT CARD

 3       B R E A C H W O U L D N E V E R O C C U R A G A I N.

 4                                  SO SOME OF THE ELEMENTS OF THE INJUNCTIVE

 5       R E L I E F, A L L O F W H I C H H A S C O S T W A W A $ 3 5 M I L L I O N, A N D M U C H

 6       OF WHICH IS ATTRIBUTABLE TO THE BREACH AND OUR

 7       S E T T L E M E N T N E G O T I A T I O N S, W A W A W I L L R E T A I N A N I N D E P E N D E N T

 8       T H I R D- P A R T Y D A T A S E C U R I T Y E X P E R T T O A N N U A L L Y T E S T W A W A' S

 9       COMPLIANCE WITH PAYMENT CARD INDUSTRY RULES AND ISSUE A

10       R E P O R T O N C O M P L I A N C E.

11                                  WAWA WILL CONDUCT WHAT THEY CALL

12       P E N E T R A T I O N T E S T I N G.   THAT MEANS WHETHER AN OUTSIDE

13       H A C K E R, H O W E A S I L Y T H E Y C O U L D P E N E T R A T E T H E S Y S T E M,

14       A N N U A L L Y, A N D I S O B L I G A T E D T O R E M E D I A T E C R I T I C A L

15       V U L N E R A B I L I T I E S T H A T A R E I D E N T I F I E D.

16                                  T H I R D, W A W A W I L L E N C R Y P T P A Y M E N T C A R D

17       INFORMATION AT THE POINT -- AT ALL POINT OF SALE

18       T E R M I N A L S I N A L L W A W A S T O R E S.       WAWA WILL IMPLEMENT EMV

19       CHIP-BASED TECHNOLOGY AT ALL POINT OF SALE TERMINALS IN

20       WAWA'S STORES AND FUEL PUMPS AND --

21                                  T H E C O U R T:     EMV MEANING WHAT?

22                                  M S . S A V E T T:     I D O N ' T K N O W T H E E X A C T W O R DS

23       THAT THAT IS, BUT THIS IS THE MORE SOPHISTICATED --

24                                  T H E C O U R T:     DOES SOMEBODY KNOW THE

25       A C R O N Y M?
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                                                                                                        25

 1                                  M R . P A R K S:     YES.      I T ' S A C T U A L L Y.

 2       E U R O P A Y/ M A S T E RC A R D / V I S A I S T H E A C R O N Y M, B U T T H E B A S I C

 3       EXPERIENCE THAT EVERYBODY IS PROBABLY FAMILIAR WITH IS

 4       USING A CHIP VERSUS SWIPING YOUR CARD.                                AS YOU MAY HAVE

 5       N O T I C E D, I T H A S B E E N A W H I L E N O W T H A T Y O U H A V E B E E N

 6       U S I N G T H E C H I P I N T H E S T O R E T O M A K E Y O U R P U R C H A S E S.           IF

 7       Y O U G O I N T H E G R O C E R Y S T O R E O R A N Y O T H E R S T O R E, Y O U A R E

 8       PROBABLY INSERTING YOUR CHIP, WHEREAS AT THE PUMP

 9       I M P L E M E N T I N G T H A T T E C H N O L O G Y I S A L O T H A R D E R.         SO MOST

10       GAS STATIONS ACTUALLY HAVE NOT IMPLEMENTED THAT

11       TECHNOLOGY OUT OF THE PUMP YET, AND THE STANDARDS FOR

12       M A S T E RC A R D A N D V I S A T H A T R E Q U I R E T H A T T O H A P P E N A C T U A L L Y

13       D O N ' T R E Q U I R E T H A T T O H A P P E N U N T I L N O W O C T O B E R O F 2 0 2 2.

14       W A W A H A S I M P L E M E N T E D T H A T A H E A D O F T I M E.       SO NOW IF YOU

15       G O T O A W A W A S T O R E A N D Y O U U S E T H E F U E L P U M P, Y O U P A Y A T

16       T H E P U M P O P T I O N, Y O U A R E N O W G O I N G T O B E U S I N G T H E

17       C H I P - B A S E D T E C H N O L O G Y R A T H E R T H A N T H E S W I P E- B A S E D

18       T E C H N O L O G Y.     AND ANYBODY WHO DRIVES PROBABLY REALIZES

19       T H A T M O R E O F T E N T H E S E D A Y S Y O U A R E U S I N G A S W I P E- B A S E D

20       T E C H N O L O G Y A T T H E F U E L P U M P - - A T A G A S S T A T I O N, B E C A U S E

21       THAT STANDARD HAS BEEN VERY DIFFICULT FOR GAS STATIONS

22       T O I M P L E M E N T.

23                                  M S . S A V E T T:    AND OUR EXPERTS -- AND WE

24       H A V E B E E N C O N S U L T I N G, Y O U R H O N O R, W I T H E X P E R TS T H A T W E

25       H I R E D, I N D E P E N D E N T E X P E R T S, H A V E T O L D U S T H A T A L L O F
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                                                                                                     26

 1       T H E S E M E A S U R E S M A K E W A W A' S S Y S T E M M U C H , M U C H M O R E S E C U R E

 2       I N T H E F U T U R E, A N D P A R T I C U L A R L Y T H A T C H I P- B A S E D

 3       T E C H N O L O G Y I S M U C H B E T T E R T H A N T H E S W I P E.    IT'S MUCH

 4       MORE SAFE.

 5                                I N C I D E N T A L L Y, A L L O F T H E S E M E A S U R E S W E R E

 6       R E V I E W E D W I T H O U R E X P E R T S, A N D T H E Y A C T U A L L Y S U G G E S TE D A

 7       L O T O F T H E S E M E A S U R E S, A N D T H A T I S H O W W E F O R M U L A T E D A

 8       L O T O F T H I S I N J U N C T I V E R E L I E F.

 9                                T H E C O U R T:     ONE OF THE FEATURES -- ONE OF

10       THE REACTIONS THAT I HAD TO THE INJUNCTIVE RELIEF WAS

11       N O T - - W E L L , O B V I O U S L Y, M U C H O F I T M A D E S E N S E O N C E I T

12       W A S F U L L Y E X P L A I N E D.   BUT IT SEEMS TO ME THAT THE MAJOR

13       BENEFICIARY OF THE STEPS BEING TAKEN WOULD BE WAWA.

14       I T ' S R E A L L Y I N T H E I N S T I T U T I O N' S I N T E R E S T T O H A V E T H E S E

15       P R O T E C T I O N S.

16                                M S . S A V E T T:    I T I S , C E R T A I N L Y.

17                                T H E C O U R T:     IT IS DERIVATIVE PROTECTION

18       F O R T H E C U S T O M E R S, B U T I T S E E M S T O M E T H E M A J O R

19       M O T I V A T I O N S H O U L D B E F O R W A W A I T S E L F.

20                                M S . S A V E T T:    THERE IS NO QUESTION THAT IT

21       IS BETTER FOR THE COMPANY TO HAVE MORE SECURE

22       P R O C E D U R E S, B U T I T ' S A L S O B E T T E R F O R T H E I R C U S T O M E R S,

23       A N D I T H I N K I T G O E S B O T H W A Y S.       THE CUSTOMERS WILL FEEL

24       S A F E R U S I N G T H E I R C A R D S A N D S H O P P I N G A T W A W A.        I THINK

25       THAT IS A HUGE BENEFIT FOR THE CUSTOMERS AND FOR WAWA.
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                                                                                                       27

 1       I DON'T THINK THERE IS ANYTHING WRONG WITH THEM DOING

 2       S O M E T H I N G T O I M P R O V E T H E I R B U S I N E S S, T O M A K E I T A B E T T E R

 3       A N D S A F E R B U S I N E S S, T H A T A L S O B E N E F I T S T H E I R C U S T O M E R S.

 4       AND WE THINK THAT THAT IS -- THE INJUNCTIVE RELIEF IS A

 5       T R E M E N D O U S B E N E F I T T O T H E I R C U S T O M E R S, A S C O N S U M E R S.

 6                                 T H E C O U R T:     OKAY.

 7                                 M S . S A V E T T:     WAWA WILL PROVIDE CLASS

 8       C O U N S E L W I T H S E M I A N N U A L U P D A T E S O F W A W A' S C O M P L I A N C E

 9       W I T H T H E S E I N J U N C T I V E R E M E D I E S.   I THINK THAT IS A

10       PRETTY BIG OBLIGATION THAT THEY HAVE.                              THEY HAVE TO

11       REPORT TO US NOW, AS WELL AS TO THEIR OWN BOARDS AND TO

12       T H E I R O W N C O M P A N I E S.

13                                 T H E C O U R T:     I'M SURE THAT WILL BE

14       R I G O R O U S.

15                                 M S . S A V E T T:     SO THE ESTIMATION ON THE

16       C O S T S O F A L L T H E S E I M P R O V E M E N T S W A S $ 3 5 M I L L I O N, A N D A

17       L O T O F I T H A S A L R E A D Y B E E N P A I D.

18                                 SO THIS SETTLEMENT THAT I HAVE JUST

19       D E S C R I B E D, W E C O N T E N D, M E E T S A L L T H E S T A N D A R D S F O R

20       PRELIMINARY APPROVAL THAT HAVE TO BE MET UNDER RULE

21       23(E)(1).          T H E C O U R T' S D E C I S I O N O N P R E L I M I N A R Y A P P R O V A L

22       IS LIMITED TO DECIDING WHETHER THE CLASS SHOULD BE

23       NOTIFIED OF THE SETTLEMENT AND GIVEN AN OPPORTUNITY TO

24       OBJECT OR OPT OUT.                   UNDER RULE 23(E)(1)(B), THE COURT

25       SHOULD APPROVE SENDING NOTICE TO THE CLASS IF THE
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                                                                                                         28

 1       P A R T I E S S H O W T H A T T H E C O U R T W I L L, Q U O T E, L I K E L Y B E A B L E

 2       T O , E N D Q U O T E, U L T I M A T E L Y F I N D T H A T T H E S E T T L E M E N T I S

 3       FAIR, REASONABLE AND ADEQUATE AT THE FINAL APPROVAL

 4       STAGE AND CERTIFY THE CLASS FOR SETTLEMENT PURPOSES AT

 5       T H E F I N A L A P P R O V A L S T A G E.

 6                                 THIS SETTLEMENT IS FAIR, REASONABLE AND

 7       A D E Q U A T E, A N D O U R O P E N I N G B R I E F W E N T I N T O G R E A T D E T A I L

 8       WHY, UNDER RULE 23(E).                   I'M NOT GOING TO REPEAT THE

 9       WHOLE BRIEF HERE.                I JUST WANT TO DISCUSS A COUPLE OF

10       K E Y P O I N T S.

11                                 T H E C O U R T:     I F I R E C A L L C O R R E C T L Y,

12       M S . S A V E T T, Y O U A R E G O I N G T O A D D R E S S A N D A N T I C I P A T E T H E

13       ARGUMENTS OR THE OBJECTIONS OR THE CRITICISMS THAT HAVE

14       C O M E F R O M T H E E M P L O Y E E T R A C K?

15                                 M S . S A V E T T:    I W I L L.      BUT I FELT THAT I

16       S H O U L D L A Y O U T T H E S E T T L E M E N T F I R S T A N D T H E S T A N D A R D S.

17                                 SO NUMBER ONE, THE SETTLEMENT WAS

18       NEGOTIATED AT ARM'S LENGTH WITH THE ASSISTANCE OF A

19       H I G H L Y E X P E R I E N C E D M E D I A T O R, J U D G E W E L S H.   THE MEDIATION

20       L A S T E D 1 2 H O U R S.     THE PARTIES SUBMITTED DETAILED

21       M E D I A T I O N S T A T E M E N T S A D D R E S S I N G L E G A L I S S U E S, S U C H A S

22       S T A N D I N G, D A M A G E, A N D C L A S S C E R T I F I C A T I O N; F A C T U A L

23       I S S U E S, S U C H A S T H E N A T U R E A N D S I Z E O F T H E B R E A C H A N D

24       E X T E N T O F F R A U D U L E N T M I S U S E; A N D S E T T L E M E N T P R O P O S A L S.

25                                 THE SETTLEMENT DISCUSSIONS WERE FOCUSED
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                                                                                                           29

 1       LARGELY ON CAUSATION AND DAMAGES BECAUSE LIABILITY AND

 2       N E G L I G E N C E, I N E F F E C T, W A S A S S U M E D.       WE EXAMINED MANY,

 3       M A N Y D O C U M E N T S, I N C L U D I N G A P R E L I M I N A R Y P C I R E P O R T T H A T

 4       WAS AVAILABLE AT THAT TIME, AND WE CONSULTED WITH OUR

 5       E X P E R T S.   AND DEFENSE COUNSEL KNEW WHAT WAS GOING TO BE

 6       I N T H E F I N A L R E P O R T, E V E N T H O U G H W E D I D N O T G E T I T U N T I L

 7       A F T E R T H E M E D I A T I O N C L O S E D.     BUT HE TOLD US WHAT THE

 8       CONTENT WAS.             AND THE CONTENT BASICALLY WAS THAT THEY

 9       F O U N D W E A K N E S S E S I N T H E S Y S T E M, A N D T H E R E F O R E N E G L I G E N C E

10       W A S A S S U M E D.     SO THE MEDIATION FOCUSED TO A VERY LARGE

11       E X T E N T O N C A U S A T I O N A N D D A M A G E S.

12                                  JUDGE WELSH WAS VERY INVOLVED AND HELPED

13       T H E P A R T I E S W O R K T H R O U G H T O R E S O L V E T H E I R D I F F E R E N C ES ,

14       AND SHE INDICATED HER VIEW THAT THE SETTLEMENT BRINGS

15       M E A N I N G F U L R E L I E F T O T H E C L A S S, A N D T H I S I S A Q U O T E F R O M

16       H E R D E C L A R A T I O N, W H I C H I S O N T H E R E C O R D:         I CAN SAY THAT

17       F R O M A N E X P E R I E N C E D M E D I A T O R' S P E R S P E C T I V E, T H E

18       NEGOTIATED SETTLEMENT PRODUCED BY THE MEDIATION PROCESS

19       R E P R E S E N T S A T H O R O U G H, D E L I B E R A T I V E A N D C O M P R E H E N S I V E

20       RESOLUTION THAT WILL BENEFIT CLASS MEMBERS THROUGH

21       M E A N I N G F U L R E L I E F.

22                                  CLASS COUNSEL PERFORMED SUBSTANTIAL WORK

23       TO UNDERSTAND THE FACTS AND THE MERITS OF THE CASE.                                              WE

24       EXAMINED 3,596 PAGES OF DOCUMENTS PRODUCED BY WAWA;

25       V A R I O U S V E R S I O N S O F A T H I R D- P A R T Y F O R E N S I C I N V E S T I G A T I O N
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                                                                                                            30

 1       R E P O R T; D E T A I L S O F T H E I R D I S C O V E R Y O F T H E B R E A C H, T H E

 2       R E S P O N S E T O T H E B R E A C H; B O A R D M A T E R I A L S.       AND WE

 3       CONDUCTED LENGTHY INTERVIEWS OF ALL OF THE NAMED

 4       P L A I N T I F F S T O U N D E R S T A N D T H E I R F A C T S, D A M A G E S A N D

 5       I D E N T I T Y T H E F T H I S T O R Y.    WE CORRESPONDED WITH HUNDREDS

 6       OF ABSENT CLASS MEMBERS TO UNDERSTAND THEIR FACTS AND

 7       D A M A G E S.    C L A S S R E P R E S E N T A T I V E S T H E M S E L V E S, T H E R E W E R E

 8       13 OF THEM, AND THERE WAS ONE FROM NEW JERSEY IN THAT

 9       SEPARATE CASE, PRODUCED 212 PAGES OF DOCUMENTS TO WAWA

10       R E G A R D I N G T H E U S E O F T H E I R P A Y M E N T C A R D S, T H E I R D A M A G E S

11       I N C L U D I N G F R A U D C H A R G E S A N D O U T - O F - P O C K E T D A M A G E S, A N D

12       T H E I R I N V O L V E M E N T I N P R I O R B R E A C H E S.     THROUGHOUT THE

13       P R O C E S S, C L A S S C O U N S E L C O N S U L T E D W I T H A N E X P E R T W I T N E S S

14       T H A T W E H I R E D R E G A R D I N G T H E D A T A B R E A C H, D A R K W E B

15       I S S U E S, A N D I D E A S F O R I N J U N C T I V E R E L I E F.       CLASS COUNSEL

16       ALSO CONSULTED WITH A HIRED PRIVATE INVESTIGATOR TO

17       GATHER MORE DETAILS ABOUT THE BREACH AND WAWA'S DATA

18       S E C U R I T Y E N V I R O N M E N T.

19                                  T H E S E T T L E M E N T P R O P E RL Y A C C O U N T S F O R T H E

20       C O S T S, R I S K S A N D D E L A Y S O F C O N T I N U E D L I T I G A T I O N.        YOUR

21       H O N O R, P L A I N T I F F S F A C E D S I G N I F I C A N T L I T I G A T I O N R I S K S,

22       RE:      S T A N D I N G, D A M A G E S, C A U S A T I O N A N D C L A S S

23       C E R T I F I C A T I O N, A M O N G O T H E R T H I N G S.      AND WE WEIGHED AND

24       BALANCED THOSE RISKS AGAINST THE BENEFITS THAT WE WERE

25       A B L E T O A C H I E V E.
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                                                                                                        31

 1                                 ONE VERY SIGNIFICANT FACT THAT WAS

 2       P R E S E N T I N O U R M I N DS I S T H A T T H E R E W A S A L A C K O F

 3       W I D E S P R E A D C R E D I T A N D D E B I T C A R D F R A U D A F T E R T H E B R E A C H.

 4       WE INTERVIEWED HUNDREDS AND HUNDREDS OF WAWA CUSTOMERS

 5       W H O C O N T A C T E D A L L O F T H E C O U N S E L, A N D T H E R E W A S A V E R Y

 6       L O W P E R C E N T A G E O F F R A U D A C T U A L L Y E X P E R I E N C E D.   AND OF

 7       C O U R S E, M O S T O F T H O S E F R A U D U L E N T C H A R G E S W E R E R E V E R S E D

 8       B Y B A N K S.      SO THERE WAS A QUESTION OF HOW MUCH DAMAGE

 9       THERE REALLY WAS.

10                                 MANY COURTS HAVE HELD THAT THE MERE RISK

11       OF FUTURE IDENTITY THEFT IS TOO SPECULATIVE TO SUPPORT

12       S T A N D I N G A N D D A M A G E S.    THAT WAS A RISK THAT WAS OUT

13       T H E R E, A N D T H E R E I S V E R Y L I T T L E C L A S S C E R T I F I C A T I O N

14       P R E C E D E N T I N D A T A B R E A C H C A S E S.     MOST OF THE CASES GET

15       S E T T L E D B E F O R E T H A T D E C I S I O N H A S A C T U A L L Y B E E N M A D E.

16                                 THIS COURT PREVIOUSLY RECOGNIZED IN

17       F U L T O N- G R E E N V E R S U S A C C O L A D E T H A T D A T A B R E A C H C A S E S A R E

18       I N H E R E N T L Y R I S K Y.   Y O U S T A T E D:    THIS IS A COMPLEX CASE

19       IN A RISKY FIELD OF LITIGATION BECAUSE DATA BREACH CLASS

20       ACTIONS ARE UNCERTAIN AND CLASS CERTIFICATION IS RARE.

21       A N D I N T H A T C A S E , A C C O L A D E, I T I N V O L V E D T H E T H E F T O F

22       MUCH MORE SENSITIVE INFORMATION THAN PAYMENT CARD

23       I N F O R M A T I O N.   IT INVOLVED THEFT OF W-2 INFORMATION AND

24       S O C I A L S E C U R I T Y N U M B E R S, W H I C H I S O N A M U C H H I G H E R L E V E L

25       O F P R I V A C Y T H A N P A Y M E N T C A R D T H E F T.
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                                                                                                        32

 1                                  THIS SETTLEMENT COMPARES FAVORABLY TO

 2       O T H E R D A T A B R E A C H S E T T L E M E N TS .    F O R E X A M P L E, I N Z A P P O S

 3       S E C U R I T Y B R E A C H L I T I G A T I O N, A D A T A B R E A C H S E T T L E M E N T

 4       P R O V I D E D J U S T A 1 0 P E R C E N T C O U P O N F O R Z A P P O S G O O D S.         IN

 5       SONY GAMING NETWORKS AND CUSTOMER DATA SECURITIES BREACH

 6       L I T I G A T I O N, A D A T A B R E A C H S E T T L E M E N T P R O V I D E D A C H O I C E

 7       O F P L A Y S T A T I O N G A M E S O R A T H R E E- M O N T H - - E X C U S E M E A

 8       S E C O N D - - S U B S C R I P T I O N T O T H E P L A YS T A T I O N S E R V I C E A N D A

 9       $1 MILLION FUND FOR REIMBURSEMENT OF IDENTITY THEFT

10       L O S S E S.    I N A T K I N S V E R S U S F A C E B O O K, A D A T A B R E A C H

11       S E T T L E M E N T P R O V I D E D O N L Y I N J U N C T I V E R E L I E F.

12                                  T H E P R O P O S E D A W A R D O F A T T O R N E Y S' F E E S I S

13       R E A S O N A B L E.     IT WILL BE PAID --

14                                  T H E C O U R T:     H O W I S I T A L L O C A T E D, B Y T H E

15       WAY?

16                                  M S . S A V E T T:    OF THE 3.2 MILLION PAYMENT

17       B Y W A W A , W E A L L O C A T E D R O U G H L Y A S F O L L O W S.

18                                  T H E C O U R T:     I RECOGNIZE IT'S A LITTLE

19       E A R L Y T O A D D R E S S T H A T.      SORT OF A GENERAL --

20                                  M S . S A V E T T:    WE ARE PREPARED TO ANSWER

21       T H I S Q U E S T I O N.    3 M I L L I O N F O R A T T O R N E Y S' F E E S , W H I C H

22       WILL REPRESENT A SUBSTANTIALLY NEGATIVE MULTIPLIER TO

23       OUR TIME.              THERE WILL BE NO MULTIPLIER HERE.                       T H E R E' S A

24       L O T O F W O R K T H A T W E N T I N T O T H I S.          50,000 FOR

25       O U T - O F - P O C K E T E X P E N S E S, T H A T I S L A R G E L Y E X P E R T S.   AND
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                                                                                                          33

 1       1 0 0 , 0 0 0 A P P R O X I M A T E L Y F O R S E T T L E M E N T A D M I N I S T R A T I O N.

 2       A N D 1 4 , 0 0 0 F O R S E R V I C E A W A R D S.        THAT IS 1,000 FOR EACH

 3       N A M E D P L A I N T I F F.    THERE WERE 13 IN THE FEDERAL CASE AND

 4       O N E I N N E W J E R S E Y.

 5                                  SO SINCE IT'S A SIGNIFICANTLY NEGATIVE

 6       M U L T I P L I E R, W H I C H Y O U W I L L S E E U L T I M A T E L Y, A N D I T I S

 7       B E I N G P A I D B Y W A W A O N T O P O F A L L T H E O T H E R B E N E F I T S, W E

 8       B E L I E V E I T ' S V E R Y R E A S O N A B L E.      AND THIS IS SOMETHING

 9       T H A T W I L L B E F U L L Y B R I E F E D A T T H E F I N A L A P P R O V A L S T A G E,

10       B U T I T G I V E S Y O U T H E I D E A O F H O W I T W A S A L L O C A T E D.

11                                  ALSO THE SETTLEMENT TREATS CLASS MEMBERS

12       E Q U I T A B L Y R E L A T I V E T O E A C H O T H E R.       THAT IS ONE OF THE

13       STANDARDS OF RULE 23(E)(2)(D).                            IT ALLOCATES THE LARGEST

14       PAYMENTS TO THOSE CLASS MEMBERS WHO SUFFERED THE

15       GREATEST HARM, AND THIS METHOD OF EQUITABLE ALLOCATION

16       I S C O M M O N I N D A T A B R E A C H A C T I O N S.

17                                  THE COURT WILL LIKELY BE ABLE TO CERTIFY

18       THE CLASS FOR SETTLEMENT PURPOSES AT THE FINAL APPROVAL

19       S T A G E.    THE OPENING BRIEF EXPLAINS IN GREAT DETAIL HOW

20       E A C H C L A S S C E R T I F I C A T I O N F A C T O R I S M E T , N U M E R O S I T Y,

21       C O M M O N A L I T Y, T Y P I C A L I T Y, A D E Q U A C Y O F R E P R E S E N T A T I O N,

22       P R E D O M I N A N C E A N D S U P E R I O R I T Y.    I WAS NOT PLANNING TO GO

23       THROUGH THAT SINCE IT'S REALLY FULLY LAID OUT IN OUR

24       B R I E F, B U T I F T H E C O U R T W A N T S M E T O A D D R E S S A N Y I S S U E,

25       O F C O U R S E, W E W I L L B E P L E A S E D T O D O S O .
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                                                                                                        34

 1                                  N O T A B L Y, C O U R TS I N D A T A B R E A C H C A S E S

 2       ROUTINELY FIND THAT CLASS CERTIFICATION IS APPROPRIATE

 3       F O R S E T T L E M E N T P U R P O S E S, A N D T H I S C O U R T - - Y O U S A I D I N

 4       T H E F U L T O N- G R E E N V E R S U S A C C O L A D E C A S E T H A T C E R T I F I C A T I O N

 5       OF A SETTLEMENT CLASS WAS APPROPRIATE IN THAT CASE.

 6                                  NOW I WOULD LIKE TO MOVE ON TO THE

 7       E M P L O Y E E P L A I N T I F F S' O B J E C T I O NS .

 8                                  T H E C O U R T:     G O A H E A D.

 9                                  M S . S A V E T T:     OKAY.      SO ONE OF THE HAPPY

10       THINGS ABOUT TODAY IS THAT WITH OUR AMENDMENT TO THE

11       R E L E A S E, I T H I N K T H A T A G O O D P A R T O F T H A T I S S U E I S O F F

12       T H E T A B L E.     THE AMENDMENT CLARIFIES WHAT WE ALWAYS

13       INTENDED --

14                                  T H E C O U R T:     WOULD YOU PREFER IF I INVITED

15       A REPRESENTATIVE OF THE EMPLOYEE TRACK FOLKS TO

16       ARTICULATE WHAT THEIR REMAINING OBJECTIONS ARE AND THEN

17       YOU CAN RESPOND TO THAT RATHER THAN ANTICIPATING WHAT

18       THEY -- MAYBE IF THEY ARE GOING TO SAY NO, THEY ARE

19       HAPPY CAMPERS AND THEY NO LONGER HAVE ANYTHING TO SAY.

20       BUT I WOULD JUST AS SOON -- MAYBE PUT A FINER POINT ON

21       IT.     I WOULD PREFER TO HEAR WHAT THEY CONTINUE TO HAVE

22       C O N C E R N S A B O U T, A N D T H E N Y O U G E T T O R E S P O N D T O T H A T.

23                                  M S . S A V E T T:     T H A T I S F I N E , Y O U R H O N O R.      I

24       WILL BE GLAD TO DO THAT, BUT I DO WANT TO JUST MAKE THIS

25       P O I N T A B O U T W H A T W E D I D O N T H E R E L E A S E S.         THE EMPLOYEE
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                                                                                                           35

 1       PEOPLE SAID THAT WE TOOK AWAY PART OF THEIR CLAIMS

 2       B E C A U S E W E H A D N O T M A D E O U R R E L E A S E B R O A D E N O U G H.             SO

 3       N O W W I T H T H E A M E N D M E N T, T H E C L A I M S R E L E A S E D A R E O N L Y

 4       CLAIMS RELATED TO THE THEFT OF PAYMENT CARD INFORMATION

 5       I N T H E R E L E V A N T P E R I O D, T H E M A R C H T O D E C E M B E R 2 0 1 9

 6       P E R I O D.   IT DOES NOT RELEASE ANY OTHER CLAIMS OF THE

 7       T H E F T O F E M P L O Y E E I N F O R M A T I O N.        SO THAT WAS VERY

 8       I M P O R T A N T, B E C A U S E T H E W O R D I N G B E F O R E T H E Y S A I D - - F O R

 9       E X A M P L E, T H E Y W E R E C O N T E N D I N G B E F O R E T H A T T H E R E I S

10       A N O T H E R B R E A C H I N 2 0 1 8.          AND WE THOUGHT THE WAY IT HAD

11       B E E N D R A F T E D O R I G I N A L L Y S A I D T H A T I S N O T I N T H E C A S E.

12       BUT NOW WE MADE IT EXPLICIT THAT IT'S ONLY THAT NARROW

13       PERIOD OF MARCH TO DECEMBER 2019 WHERE THERE WAS THE

14       -- THE BREACH WAS GOING ON, IS THE ONLY PERIOD THAT IS

15       B E I N G R E L E A S E D.      SO THEY HAVE CLAIMS CONCERNING

16       S O M E T H I N G T H A T H A P P E N E D I N 2 0 1 8, T H E Y A R E T H E I R S,

17       W I T H O U T A P R O B L E M.

18                                    S O I ' M H A P P Y T O D O W H A T Y O U S A I D, A N D I

19       WILL COME BACK.

20                                    T H E C O U R T:     OKAY.

21                                    M S . S A V E T T:       T H A N K Y O U , Y O U R H O N O R.

22                                    T H E C O U R T:     DOES ANYBODY WANT TO TAKE A

23       FEW MOMENTS AND ARTICULATE WHAT THE REMAINING CONCERNS

24       A R E F R O M T H E E M P L O Y E E T R A C K P L A I N T I F F S?

25                                    M R . H A V I L A N D:      G O O D M O R N I N G, Y O U R H O N O R.
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                                                                                                        36

 1       D O N H A V I L A N D F R O M H A V I L A N D H U G H E S A G A I N.

 2                                T H E C O U R T:      H E L L O , M R . H A V I L A N D, A G A I N.

 3                                M R . H A V I L A N D:     G O O D M O R N I N G, A G A I N.

 4                                I APPRECIATE THE OPPORTUNITY BECAUSE I

 5       WANTED TO AT THE EARLIEST CONVENIENCE TELL THE COURT HOW

 6       PLEASED WE WERE TO BE ABLE TO WORK WITH WAWA AND THE

 7       C O N S U M E R P L A I N T I F FS T O C L A R I F Y S O M E O F T H E O B J E C T I O N S,

 8       AND I APPRECIATED MR. PARKS IN PARTICULAR REACHING OUT,

 9       SPENDING A LOT OF TIME WITH US TO WORK THROUGH OUR

10       I S S U E S.   AND THE AMENDMENT DOES GO FAR TO SOLVING SOME

11       O F T H E P R O B L E M S.

12                                W I T H O U T G E T T I N G I N T O T O O M U C H D E T A I L, O N E

13       OF THE ISSUES -- WE HAVE OUR OWN EXPERT WHO'S LOOKING AT

14       T H E 2 0 1 8 E V E N T S A N D W H A T H A P P E N E D T H E R E, A N D I D O N ' T

15       WANT TO GO TOO FAR AFIELD BECAUSE MR. PARKS AND I AGREE

16       T H A T I S N O T H E R E T O D A Y.        AND THE BEST WAY I CAN DESCRIBE

17       I T W I T H O U T G E T T I N G I N T O D E T A I L, I S W E B E L I E V E A N D W E

18       BELIEVE THAT THE REPORT THAT HAS BEEN PROFFERED CONFIRMS

19       HACKERS CAME IN AND THE INVESTIGATION LOOKED RIGHT INTO

20       THE PCI PAYMENT CARD INFORMATION AREA, BUT DID NOT LOOK

21       L E F T I N T O T H E I N T E R N A L C O M P U T E R S Y S T E M S A N D T H E L I K E.

22       THAT IS THE EXTENT OF THE REPORT THAT WE HAVE SEEN.                                        AND

23       O U R E X P E R T H A S C E R T A I N V I E W S A B O U T T H A T.     WE HAD HIM

24       P R E P A R E D T O T E S T I F Y T O D A Y.

25                                BUT I THINK THAT IS ALL OFF THE TABLE
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                                                                                                      37

 1       BECAUSE WE HAVE AN AGREEMENT WITH WAWA THAT THAT IS --

 2       THAT IS FOR ANOTHER DAY.                     AND THEY DON'T AGREE WITH

 3       E V E R Y T H I N G I J U S T S A I D, O T H E R T H A N W E A G R E E T H E Y L O O K E D

 4       R I G H T, N O T L E F T , A N D T H A T I S - - S O T H A T I S I M P O R T A N T,

 5       Y O U R H O N O R, B E C A U S E T H A T I S A R E A L C O R E P A R T O F T H E

 6       E M P L O Y E E C L A S S C O N C E R N, T H A T H A C K E R S D O N ' T - - W E

 7       CAN'T -- WE DON'T CONTROL THEM.                            THEY HAVE THEIR OWN

 8       R E A S O N S F O R G E T T I N G I N T O S Y S T E M S.     THEY MONETIZE WHAT

 9       THEY CAN.          THEY ACTUALLY JUST SELL ACCESS AT TIMES AND

10       WE HAVE A PROMINENT EXPERT ACTUALLY KNOWN TO WAWA WHO

11       WILL TESTIFY AT SOME POINT IN TIME ABOUT THAT.                                     SO THAT

12       IS THE GOOD NEWS, AND I DID NOT WANT TO UNDERSCORE AND

13       L O S E T H A T S I G H T.

14                                 S O G E T T I N G T O Y O U R H O N O R' S Q U E S T I O N, I

15       THINK I CAN SIMPLIFY WHAT IS PROBABLY A LONGER

16       P R E S E N T A T I O N I N T W O W A Y S.    SO WE STILL ARE CONCERNED AND

17       O B J E C T T O - - A L T H O U G H I H A T E T O S A Y T H A T , J U D G E.

18                                 T H E C O U R T:     WELL, LET ME ASK.               IN THIS

19       W O R L D, A S Y O U A L L K N O W, O B J E C T I O NS T A K E O N A T E C H N I C A L

20       M E A N I N G.   MY VIEW OF MANY LEGAL PROCESSES IS THAT THERE

21       A R E U S U A L L Y M O R E P R A C T I C A L, E F F I C I E N T A N D E C O N O M I C A L

22       W A Y S T O H A N D L E T H I N G S.     S O T H A T A L T H O U G H T E C H N I C A L L Y, O F

23       C O U R S E, T I M E S F O R , Q U O T E, O B J E C T I O N S, A R E L A T E R, M Y H O P E

24       WAS TO FERRET OUT AT THIS POINT MATTERS THAT MIGHT NOT

25       H A V E T O R I S E O R D E S C E N D T H E L E V E L O F O B J E C T I O NS L A T E R B Y
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                                                                                                    38

 1       D E A L I N G W I T H I T N O W , P E R H A P S.

 2                                 S O F R O M T H A T S T A N DP O I N T, I D O N ' T W A N T

 3       ANYBODY TO MISUNDERSTAND THAT THEY HAVE EITHER LOST AN

 4       OPPORTUNITY TO MAKE A TECHNICAL OBJECTION AT ANOTHER

 5       P O I N T I N T I M E I N T H E L I F E O F T H I S L I T I G A T I O N.         BUT MY

 6       EFFORT AND MY INTEREST IS IN, I SUPPOSE SOMEBODY ELSE

 7       M I G H T S A Y C A N ' T Y O U A L L B E F R I E N D S.        BUT I DON'T MEAN TO

 8       BE QUITE THAT MEALYMOUTHED ABOUT IT.                              I'M REALLY JUST

 9       TRYING TO ELICIT SOME CONCERNS AND SEE IF WE CAN

10       ELIMINATE THEM ON THE FRONT END, AS OPPOSED TO --

11                                 M R . H A V I L A N D:    I HAVE TO TELL YOU I

12       C O N S I D E R T H E P L A I N T I F F S' A T T O R N E Y S F R I E N DS .    I HAVE

13       K N O W N B O B B I E L I E B E N B E R G F O R M Y E N T I R E C A R E E R.     WE TALKED

14       ABOUT -- I SAW JUDGE ROBRENO WALKING IN.                                 WE HAD A CASE

15       AGAINST THE NFL IN THIS COURTROOM WITH JUDGE ROBRENO A

16       LONG TIME AGO.              W E A R E C O L L E A G U E S A N D F R I E N DS .    WE SEE

17       E A C H O T H E R I N M A N Y , M A N Y C A S E S.       SO THERE IS NOT THE

18       SORT OF POUNDING THE TABLE POSITIONS THAT YOU SOMETIMES

19       MAY HEAR.

20                                 WE DO HAVE A RESPECTFUL DISAGREEMENT

21       A B O U T T H E S C O P E, A N D T H A T I S W H A T W E A R E L E F T W I T H .

22       THERE IS REALLY -- TO SIMPLIFY WHERE WE ARE, BECAUSE I

23       S A W T H E A M E N D M E N T T O T H E R E L E A S E A N D T H A T I S H E L P F U L.

24       THE FUNDAMENTAL PROBLEM IS THE SCOPE OF THE SETTLEMENT

25       CLASS DEFINITION STILL SAYS CONSUMERS IN THE BROADEST
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                                                                                                      39

 1       S E N S E T H A T L O O P S I N A L L E M P L O Y E E S.         AND I THOUGHT IN MY

 2       L O N G E R P R E S E N T A T I O N I W O U L D T A L K A B O U T T H R E E C A S E S, O U R

 3       O L D F R I E N D D I T T M A N, W H O T R E A T S E M P L O Y E E S D I F F E R E N T L Y I N

 4       P E N N S Y L V A N I A, B U T T H E N A L S O A M C H E M, W H I C H A S Y O U R H O N O R

 5       P R O B A B L Y K N O W S C A M E O U T O F T H I S C O U R T, J U D G E B E C K E R.

 6       AND THEN THE INFAMOUS RBG, REST HER SOUL, WROTE A

 7       PHENOMENAL OPINION ON DUTIES OF CLASS COUNSEL AND THE

 8       IMPORTANCE TO MAKE SURE THAT YOU'VE ADEQUATELY PROTECTED

 9       D I F F E R E N T I N T E R E S T S, A N D T H E N I N T H A T C A S E T H E R E W A S

10       F U T U R E C L A I M S.

11                                  HERE WE HAVE A DIFFERENT CLASS OF PEOPLE

12       W H O A R E D I F F E RE N T L Y P O S I T I O N E D B E C A U S E T H E Y W E R E

13       E M P L O Y E E S.   YOUR HONOR COMMENTED AT THE HEARING LAST

14       TIME THEY DID NOT HAVE THE ABILITY TO VOTE WITH THEIR

15       F E E T T O G O D O W N T O G E T A N O R A N G E C R U S H, I T H I N K Y O U R

16       HONOR SAID.            BUT THEY WERE THERE IN AN ENVIRONMENT AND

17       B E C A U S E D I T T M A N S A Y S - - J U S T I C E W E C H T S A I D T H A T T H E R E' S

18       A S T R O N G E R D U T Y , A H E I G H T E N E D D U T Y T O T H O S E F O L K S.       THEY

19       A R E D I F F E R E N T L Y P O S I T I O N E D L E G A L L Y.    YOUR HONOR HAS NOT

20       R U L E D O N T H A T Q U E S T I O N.       W E M A D E T H A T A R G U M E N T, A N D I

21       W O N ' T R E T R E N C H T H A T.

22                                  B U T A T T H I S P O I N T T H E Y' R E S E E K I N G T O

23       C O M P R O M I S E T H O S E R I G H T S.    AND WHY I BRING UP AMCHEM IS,

24       Y O U N E E D T H A T T R A C T I O N I N T H E R O O M.          THE EMPLOYEES WERE

25       N O T T H E R E.     I D O N ' T K N O W W H Y W E W E R E N O T T H E R E.          WE JUST
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                                                                                                      40

 1       W E R E N O T T H E R E.

 2                                  T H E C O U R T:    THERE SEEMS TO BE SOME

 3       D I S A G R E E M E N T A S T O W H E T H E R Y O U W E R E T H E R E.      I MEAN IT'S

 4       S O M E W H A T N O T L I K E Y O U A R E A H O L O G R A M, T H E R E O R N O T T H E R E

 5       OR COULD HAVE BEEN THERE OR WOULD HAVE BEEN THERE OR

 6       M I G H T H A V E B E E N T H E R E.      IT'S UNCLEAR TO ME FROM THE

 7       P A P E RW O R K .

 8                                  M R . H A V I L A N D:     W E W E R E N' T A W A R E O T H E R

 9       THAN I THINK THE LAST TIME IT CAME UP BEFORE -- THERE

10       W E R E T W O S E S S I O N S, I R E C A L L.         THERE WAS A SPRING SESSION

11       WITH THE COURT WHERE WE TALKED ABOUT THE DISMISSAL

12       P A P E R S.     AND I THINK THE CONSUMER COUNSEL TALKED ABOUT

13       G O I N G T O M E D I A T I O N.     THE NEXT TIME I HEARD ABOUT IT WAS

14       IN THE NOVEMBER DISMISSAL HEARING WHEN MS. SAVETT

15       A D D R E S S E D T H E C O U R T.     A N D I J U S T R E R E A D, A S I W A S

16       W A I T I N G.       YOUR HONOR SAID:               WHY DO YOU CARE?            WHY ARE

17       YOU STANDING UP AND COMMENTING ON THE EMPLOYEES

18       P L A I N T I F F S' A R G U M E N T O N D I T T M A N?     W H Y D O Y O U C A R E?

19       W H O S E O X I S B E I N G G O R E D, W A S T H E Q U E S T I O N.         AND THEN

20       THAT IS THE FIRST TIME I HEARD WELL, THEY MIGHT BE

21       O B J E C T O R S.     AT THAT POINT IN TIME, WE DID NOT KNOW THERE

22       H A D B E E N A S E T T L E M E N T, W H A T T H E T E R M S W E R E, O R

23       IMPORTANTLY -- THAT THE CONSUMER -- THAT THE EMPLOYEES

24       WERE BEING BROUGHT INTO THAT.

25                                  T H E C O U R T:    WHAT THE CONSUMER TRACK
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                                                                                                     41

 1       P L A I N T I F F S' C O U N S E L S A Y S N O W I S , W E L L , C O M E O N , T H E Y D I D

 2       N O T E V E N A S K T O C O M E T O T H E T A B L E.

 3                                 M R . H A V I L A N D:   I S U P P O S E T H A T I S R I G H T.

 4       BUT WE DID TALK TO WAWA.                     WE DID NOT ASK THEM TO COME TO

 5       T H E T A B L E, A N D M A Y B E T H I S I S J U S T A M I S C O M M U N I C A T I O N

 6       B E T W E E N T H E T R A C K S.    I K N O W T H E B A N K S W E R E N O T T H E R E.

 7       WE DEAL DIRECTLY WITH WAWA, AND WE HAVE SINCE THE

 8       B E G I N N I N G.     WE HAVE TALKED ABOUT THE WAGE AND HOUR

 9       C L A I M S I N O U R I N D E P E N D E N T C L A I M S, A N D A G A I N, H A V E

10       PRODUCTIVELY DEALT WITH THAT IN THE CONTEXT OF THIS

11       S E T T L E M E N T.

12                                 S O M Y H E A D L I N E, J U D G E, A N D I H A T E T O B U R Y

13       THE LEDE, WE WOULD ASK THAT THE COURT MODIFY THE ORDER

14       ON THE SETTLEMENT CLASS WHERE IT MENTIONS WAWA'S

15       E X E C U T I V E S A S A N E X C L U S I O N, T O A D D F O U R L I T T L E W O R D S:

16       A N D C U R R E N T A N D F O R M E R E M P L O Y E E S.

17                                 T H E C O U R T:    THOSE WOULD BE VERY LOUD

18       W O R D S.

19                                 M R . H A V I L A N D:   W E L L, B U T T H E Y' R E O U R

20       C L A S S W O R D S, J U D G E, A N D T H A T ' S O U R G R O U P T H A T W A S N O T

21       R E P R E S E N T E D A T T H E T A B L E.    AND I LISTENED VERY CAREFULLY

22       T O S O M E O F T H E C O N C E R N S.       WE WOULD HAVE HAD A VERY

23       STRONGER POSITION ON NEGLIGENCE AND DUTY AND WHAT WAWA

24       SHOULD HAVE DONE UNDER PENNSYLVANIA LAW.                             WE WOULD NOT

25       HAVE BEEN SO CONCERNED ABOUT ASSUMING LIABILITY BECAUSE
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                                                                                                        42

 1       WE FEEL STRONGLY ABOUT THAT, ALWAYS SUBJECT TO THE

 2       C O U R T' S R U L I N G S.      BUT THAT IS WHY AMCHEM INSISTED ON

 3       H A V I N G D I F F E R E N T L A W Y E R S A D V O C A T E T H O S E P O S I T I O N S, S O

 4       THAT YOU CAN MAYBE COME TO ONE CONSTRUCT THAT SAYS --

 5       AND YOU SEE THIS IN THE SETTLEMENT -- THERE ARE TIERS

 6       K E Y E D T O D A M A G E, B U T T H E R E A R E N O T T I E R S K E Y E D T O T H E

 7       C L A S S.    ALL CONSUMERS ARE ONE.                   AND YOUR HONOR TALKED

 8       ABOUT THAT SCENARIO OF THE EMPLOYEES NOT HAVING

 9       T H E A B I L I T Y T O L E A V E T H E S T O R E.       T H E Y A R E T H E R E.      THEY

10       A R E C A P T I V E.    THEY ARE GIVEN A DISCOUNT TO STAY.                             SO

11       WAWA FULLY KNOWS THAT ITS EMPLOYEES USE THEIR CREDIT AND

12       DEBIT CARDS ON THE JOB.

13                                 T H E C O U R T:     DO YOU KNOW WHAT THE NUMBERS

14       ARE IN TERMS OF EMPLOYEE USE?

15                                 M R . H A V I L A N D:    I D O N ' T , J U D G E.      WE

16       H A V E N' T G O T T E N A N Y D I S C O V E R Y.    I KNOW THAT THERE IS

17       S O M E T H I N G O N T H E O R D E R O F 4 0 , 0 0 0 E M P L O Y E E S.       I KNOW

18       THERE IS A HIGH ATTRITION RATE.                          THEY ARE ADVERTISING A

19       L O T T O G E T N E W E M P L O Y E E S.       MY CLIENTS ARE ACTUALLY

20       F O R M E R E M P L O Y E E S.    THERE IS A LARGE GROUP OF FOLKS LIKE

21       T H A T T H A T G E T S T O T H E I S S U E O F N O T I C E.         AND I ONLY THROW

22       THAT BIG ISSUE OUT THERE BECAUSE I SIT DOWN IF THE COURT

23       A G R E E S T O L E T T H E E M P L O Y E E S G O F O R W A R D, M A I N T A I N T H E

24       STATUS QUO, DON'T COMPROMISE THEIR CLAIMS WHERE WE HAVE

25       ALL THESE CONCERNS ABOUT WHETHER IT IS FAIR, REASONABLE
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                                                                                                          43

 1       AND ADEQUATE TO THEM.                     A N D I ' M N O T S E C O N D- G U E S S I N G T H E

 2       J O B T H A T W A S D O N E B Y T H E L A W Y E R S.           THEY DID A FINE JOB

 3       F O R T H E I R C L I E N T S, A N D J U D G E W E L S H D I D A F I N E J O B

 4       MEDIATING THAT.                 IT IS NOT EASY TO GET A DEFENDANT TO

 5       A G R E E F A U L T A N D T H E N M O N E Y.          I KNOW THAT.              COUNSEL KNOWS

 6       THAT.        BUT THEY DID THE JOB THEY WERE HIRED TO DO FOR

 7       T H E I R C L I E N T S.

 8                                    AND AMCHEM ASKED THIS COURT TO LOOK TO

 9       SEE WHERE IN THE RECORD THE LAWYERS WERE LOOKING AFTER

10       T H E I N T E R E S TS O F T H E E M P L O Y E E S.        AND I DON'T SEE THAT IN

11       T H E A F F I D A V I T S.      I D O N ' T S E E T H A T I N T H E B R I E F S.       I'M

12       N O T F A U L T I N G T H E M , A G A I N, J U D G E.        THEY DID THE JOB THEY

13       WERE HIRED TO DO AND APPOINTED BY THIS COURT AS CONSUMER

14       T R A C K C O U N S E L, T H E Y D I D T H A T J O B .         WE WERE NOT AT THAT

15       T A B L E.       A G A I N, I D I D N' T K N O W T H E R E W A S A S E P T E M B E R

16       M E D I A T I O N.     I DON'T KNOW IF I HAD A PLAN THAT DAY,

17       WHETHER IT WAS COVID OR WHAT BUT --

18                                    T H E C O U R T:    B U T Y O U K N O W M S . L I E B E N B E R G.

19                                    M R . H A V I L A N D:    I'VE KNOWN HER FOR A LOT

20       O F Y E A R S.       ACTUALLY WE TALKED ABOUT WE HAVE A

21       L I T I G A T I O N, J U D G E, T H A T W E A R E B O T H I N B A N K R U P T C Y C O U R T

22       I N D E L A W A R E.

23                                    T H E C O U R T:    I'M REALLY ONLY MILDLY

24       T E A S I N G.

25                                    M R . H A V I L A N D:    I U N D E R S T A N D.
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                                                                                                       44

 1                                    T H E C O U R T:    IT'S NOT AS THOUGH THERE WAS

 2       SOME BARRIER IN TERMS OF REACHING OUT.

 3                                    M R . H A V I L A N D:   S U R E.   A N D J U D G E, I N

 4       F A I R N E S S, I D O N ' T W A N T T O B E T R A Y 4 0 8 B U T W E M A D E A

 5       DEMAND ON WAWA AT THE VERY BEGINNING OF THE CASE AND WE

 6       A T T E M P T E D T O N E G O T I A T E T H E E M P L O Y E ES ' C L A I M S.

 7                                    T H E C O U R T:    EXCEPT THAT FROM A DEFENSE

 8       S T A N DP O I N T, I T W O U L D N O T B E A N U N F A M I L I A R C O N C E P T T O

 9       D I V I D E A N D C O N Q U E R, K E E P Y O U A L L S E P A R A T E.       YOU ARE NOT

10       REALLY TELLING ME THAT YOU RELIED ON WAWA TO PUT YOU IN

11       T O U C H W I T H Y O U R F R I E N D S O N T H E P L A I N T I F FS ' S I D E I N T H E

12       C O N S U M E R T R A C K.

13                                    M R . H A V I L A N D:   T H A T I S T R U E , J U D G E.    I

14       JUST DID NOT KNOW AT THAT TIME WHEN THE COMMENT WAS MADE

15       IN THE SPRING THAT THEY WERE SEEKING TO SWEEP THE

16       EMPLOYEES IN.                T H A T R E A L L Y C A M E O U T I N N O V E M B E R, I N

17       F A I R N E S S.   AT THAT POINT IT WAS VERY CLEAR TO THE COURT

18       AND US WHEN MS. SAVETT STOOD UP DURING THE DISMISSAL AND

19       SAID -- AND YOU SAID, WHY DO YOU CARE?                               I CARE BECAUSE

20       WE ARE GOING TO SWEEP THEM IN AND THEY HAD ALREADY DONE

21       IT.      SO AT THAT TIME IT WAS TOO LATE.                           AND I REMEMBER

22       HAVING A VISCERAL REACTION TO THE IDEA THAT WE WOULD BE

23       A N O B J E C TO R .    W E A R E A D V O C A T I N G F O R T H E E M P L O Y E E S.      AND

24       IT JUST SO HAPPENS WE GOT BROUGHT INTO THIS LARGE CLASS

25       D E F I N I T I O N T H A T I N C L U D E S T H E S U B S E T O F E M P L O Y E E S.
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                                                                                                       45

 1                                  T H E C O U R T:    I'M GOING TO GIVE YOU A

 2       CHANCE TO ANSWER THIS QUESTION AND THEN GIVE MS. SAVETT

 3       OR ONE OF HER COLLEAGUES THE OPPORTUNITY TO PLAN AN

 4       A N S W E R.

 5                                  HAS THERE BEEN A DISCUSSION ABOUT --

 6       G I V E N T H E F A C T I T ' S A N I D E N T I F I A B L E N U M B E R, I T ' S N O T A

 7       M O N U M E N T A L N U M B E R, H A S T H E R E B E E N A N Y D I S C U S S I O N S,

 8       SERIOUS DISCUSSIONS ABOUT CARVING OUT THE EMPLOYEES WHO

 9       WERE ALSO CONSUMERS AND LETTING THE EMPLOYEES GO ON

10       T H E I R M E R R Y W A Y I N T H E I R O W N T R A C K?

11                                  M R . H A V I L A N D:     SO I HAD THAT SERIOUS

12       D I S C U S S I O N W I T H M R . P A R K S, Y E S , T O P L A I N L Y A N S W E R T H A T.

13                                  T H E C O U R T:    LET ME INTRODUCE YOU TO

14       M S . S A V E T T.

15                                  M R . H A V I L A N D:     I U N D E R S T A N D T H A T, J U D G E.

16       WHEN WE TALKED FIRST JUST TO SEE WHETHER WAWA WAS

17       AGREEABLE BECAUSE IT'S ULTIMATELY THEIR SETTLEMENT TOO,

18       AND I WAS TOLD NO.                 AND AT THAT POINT IT WAS A

19       D I S C U S S I O N T H R O U G H C O U N S E L W I T H C O U N S E L.   AND I HEAR

20       W H A T Y O U R H O N O R I S S A Y I N G.          AND I THINK THAT SHOULD

21       H A P P E N A N D P E R H A P S C A N H A P P E N.       WE ARE AT PRELIMINARY

22       A P P R O V A L.     THERE SHOULD BE A SEPARATE TREATMENT OF

23       E M P L O Y E E S.    T H I S I S O U R P O S I T I O N.      I T I S O U R C L I E N T' S

24       P O S I T I O N.     WE HEAR IT FROM OTHER EMPLOYEES THAT -- AND

25       THIS IS -- JUST TO PUT IT AS SIMPLE AS YOU CAN GET IT,
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                                                                                                      46

 1       J U D G E, T H E S E A R E T H E T R U S T E D P E O P L E O N T H E F R O N T L I N E .

 2       T H E Y W E R E T R E A T E D A S F R O N TL I N E W O R K E R S A L L T H R O U G H T H E

 3       P A N D E M I C.      A N D T H E R E' S S O M E A N G R Y F O L K S O U T T H E R E.      $5?

 4       I HAVE HAD CLIENTS IN MY EARS SAY A SIZZLI AND A CUP OF

 5       JOE?      T H A T I S W H A T W E A R E W O R T H?           THE SAME AS THE PEOPLE

 6       ON THE OTHER SIDE OF THE TABLE THAT CAN VOTE WITH THEIR

 7       FEET AND GO TO ROYAL FARMS AND 7-ELEVEN -- AND I'M

 8       G I V I N G Y O U T H E S H O R T V E R S I O N, J U D G E.       WE GET AN EARFUL

 9       FROM THE PEOPLE -- YOU PROBABLY KNOW NURSES AND MEDICAL

10       P E O P L E, P E O P L E A R E S T R U G G L I N G.     IT HAS BEEN A TOUGH

11       TIME.          T H E W A W A W O R K E R S, T H E Y A R E T H E R E T O O I N T H E

12       S T O R E S.       AND SO THEY DON'T --

13                                   T H E C O U R T:    I W I L L M A K E T H I S O B S E R V A T I O N,

14       THAT PEOPLE CAN GO AND GET SOMETHING AT THE COUNTER AT A

15       W A W A B E F O R E Y O U C A N G O T O T H E C O U N TE R I N T H E C O U R T H O U S E

16       A N D G E T A N Y T H I N G A T T H E C O U N T E R.

17                                   M R . H A V I L A N D:    YES.     AND THE STORES NEVER

18       C L O S E D.       T H E S T A T E G A V E T H E M A D I S P E N S A T I O N O N T H A T, A N D

19       T H E W O R K E R S S T A Y E D T H E R E T H R O U G H O U T T H E W H O L E T H I N G.

20       A N D S O , J U D G E, I A L W A Y S A P P R E C I A T E T H E I N V I T A T I O N, A N D I

21       K N O W I T ' S A N O P E N O N E , T H A T T H E C O U N S E L - - I M E A N, A L L

22       COUNSEL SHOULD TALK ABOUT IT, BECAUSE I DO SEE A PATHWAY

23       W H E R E T H A T C O U L D B E R E S O L V E D.

24                                   I AM CONCERNED ABOUT THE CLAIMS SPLIT ON

25       A DAMAGE BASIS THAT SAYS EMPLOYEES CAN GET THIS, BUT
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                                                                                                    47

 1       T H E N H A V E T O L I T I G A T E O T H E R W A Y S.    BUT THAT IS WHERE

 2       M R . P A R K S A N D I C O U L D N O T G E T A N Y F U R T H E R, O T H E R T H A N T O

 3       AGREE THAT THE LEFT SIDE OF THE CASE WOULD PROCEED TO

 4       A N O T H E R P L A C E.

 5                                  L E T M E J U S T S A Y T H I S , J U D G E, A N D I

 6       A P P R E C I A T E T H E O P P O R T U N I T Y T O C O M E U P A N D C O M M E N T.     I'M

 7       REALLY SHORTENING MY ARGUMENT BECAUSE I DO WANT TO TALK

 8       T O Y O U A B O U T M U L L A N E A N D T H E I S S U E O F N O T I C E.         AND I

 9       L I S T E N E D V E R Y I N T E N T L Y T H A T - - W A W A D O E S H A V E E - M A I L.

10       W A W A D O E S H A V E L E T T E R S A N D A D D R E S S E S.   AND THIS IS

11       A N O T H E R I S S U E F O R T H E C L I E N T S A N D T H E C L A S S.     Y O U K N O W,

12       WAWA HAS THE NAMES AND ADDRESSES OF EVERYONE WHO'S EVER

13       WORKED FOR THEM, AND THEY CAN SEND THAT MAIL NOTICE OUT.

14                                  I K N O W Y O U R H O N O R K N O WS M U L L A N E.     I DON'T

15       H A V E T O E V E N G O - - T H E R E' S A R E A L L Y G O O D L I N E T H E R E T H A T

16       TALKS ABOUT HOW IMPORTANT MAIL IS BECAUSE IT'S THE WAY

17       Y O U K N O W I N A N Y C O N T E X T, C O N S U M E R O R O T H E R W I S E, Y O U H A V E

18       T O L D P E O P L E T H E S E A R E Y O U R R I G H T S, A N D H E R E I S T H E W A Y

19       YOU CAN GET PAID IN A CASE.                      AND IT'S JUST NOT BEING

20       DONE HERE.          A N D I R A I S ED T H A T.       I SAID, YOU HAVE GOT

21       M A Y B E 4 0 , 0 0 0 N A M E S A N D A D D R E S S E S O F 2 2 M I L L I O N.     WHY

22       D O N ' T Y O U J U S T S E N D T H E M A L E T T E R?      W H Y A R E N' T Y O U J U S T

23       USING THE E-MAIL?                AND THEIR RESPONSE IS, WELL, THEY ARE

24       N O T U P D A T E D L I S T S.    AND WE ALL KNOW THE EXPERTS CAN

25       SKINNY THAT DOWN.                AND IT'S NO EXCUSE NOT FOR USING
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                                                                                                      48

 1       E - M A I L , H O N E S T L Y, E S P E C I A L L Y N O W I H E A R D T H A T T H E

 2       SETTLEMENT ADMINISTRATION IS THROUGH E-MAIL.

 3                                 SO IF WE DON'T CARVE THEM OUT, IF WE

 4       DON'T GIVE THEM SOMETHING BETTER THAT SHOWS THAT THEY DO

 5       H A V E A D I F F E R E N T P O S I T I O N, B O T H A S P E O P L E - - A N D I S A Y

 6       A G A I N, O U R O L D F R I E N D D I T T M A N L E G A L L Y V I S - A - V I S T H E I R

 7       E M P L O Y E R, A N D T H E Y A R E T R E A T E D A S O N E S I Z E F I T S A L L , 5 ,

 8       1 5 , A N D Y O U H A V E T O A P P R O V E A L L T H E S E T H I N G S, T H A T D O E S

 9       N O T S I T W E L L W I T H T H E E M P L O Y E E C L A S S, J U D G E.       I HOPE WE

10       CAN FIX THAT.             AND I HOPE WE CAN GET THE FINAL APPROVAL

11       S I N G I N G K U M B A Y A.   I W O U L D B E H A P P Y T O H A V E T H A T H A P P E N.

12                                 I WAS OBSERVING THE DARK WEB.                       THIS

13       I N F O R M A T I O N S E L L S F O R 1 7 B U C K S.    Y O U K N O W, Y O U L O O K A T

14       T H I N G S L I K E T H A T , A N D Y O U S A Y T O Y O U R S E L F, H O W C A N T H A T

15       BE AND YOU ARE GETTING 5?                    THEY ARE THE THINGS THAT

16       EXPERTS LOOK AT WHEN I TALK TO THEM.                            WHAT IS THE VALUE

17       T O T H E C R I M I N A L S O F W H A T W E A R E D E A L I N G W I T H H E R E?

18       T H E S E A R E V E R Y D I F F I C U L T C A S E S, A S Y O U R H O N O R K N O W S

19       WELL.

20                                 B U T O N M U L L A N E, I J U S T W A N T T O U N D E R S C O R E

21       -- AND WE PUT SOME INFORMATION IN THERE ABOUT THE APP.

22       M Y C O L L E A G U E, M R . C A T H E R I N E, A C T U A L L Y I S G E T T I N G A F R E E

23       SIZZLI FROM HIS APP.                 SO WAWA CAN VERY QUICKLY -- I

24       THINK THAT WAS JUST YESTERDAY DAVE GOT THAT.                                  THEY CAN

25       USE THE ELECTRONIC TOOLS TO BETTER NOTIFY PEOPLE -- AND
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                                                                                                          49

 1       I ' M O N L Y S P E A K I N G F O R T H E E M P L O Y E E S.      A G A I N, Y O U R H O N O R,

 2       Y O U A R E - - Y O U T A L K T O T H E C O N S U M E RS A B O U T T H E I R P L A N .

 3       I D I D N O T N E E D T O C R O S S E X A M I N E T H E E X P E R T.          I KNOW

 4       T H E S E E X P E R T S K N O W W H A T T H E Y A R E D O I N G I N T H E S E P L A N S.

 5       B U T I D O O B S E R V E, T H E R E I S N O M A I L, T H E R E I S N O

 6       P U B L I C A T I O N, T H E Y A R E S I M P L Y R E L Y I N G O N T H E P R E S S.          I

 7       K N O W W E H A V E S O M E O N E F R O M T H E P R E S S, B U T T H A T H A S N E V E R

 8       S U F F I C E D U N D E R M U L L A N E T H A T T H E P R E S S I S O B S E R V I N G.

 9       YOU'VE GOT TO DO SOMETHING TO NOTIFY PEOPLE WHEN YOU

10       K N O W T H E M A N D Y O U ' V E G O T T H E N A M E S A N D A D D R E S S E S, Y O U

11       G O T T H E E - M A I L A C C O U N T S.        SO I ONLY ASK THE COURT IN THE

12       M A C R O S E N S E, L E T ' S G E T A L I T T L E M O R E R O B U S T.         AND I AM

13       C O N C E R N E D W H E N I H E A R A B O U T I T ' S N O T C A S H, I T ' S A

14       C O U P O N.    YOU KNOW, THIS IS A PROMOTIONAL VEHICLE FOR

15       WAWA SO....

16                                    T H E C O U R T:    YOU ARE JUMPING AHEAD A

17       LITTLE BIT BECAUSE I HAVE NOT HEARD THE HITCH ON NOTICE

18       AND THERE ARE SOME THINGS HERE THAT -- KIND OF

19       I N T E R S E C T I O NS .    I H A D S O M E Q U E S T I O N S A B O U T W H E T H E R, F O R

20       E X A M P L E, J U S T F O R E V E R Y B O D Y T O A N T I C I P A T E, I D O N ' T T H I N K

21       YOU CAN EXIST THESE DAYS WITHOUT GETTING UNSOLICITED

22       THINGS ON YOUR IPHONE TELLING YOU THAT A MESSAGE IS

23       C O M I N G T H R O U G H.      A N D I ' M R E A L L Y Q U I T E C O N C E R NE D T H I S

24       COULD BE A VEHICLE FOR WAWA.                         N O T T O P I C K O N W A W A, B U T

25       IN THIS INSTANCE WAWA IS SENDING UNSOLICITED PROMOTIONAL
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                                                                                                      50

 1       INFORMATION TO EVERYBODY WHO HAPPENED TO HAVE GOTTEN A

 2       GIFT CARD.          SO -- AND THAT IS SOMETHING THAT I'M NOT

 3       I N T E R E S T E D I N P R O M O T I N G, I F I T C A N B E A V O I D E D.

 4                                 M R . H A V I L A N D:     J U D G E, T H A T I S O N E O F T H E

 5       R E A S O NS I K E E P T H I S O L D T H I N G A R O U N D.       I FIGURE THE

 6       SMART PHONE IS SMARTER THAN THE PEOPLE HOLDING IT.                                      I

 7       D O N ' T G E T T H I N G S O N T H E O L D B L A C KB E R R Y.      BUT I

 8       A P P R E C I A T E T H E C O U R T' S I N D U L G E N C E.   AND I DO HOPE THAT

 9       WE COULD TRY TO WORK THIS TEMPLATE OF A DEAL INTO ONE

10       T H A T W O U L D B E M O R E P A L A T A B L E F O R T H E E M P L O Y E E S.     BECAUSE

11       W E A R E N O T T H E R E, T H I S I S O U R C H A N C E T O T A L K T O T H E

12       COURT AND FRANKLY EVERYBODY ABOUT THE WAYS IT CAN BE

13       I M P R O V E D.

14                                 THANK YOU.

15                                 T H E C O U R T:     OKAY.

16                                 S O M S . S A V E T T, D O Y O U O R Y O U R C O L L E A G U E S

17       WANT TO PICK IT UP AND CONTINUE ON?

18                                 M S . S A V E T T:       I'M GOING TO ADDRESS ALL THE

19       P O I N T S O T H E R T H A N N O T I C E, A N D M Y C O L L E A G U E, M R . J O H N S,

20       W I L L A D D R E S S T H E N O T I C E P O I N T.

21                                 SO FIRST I WANT TO CLARIFY THAT MR.

22       HAVILAND AND HIS CLIENTS HAD KNOWLEDGE THAT THE

23       MEDIATION WAS GOING TO HAPPEN FOR A LONG TIME.                                   WE

24       A L R E A D Y D I S C U S S E D T H A T, B U T T H E R E W E R E S T A T U S R E P O R T S

25       S T A T I N G T H A T T H E R E W A S G O I N G T O B E A M E D I A T I O N, W H I C H H E
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                                                                                                     51

 1       S I G N E D.       AND THE CLASS HAS ALWAYS BEEN DEFINED AS ALL

 2       C O N S U M E R S W H O U S E P A Y M E N T C A R D S, A N D I T I N C L U D E D T H E

 3       E M P L O Y E E S.    I T W A S A L L C O N S U M E R S W H O U S E P A Y M E N T C A R D S.

 4                                  NOW, WERE THE EMPLOYEES CONSUMERS LIKE

 5       EVERYBODY ELSE?               Y E S , T H E Y W E R E.     AND MR. HAVILAND

 6       ADMITTED THAT.              H E S A I D I N A P R I O R H E A R I N G, I ' M G O I N G T O

 7       Q U O T E:     T H A T I S T R U E , J U D G E.      THEY ARE WALKING AND

 8       T A L K I N G L I K E A C O N S U M E R.        EMPLOYEES ARE CUSTOMERS TOO.

 9       S O T H E Y S H O U L D N O T B E T R E A T E D D I F F E R E N T L Y.     SO THEN WE

10       GET INTO --

11                                  T H E C O U R T:      T H E Y H A V E A D U A L C A P A C I T Y, D O

12       THEY NOT?

13                                  M S . S A V E T T:     THEY DO, AND THEY HAVE A

14       D U A L R I G H T H E R E T O P A R T I C I P A T E I N B O T H T R A C K S.

15                                  T H E C O U R T:      WHY DOES THE DUAL CAPACITY

16       MEAN THEY HAVE TO HAVE A SPLIT PERSONALITY OR A SPLIT

17       C A P A C I T Y?     WHY NOT SIMPLY SAY THEIR CAPACITY IS

18       D I F F E R E N T F R O M C O N S U M E R S W H O A R E N O T E M P L O Y E E S?

19                                  AS I UNDERSTAND IT, ONE OF THE RESPONSES

20       FROM -- I GUESS IT'S FROM WAWA -- THAT -- TO THE

21       EMPLOYEE TRACK CONCERN IS THAT WAWA SAYS, WELL, IT WAS

22       ANTICIPATED THAT THE EMPLOYEES -- WHY EMPLOYEES WOULD BE

23       T R E A T E D T H A T W A Y B E C A U S E O F T H E T R A C K.       AND IT SEEMS TO

24       M E O N E R E S P O N S E W O U L D B E W E L L, G I V E N T H E F A C T T H A T

25       E M P L O Y E E S H A V E I N M O S T I N S T A N C E S T H I S D U A L C A P A C I T Y,
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                                                                                                         52

 1       THEY -- WITH BOTH OF THEIR CAPACITIES GO OFF IN THEIR

 2       O N E T R A C K, L E A V I N G T H E M A L O N E A N D E X C L U D E D F R O M T H E

 3       C O N S U M E R T R A C K.

 4                                    M S . S A V E T T:   Y O U R H O N O R, I J U S T D O N ' T

 5       T H I N K T H A T I S R I G H T, A N D T H A T I S N O T T H E W A Y T H I S C A S E

 6       D E V E L O P E D.       I WANT TO GO BACK TO THE VERY BEGINNING OF

 7       T H E T R A C K S, W H E N W E W E R E S E T T I N G U P T H E T R A C K S.              THE

 8       ONLY REASON THERE WAS A SEPARATE EMPLOYEE TRACK WAS

 9       B E C A U S E M R . H A V I L A N D A L L E G ED T H A T P E R S O NA L I N F O R M A T I O N

10       O F E M P L O Y E E S W A S S T O L E N T H R O U G H T H E D A T A B R E A C H.          IT

11       C O U L D H A V E B E E N J O B H I S T O R Y.       IT COULD HAVE BEEN SOCIAL

12       S E C U R I T Y I N F O R M A T I O N.    PERSONAL INFORMATION OF EMPLOYEES

13       W A S S T O L E N T H R O U G H T H E D A T A B R E A C H.       OUR CASE WAS ALWAYS

14       V E R Y L I M I T E D.       IT WAS NOTHING BUT THE THEFT OF PAYMENT

15       C A R D I N F O R M A T I O N, A N D O U R C A S E I S S T I L L L I M I T E D T O T H A T,

16       AND WE MADE THAT PERFECTLY CLEAR IN THE ORIGINAL

17       S E T T L E M E N T A G R E E M E N T A N D I N T H E A M E N D M E N T.     AND IT'S

18       ALSO LIMITED IN TIME TO THE MARCH TO DECEMBER 2019

19       B R E A C H.    AND IT ONLY CONCERNS THE THEFT OF PAYMENT

20       I N F O R M A T I O N.

21                                    AND IT WAS FOR THAT REASON THAT MR.

22       HAVILAND AND HIS CLIENTS ALLEGED SOMETHING VERY

23       D I F F E R E N T, T H A T S E N S I T I V E P E R S O N A L I N F O R M A T I O N O F

24       E M P L O Y E E S W A S S T O L E N T H R O U G H T H E D A T A B R E A C H, T H A T H E

25       G O T A S E P A R A T E T R A C K.        BUT OUR DEFINITION OF THE CLASS
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                                                                                                  53

 1       W A S A L W A Y S F O R C O N S U M E R S U S I N G C R E D I T C A R D S.   IT DID NOT

 2       M A K E A N E X C E P T I O N F O R E M P L O Y E E S.   THERE WAS NO REASON

 3       TO.     A N D T O D A Y, H I S E M P L O Y E E S C A N R E C O V E R W I T H I N T H E

 4       S E T T L E M E N T T H A T I H A V E P U T F O R T H, A N D T H E Y C A N S T I L L

 5       HAVE THEIR CASE TO LITIGATE WHETHER OR NOT THEIR

 6       PERSONAL INFORMATION WAS BREACHED BY A FAULT OF A DATA

 7       B R E A C H.

 8                                T H E C O U R T:      HOW DO YOU PLAY OUT THEN HOW

 9       -- WHAT THE IMPACT OF THE CLASSIC RELEASE WOULD BE FOR

10       S U C H A P E R S O N?       BECAUSE I REALLY DON'T THINK ANYBODY IS

11       INTERESTED IN HAVING A LOT OF HEARINGS AS TO WHETHER OR

12       NOT THE CONSUMER RELEASE FOR A PARTICIPATING CONSUMER

13       D O E S O R D O E S N O T I N F E C T, F O R L A C K O F A B E T T E R W O R D F O R

14       T H E M O M E N T, T H E E M P L O Y E E P L A N.

15                                M S . S A V E T T:     IT DOES NOT.           IT HAS BEEN

16       STATED EXPLICITLY THAT THE EMPLOYEE CLAIM FOR THEFT OF

17       PERSONAL INFORMATION OF EMPLOYEES OUTSIDE OF PAYMENT

18       CARDS AND OUTSIDE OF THE MARCH TO DECEMBER 2019 PERIOD

19       I S N O T R E L E A S E D.     T H A T I S H I S C L A I M.     THAT IS THE REASON

20       H E G O T A S E P A R A T E T R A C K.        BUT TO THE EXTENT EMPLOYEES

21       WERE CONSUMERS AND USED PAYMENT CARDS AT WAWA DURING THE

22       B R E A C H P E R I O D, T H E Y A R E I N O U R C A S E .

23                                AND ANOTHER POINT WAS MADE BY

24       M R . H A V I L A N D T H A T I F H E H A D B E E N A T T H E M E D I A T I O N, W H I C H

25       HE DID NOT ASK TO BE AT, HE WOULD HAVE ARGUED MUCH MORE
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                                                                                                      54

 1       S T R O N G L Y A B O U T L I A B I L I T Y.    W E L L, H O W C A N Y O U A R G U E M O R E

 2       STRONGLY THAN WHAT WE ASSUME FOR PURPOSES OF THE

 3       M E D I A T I O N T H A T T H E R E W A S L I A B I L I T Y?    THAT ISSUE WAS OFF

 4       T H E T A B L E.     W E A S S U M E D N E G L I G E N C E.    SO IT WOULD NOT HAVE

 5       MATTERED HOW STRONGLY HE ARGUED IT.                             IT COULD NOT HAVE

 6       BEEN STRONGER THAN THE FACT THAT WE ASSUMED THERE WAS

 7       N E G L I G E N C E I N T H A T M E D I A T I O N.      AND WHAT WE DEALT WITH

 8       W E R E T H E I S S U ES O F C A U S A T I O N A N D D A M A G E S A N D H O W T O

 9       F O R M U L A T E A P P R O P R I A T E R E L I E F.

10                                  I THINK WAWA HAD A RIGHT TO NEGOTIATE A

11       P I E C E F O R A L L T H E C O N S U M E R S T H A T I N C L U D E D E M P L O Y E E S.

12       MR. HAVILAND ADMITTED THAT EMPLOYEES WHO USED THEIR

13       C R E D I T C A R D S W E R E C O N S U M E R S.       I DON'T SEE THE

14       D I F F E R E N C E, I D O N ' T S E E W H Y T H A T A S P E C T O F T H E I R

15       TRANSACTIONS THAT THEY HAD DAMAGES SHOULD BE CARVED OUT.

16       T H A T I S N ' T T H E R E A S O N H E H A S A S E P A R A T E T R A C K.       IF HE

17       H A D S A I D T H A T , W E W O U L D H A V E A R G U E D A G A I N S T I T T H E N.

18       B U T H E D I D N ' T - - H E D I D N' T M A K E T H A T A R G U M E N T.

19                                  T H E C O U R T:     WHY?

20                                  M S . S A V E T T:      BECAUSE WE HAD THE

21       D E F I N I T I O N A L W A Y S T H A T I T W A S A L L C O N S U M E R S, S O

22       EMPLOYEES --

23                                  T H E C O U R T:     IT'S NOT LIKE SOME OWNERSHIP

24       P R I N C I P L E.   I MEAN, WE HAVE IT.                  I M E A N, W H Y W O U L D Y O U

25       HAVE THOUGHT THAT?
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                                                                                                        55

 1                                  M S . S A V E T T:     BECAUSE OF THE FACT THAT IT

 2       WAS A DIFFERENT CASE.                    THIS WHOLE CASE WAS BASED ON, AS

 3       HE SAID, ONE PART OF THE COMPUTER GOES RIGHT AND ONE

 4       PART OF IT GOES LEFT.                    OUR CASE WAS JUST ABOUT THE ONE

 5       T H A T W E N T T O T H E P A Y M E N T C A R D S I D E.           HE SAYS THERE WERE

 6       OTHER PARTS OF THE SYSTEM THAT WERE ATTACKED THAT

 7       C O M P R O M I S E D P E R S O N A L I N F O R M A T I O N O F E M P L O Y E E S.

 8                                  T H E C O U R T:      T H A T I S A L I A B I L I T Y Q U E S T I O N.

 9                                  M S . S A V E T T:     THAT WAS A DIFFERENT CASE.

10                                  T H E C O U R T:      I THINK THE ISSUE MIGHT BE --

11       T H A T I S A L L W E L L A N D G O O D O N L I A B I L I T Y, B U T I N T E R M S O F

12       W H A T D O Y O U D O W I T H R E S O L V I N G T H E C A S E , T H E D A M A G E S, T H E

13       COMPENSATION SIDE OF IT WHERE SOMEBODY WHO HAS A DUAL

14       C A P A C I T Y A R G U A B L Y C O U L D B E D I F F E R E N T.

15                                  M S . S A V E T T:     B U T I T I S N O T D I F F E R E N T.

16       T H E Y A C T E D A S C O N S U M E RS .        WHY WOULD THEIR STATUS OF

17       EMPLOYEES MAKE THEM ANY DIFFERENT THAN ANY OTHER

18       C O N S U M E R W H O S E P A Y M E N T C A R D I N F O R M A T I O N W A S C O M P R O M I S E D?

19       E I T H E R T H E Y H A D N O F R A U D U L E N T C H A R G E S, O R T H E Y H A D

20       F R A U D U L E N T C H A R G E S T H A T G O T R E V E R S E D, O R T H E Y H A D R E A L

21       D A M A G E B E C A U S E T H E Y H A D S O M E R E A L O U T - O F - P O C K E T.     SO

22       THEY ARE GETTING THE SAME RELIEF THAT THEY WOULD HAVE

23       G O T T E N.

24                                  T H E C O U R T:      THAT IS A FAIRLY WOODEN

25       R E S P O N S E.   I ' M T H I N K I N G O F S O M E T H I N G M U C H M O R E D Y N A M I C.
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                                                                                                          56

 1       J O E S M I T H, A N E M P L O Y E E, U S E S - - H E H A S A D I S C O U N T C A R D

 2       A N D B U Y S L U N C H O N H I S L U N C H B R E A K.          HE HAS ARGUABLY

 3       G O T - - H E I S S T I L L O N E G U Y , J O E S M I T H.             HE ARGUABLY HAS

 4       T W O I N C O M E S T R E A M S O R T W O I N T E R E S T S T R E A M S, W E R E B E I N G

 5       C O M P E N S A T E D F O R D A T A B R E A C H E S.     THE QUESTION IS, WHY

 6       M A K E H I M B E S P L I T?         WHY CAN'T HE NOT JUST BE IN HIS OWN

 7       L I T T L E C L A S S A S A P E R S O N W H O H A S T W O C L A I M S T R E A M S?

 8                                    M S . S A V E T T:    THIS CASE IS NOT ABOUT

 9       D I S C O U N T C A R D S.       I T ' S A B O U T U S E O F C R E D I T C A R D S.    I

10       D O N ' T T H I N K T H A T E X A M P L E A P P L I E S.

11                                    T H E C O U R T:     I ' M S O R R Y.    I WILL WORK ON

12       IT.

13                                    M S . S A V E T T:    I ' M S O R R Y.    I WANT TO MAKE A

14       P O I N T A B O U T D I T T M A N, W H I C H W A S A R G U E D A D N A U S E A M B E F O R E.

15       BUT MR. HAVILAND MAKES THE POINT THAT DITTMAN SAID

16       E M P L O Y E E S A R E A T A H I G H E R S T A T U S.         I T D O E S N O T S A Y T H A T.

17       THE DITTMAN CASE IS ABOUT WHETHER OR NOT THERE WAS A

18       D U T Y T O P R O T E C T P R I V A T E I N F O R M A T I O N B Y C O M P A N I E S.       AND

19       IT JUST SO HAPPENS THAT THE CLASS THERE WAS A CLASS OF

20       E M P L O Y E E S.      IT DOES NOT SAY THEY ARE IN A HIGHER STATUS

21       T H A N O T H E R C O N S U M E R S.      IT JUST TALKS ABOUT THE EXISTENCE

22       OF THE DUTY TO PROTECT CONFIDENTIAL INFORMATION OF A

23       C O M P A N Y.       I N T H A T C A S E I T W A S A H O S P I T A L C H A I N.

24                                    THE PROGENY OF DITTMAN MAKES IT

25       A B S O L U T E L Y C L E A R.      T H E R E I S N O D I F F E R E N T I A L.   IT'S ABOUT
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                                                                                                   57

 1       T H E D U T Y T O P R O T E C T P R I V A T E I N F O R M A T I O N.    NONE OF THE

 2       C A S E S S A Y E M P L O Y E E S A R E I N A H I G H E R S T A T U S.     IT'S JUST

 3       NOT THE CASE.              AND HE HAS ADMITTED THAT THEY ACTED AS

 4       C O N S U M E R S I N U S I N G T H E I R P A Y M E N T C A R D S.     WE ARE NOT

 5       TRYING TO TAKE AWAY HIS CASE.                       THAT IS WHY WE WERE SO

 6       E X P L I C I T I N A M E N D I N G T H E R E L E A S E.    TO THE EXTENT THAT HE

 7       T H O U G H T W E W E R E U S U R P I N G P A R T O F H I S C A S E, L I K E T H E 2 0 1 8

 8       B R E A C H, W H A T E V E R H A P P E N E D T H E R E, O R T H E T H E F T O F M U C H

 9       MORE SENSITIVE INFORMATION OF EMPLOYEES THAT MAY HAVE

10       BEEN IN ANOTHER PART OF THE COMPUTER OR THE DIGITAL

11       S Y S T E M O F W A W A , W H I C H H E S A Y S W A S B R E A C H E D, T H A T I S N O T

12       OUR CASE.            A N D W E D I D N' T W A N T T O T A K E A W A Y O N E I N C H O F

13       T H E C A S E T H A T H E P U R P O R T E D T O R E P R E S E N T.      BUT WE HAVE

14       ALWAYS PURPORTED TO REPRESENT PEOPLE ACTING AS

15       C O N S U M E R S.

16                                  T H E C O U R T:   OKAY.        I W I L L T E L L Y O U W H A T,

17       M S . S A V E T T.      DO YOU HAVE ANYTHING NEW TO RAISE OR DO WE

18       W A N T T O G O I N T O N O T I C E?

19                                  A N D B E F O R E W E D O T H A T, I C A N A S K W I T H M Y

20       OWN RECOMMENDATION TO MR. PARKS IS, YOU CAN ADDRESS ALL

21       O F T H I S A F T E R I H E A R A B O U T N O T I C E.       BUT IF YOU REALLY

22       W A N T T O H O P U P N O W A N D S A Y A N Y T H I N G, I S U P P O S E Y O U

23       C O U L D.

24                                  M R . P A R K S:   I C A N W A I T, Y O U R H O N O R.     I'M

25       HAPPY TO SHARE OUR PERSPECTIVE ON THIS DUAL CAPACITY
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                                                                                                     58

 1       KIND OF ISSUE BECAUSE WE DEFINITELY HAVE ONE.

 2                                  T H E C O U R T:      MY QUESTION WAS WHETHER YOU

 3       WANT TO DO THAT NOW OR YOU WANT TO WAIT UNTIL --

 4                                  M R . P A R K S:      I'M HAPPY TO WAIT UNTIL THEY

 5       A R E D O N E , Y O U R H O N O R.

 6                                  T H E C O U R T:      M S . S A V E T T, C A N W E T U R N T O

 7       N O T I C E?

 8                                  M S . S A V E T T:     NO.         I'M GOING TO ALLOW MY

 9       COLLEAGUE TO ADDRESS THAT.

10                                  T H E C O U R T:      I GUESS THAT IS A YES.

11                                  M S . S A V E T T:     THANK YOU.

12                                  T H E C O U R T:      G R E A T.

13                                  M R . J O H N S:      G O O D M O R N I N G A G A I N, Y O U R

14       H O N O R, A N D M A Y I T P L E A S E T H E C O U R T, B E N J O H N S F R O M T H E

15       CHIMICLES SCHWARTZ FIRM.                        AS YOU'VE HEARD FROM MS.

16       S A V E T T, I ' M G O I N G T O A D D R E S S T H E N O T I C E I S S U E S.

17                                  B U T B E F O R E I T U R N T O T H A T , I F I C O U L D,

18       YOU HAD ASKED MR. HAVILAND THE QUESTION ABOUT THE NUMBER

19       O F E M P L O Y E E S W E A R E T A L K I N G A B O U T.        I WILL CALL THEM

20       C O N S U M E R E M P L O Y E E S.   T H O S E S T A T I S T I C S A R E I N T H E R E C O R D.

21       P A G E 1 O F W A W A ' S R E P L Y B R I E F S A Y S T H A T T H E R E' S 5 0 , 0 0 0

22       CURRENT AND FORMER EMPLOYEES WHO WERE EMPLOYED DURING

23       T H E R E L E V A N T T I M E P E R I O D.       P A G E 1 5 O F M R . H A V I L A N D' S

24       OPPOSITION BRIEF SAYS THAT THERE ARE 34,000 CURRENT

25       E M P L O Y E E S.   SO I JUST WANTED TO GET THAT INTO THE
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                                                                                                         59

 1       R E C O R D.

 2                                 T H E C O U R T:      P R E S U M A B L Y, E V E N I C A N D O

 3       THAT MATH, THERE MUST BE SOME 11,000 EX FORMER

 4       E M P L O Y E E S.

 5                                 M R . J O H N S:      YES.

 6                                 M R . P A R K S:      Y O U R H O N O R, I H A T E T O

 7       I N T E RJ E C T O N T H I S .     I THINK OUR BRIEF SAID OVER 50,000,

 8       B E C A U S E W E W E R E V E R Y C O M F O R T A B L E W I T H T H A T N U M B E R.       SO

 9       THAT THE NUMBER ACTUALLY MIGHT BE A BIT HIGHER THAN THAT

10       AS THE CASE MAY BE.                  O B V I O U S L Y, A S Y O U R H O N O R S A I D , W E

11       KNOW HOW MANY FORMER EMPLOYEES THERE ARE.                                 THAT IS A

12       K N O W A B L E N U M B E R F O R S U R E.

13                                 M R . J O H N S:      Y O U R H O N O R, W I T H R E S P E C T T O

14       N O T I C E, I T H I N K A G O O D S T A R T I N G P O I N T F O R T H I S A N A L Y S I S

15       I S T H E T E X T O F T H E R U L E I T S E L F.          RULE 23(C)(2)(B)

16       PROVIDES THAT A DISTRICT COURT THAT GRANTS CLASS

17       CERTIFICATION IS TO PROVIDE THE BEST NOTICE THAT IS

18       P R A C T I C A B L E U N D E R T H E C I R C U M S T A N C E S.   THE FOLLOWING

19       SENTENCE IN THE RULE, WHICH IS SOMETHING THAT WAS

20       A M E N D E D I N 2 0 1 8 , P R O V I D ES T H A T T H A T N O T I C E C A N B E

21       T H R O U G H U . S . M A I L , I T C A N B E T H R O U G H E - M A I L, O R I T C A N

22       B E T H R O U G H O T H E R A P P R O P R I A T E M E A N S.

23                                 THE 2018 RULES COMMITTEE NOTES WITH

24       RESPECT TO THAT AMENDMENT PROVIDES THAT THERE IS NOT A

25       DEFAULT AND THERE IS NOT A PREFERRED METHOD AS BETWEEN
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                                                                                                     60

 1       T H O S E T H R E E O P T I O N S.   I N S T E A D, W H A T I T S A Y S L I T I G A N T S

 2       AND THE COURT SHOULD DO IS EVALUATE EACH CASE ON ITS

 3       OWN, WHICH IS WHAT WE HAVE DONE IN CONSULTATION BOTH

 4       W I T H W A W A ' S C O U N S E L, W I T H J U D G E W E L S H A T T H E M E D I A T I O N,

 5       AND OF COURSE WITH THE NOTICE EXPERTS AT KCC.                                  SO I

 6       WOULD LIKE TO JUST QUICKLY SUMMARIZE WHAT IT IS WE CAME

 7       U P W I T H A N D W H Y T H I S M E E T S T H E A P P L I C A B L E.

 8                                T H E C O U R T:    HOW ABOUT IF I TELL YOU WHAT

 9       MY QUESTIONS ARE AND THEN YOU CAN ASSUME THAT IF I'M NOT

10       ASKING YOU ABOUT IT, IT'S NOT SOMETHING I'M PARTICULARLY

11       AGITATED WITH.

12                                M R . J O H N S:    T H A T I S F I N E, Y O U R H O N O R.

13       SURE.

14                                T H E C O U R T:    I N T H I S I N S T A N C E, A S I

15       U N D E R S T A N D I T , M R . M C G L A D E I S A F O R M E R E M P L O Y E E, I S T O

16       U S E H I M A S A N E X A M P L E, H O W L I K E L Y I S I T T H A T A F O R M E R

17       E M P L O Y E E I S G O I N G T O S E E T H E I N - S T O R E S I G N O R P L A C A R D?

18                                M R . J O H N S:    WELL, I THINK -- I THINK THE

19       ANSWER TO YOUR QUESTION IS IT'S NOT JUST THE IN-STORE

20       P L A C A R D T H A T W E A R E P R O P O S I N G A S N O T I C E H E R E.     I THINK

21       THAT IS PROBABLY ONE OF THE -- WE HAVE A COUPLE

22       D I S C O N N E C T S H E R E W I T H M R . H A V I L A N D, B U T I T H I N K T H A T I S

23       ONE OF THEM.           I T ' S N O T J U S T T H E I N - S T O R E P L A C A R DS W I T H

24       T H E Q R C O D E S.     IT'S THE PUBLICATION -- THE NOTIFICATION

25       T H A T I S G O I N G T O G O O N T H E S E T T L E M E N T W E B S I T E, T H E
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 1       NOTIFICATION THAT IS GOING TO GO RIGHT ON WAWA'S HOME

 2       PAGE, WHICH BY THE WAY IS WHAT THEY DID BACK IN DECEMBER

 3       OF 2019 WHEN THEY INITIALLY NOTIFIED EVERYONE OF THE

 4       B R E A C H.    T H E R E I S G O I N G T O B E A P R E S S R E L E A S E I S S U E D.

 5       T H A T I S S O M E T H I N G E L S E T H A T W A W A D I D B E F O R E.

 6                                  AND AS HAS ALREADY BEEN ALLUDED TO, THERE

 7       IS AN EARNED MEDIA COMPONENT OF THIS.                             THAT IS SOMETHING

 8       T H A T T H E C O U R T S H O U L D C O N S I D E R.    WE CITE A CASE CALLED

 9       CAMPBELL VERSUS FACEBOOK THAT IS FROM THE NORTHERN

10       D I S T R I C T O F C A L I F O R N I A, W H I C H T A L K S A B O U T T H E I M P O R T A N C E

11       OF MEDIA COVERAGE AND HOW THAT IS SOMETHING THAT COURTS

12       SHOULD BE MINDFUL OF WHEN ASSESSING THE ADEQUACY OF A

13       PROPOSED NOTICE PLAN.                  A N D O F C O U R S E, A S I ' M S U R E Y O U R

14       H O N O R I S A W A R E, T H I S C A S E H A S R E C E I V E D E X T E N S I V E

15       N O T O R I E T Y.

16                                  AND SO WE SUBMIT -- AND THIS -- ONE OF

17       THE POINTS THAT MR. HAVILAND MAKES IS THEY DON'T DO

18       P U B L I C A T I O N N O T I C E.   I'M NOT EVEN SURE FRANKLY WHAT THAT

19       M E A N S, B E C A U S E W E D O H A V E P U B L I C A T I O N N O T I C E I N T H E F O R M

20       O F T H E W E B S I T ES T H A T I M E N T I O N E D A N D T H E P R E S S R E L E A S E.

21       B U T I T S E E M S T O M E , Y O U R H O N O R, T H A T N O T I C E I S G O I N G T O

22       BE FAR MORE EFFECTIVE HERE IF IT'S ON THE FRONT PAGE OF

23       T H E L E G A L I N T E L L I G E N C E R, A S O P P O S E D T O I N T H E B A C K

24       PAGE --

25                                  T H E C O U R T:   COME ON.         G E T S E R I O U S.
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 1                                  M R . J O H N S:    I A M S E R I O U S.

 2                                  T H E C O U R T:    HOW MANY WAWA CONSUMERS SIT

 3       O U T S I D E A N D D R I N K T H E I R W A W A C O F F E E R E A D I N G T H E L E G A L?

 4                                  M R . J O H N S:    WELL, THE POINT I WAS TRYING

 5       T O M A K E , Y O U R H O N O R, I S I T ' S B E T T E R T O H A V E T H E

 6       P U B L I C I T Y I N P L A C E S L I K E T H A T, A S O P P O S E D T O T H E B A C K O F

 7       T H E L E G A L I N T E L L I G E N C E R, W H I C H I S T H E L E G A L N O T I C E S,

 8       WHICH IS APPARENTLY WHAT MR. HAVILAND WANTS US TO DO.

 9       B U T T O G I V E Y O U A S E R I O U S A N S W E R T O T H A T Q U E S T I O N, T H I S

10       I S I N T H E I N Q U I R E R.      W E H A V E S O M E O N E F R O M L A W 3 6 0 T H A T' S

11       HERE.        I T ' S N O T J U S T L A W Y E R A N D L E G A L- S P E C I F I C

12       P U B L I C A T I O N S.   T H I S H A S A F F E C T E D 2 2 M I L L I O N P E O P L E, A N D

13       I T I S G E T T I N G A L O T O F N O T O R I E T Y.        AS I'M SURE YOUR

14       HONOR SAW, WAWA, WHICH TRACKS THESE THINGS APPARENTLY IN

15       T H E N O R M A L C O U R S E, S U B M I T T E D A D E C L A R A T I O N W I T H I T S

16       BRIEF THAT SAID THERE WERE 99 MILLION MEDIA IMPRESSIONS

17       THAT WERE MADE, AND THAT IS JUST TO DATE, JUST WITH THE

18       -- ASSOCIATED WITH THE FILING OF THE PRELIMINARY

19       A P P R O V A L P A P E R S A N D T H E P R O P O S E D S E T T L E M E N T.      SO WE

20       T H I N K T H A T I S P R E T T Y S I G N I F I C A N T.

21                                  WE ALSO -- ANOTHER DATA POINT TO THROW AT

22       YOU IS THE STATISTICS FROM JANUARY OF THIS YEAR,

23       PREVACCINE ROLLOUT, WHICH WAWA SAID THERE WERE 64

24       M I L L I O N P E O P L E T H A T C A M E I N T O T H E S T O R E S.      HOW THAT IS

25       BROKEN DOWN TO FORMER EMPLOYEES OR CURRENT EMPLOYEES I
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 1       DON'T KNOW, BUT THE POINT IS, PEOPLE ARE GOING TO SEE

 2       T H I S N O T I C E.    IT'S GOING TO GET PICKED UP OVER AND OVER

 3       A G A I N.

 4                                T H E C O U R T:     AS I UNDERSTAND IT, THE

 5       I N - S T O R E N O T I C E, I ' M U S I N G T H E W O R D P L A C A R D, S I G N O R

 6       S O M E T H I N G, I S R E A L L Y O N L Y G O I N G T O B E U P F O R W H A T, F O U R

 7       W E E K S?

 8                                M R . J O H N S:     F O U R W E E K S, T H A T ' S R I G H T.

 9                                T H E C O U R T:     W H Y F O U R W E E K S?     WHY NOT

10       L O N G E R.   I F T H E C A R D I S G O O D F O R A Y E A R, W H Y N O T L E A V E

11       T H E N O T I C E U P F O R A Y E A R?

12                                M R . J O H N S:     W E L L , Y O U R H O N O R, F I R S T O F

13       A L L , T O B E C L E A R, T H E N O T I C E I S G O I N G T O B E I N T H E

14       STORES AND IT'S ALSO GOING TO BE OUT AT THE FUEL PUMPS.

15       B U T T O A N S W E R Y O U R Q U E S T I O N, J U S T L I K E T H E Q U E S T I O N T H A T

16       Y O U W E R E A S K I N G M Y C O L L E A G U E, M S . S A V E T T, T H A T I S

17       SOMETHING WE NEGOTIATED PRETTY INTENSELY AND THAT IS --

18                                T H E C O U R T:     I DON'T QUITE SEE THE

19       S E N S I B I L I T Y O F - - T H E S E N S E O F F O U R M O N T H S.       WHY NOT

20       1 2 M O N T H S?

21                                M R . J O H N S:     W E L L , Y O U R H O N O R, I T H I N K

22       AGAIN THIS GOES BACK TO THE POINT OF WHAT I WILL CALL

23       T H E H O L I S T I C A P P R O A C H H E R E W I T H A N A L Y Z I N G N O T I C E.   IT IS

24       NOT SIMPLY THE PLACARDS AS YOU REFERRED TO THEM AS, THAT

25       IS NOT THE ONLY FORM OF NOTICE HERE.                             WE HAVE ALL THESE
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                                                                                                      64

 1       O T H E R C H A N N E L S, A N D I T H I N K W H E N Y O U L O O K A T T H E M

 2       TOGETHER --

 3                                 T H E C O U R T:   IF WE ARE TALKING ABOUT POINT

 4       OF SALE, POS.             WHY WOULD NOT REMINDING SOMEBODY THAT

 5       THEY HAVE GOT SOMETHING ON THEIR LITTLE IPHONE THAT

 6       TELLS THEM THEY HAVE $5 OR $15 WORTH OF WHATEVER TO USE

 7       W H E N T H E Y G O I N T O A W A W A, A N D T H E Y A R E G O I N G T O B E

 8       REMINDED OF THAT IF THEY SEE A LITTLE SIGN AT THE

 9       C H E C K O U T C O U N T E R S A Y I N G, H E R E I S T H E S E T T L E M E N T O R

10       WHATEVER IT WAS.              W H Y - - I D O N ' T Q U I T E G E T F O U R W E E K S.

11       EVEN TELL ME, SAY, WELL, THAT IS JUST WHAT WE

12       N E G O T I A T E D.   THAT IS WHAT DIANE WELSH THOUGHT WAS A

13       GREAT IDEA.            B U T I ' M A S K I N G, W H Y N O T L O N G E R?

14                                 M R . J O H N S:   WELL, YOU ARE RIGHT WITH THE

15       F I R S T P A R T T H A T T H A T W A S S O M E T H I N G T H A T W A S N E G O T I A T E D.

16       B U T T O A N S W E R Y O U R Q U E S T I O N, F R A N K L Y, W E W E R E P E R S U A D E D

17       WHEN WE SAW THESE NUMBERS OF THE NUMBER OF PEOPLE THAT

18       G O I N T O T H E S T O R E S O V E R T H E P E R I O D O F A M O N T H.        A G A I N,

19       T H A T I S I N J A N U A R Y.

20                                 T H E C O U R T:   D O E S N' T I T D E P E N D U P O N W H A T

21       M O N T H S?

22                                 M R . J O H N S:   W E L L , Y E A H, I T D O E S.      AND IT

23       A L S O , I W O U L D T H I N K, D E P E N D S U P O N - - N O W T H A T T H E W O R L D

24       I S , K N O C K O N W O O D , S T A R T I N G T O O P E N U P A G A I N, T H A T D A T A

25       W A S F R O M D U R I N G T H E P A N D E M I C P E R I O D.    ONE WOULD THINK
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                                                                                                   65

 1       T H A T , A S W E G E T C L O S E R T O N O R M A L, T H A T T H O S E N U M B E R S A R E

 2       ONLY GOING TO GO UP.

 3                                T H E C O U R T:    EXCEPT THAT AS I POINTED OUT,

 4       WAWA WAS -- KUDOS TO WAWA, THEY WERE ONE OF THE ONLY

 5       PLACES THAT HAVE BEEN OPEN.                     AS I SAY, YOU TRANSACT MORE

 6       B U S I N E S S A T W A W A T H E N Y O U C O U L D A T 6 0 1 M A R K E T S T R E E T.

 7                                M R . J O H N S:    SURE.      R I G H T.    BUT BE THAT AS

 8       I T M A Y , Y O U R H O N O R, E V E N S A Y I N G T H E P A N D E M I C I S S U E S

 9       A S I D E, T H A T O N E - M O N T H P E R I O D I N J A N U A R Y A G A I N H A D 6 4

10       M I L L I O N P E O P L E T H A T C A M E I N D U R I N G T H A T M O N T H.   AND

11       A G A I N, T H I S I S A C L A S S S I Z E T H A T I S A P P R O X I M A T E L Y 2 2

12       M I L L I O N.   SO WE THINK THAT --

13                                T H E C O U R T:    LET ME TRY A DIFFERENT WAY.

14                                M R . P A R K S:    SURE.

15                                T H E C O U R T:    HOW MUCH -- DID ANYBODY LOBBY

16       F O R O R N E G O T I A T E F O R A L O N G E R P E R I O D O F T I M E?

17                                M R . J O H N S:    YES.

18                                T H E C O U R T:    W H A T W A S T H A T L O N G E R P E R I O D?

19                                M R . J O H N S:    I D O N ' T R E C A L L, H O N E S T L Y,

20       Y O U R H O N O R.    I J U S T D O N ' T R E M E M B E R.   I CAN FIND THAT OUT

21       I F I T W O U L D B E H E L P F U L.

22                                T H E C O U R T:    W E L L , M A Y B E M R . P A R KS K N O W S.

23                                M R . P A R K S:    I D O R E C A L L.      I'LL HAPPILY

24       GET TO IT.           I T H I N K I T W A S - - W E S T A R T E D W I T H T W O W E E K S,

25       T H E Y S T A R T E D W I T H T H R E E M O N T H S.   WE ENDED UP WITH ONE
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 1       M O N T H.       I THINK PART OF THE ISSUE THOUGH IS THAT THE

 2       SIGNS NEED TO BE UP DURING THE PERIOD OF TIME THAT CLASS

 3       M E M B E R S C O U L D B E M A K I N G C L A I M S, B E C A U S E T H A T I S T H E

 4       PERIOD OF TIME IN WHICH THEY CAN SNAP THE THING ON THEIR

 5       P H O N E O R D O W H A T E V E R T H E Y W A N T T O D O A N D S U B M I T A C L A I M.

 6       T H E P E R I O D O F T I M E T H A T T H E G I F T C A R D I S A V A I L A B L E, B Y

 7       T H E N I T I S T O O L A T E.        SO THAT IS WHY THERE IS ACTUALLY

 8       -- IT'S ABOUT A 90-DAY PERIOD FROM WHEN CLASS NOTICE

 9       GOES OUT.           90 DAYS LATER THAT PEOPLE HAVE TO MAKE A

10       C L A I M.       SO IN THAT 90 DAYS IS WHEN IT IS RELEVANT FOR

11       P E O P L E T O S E E N O T I C E.      AND WE BELIEVE THAT FOUR WEEKS

12       W A S S U F F I C I E N T, B E C A U S E W E C O U L D S H O W T H A T 6 4 M I L L I O N

13       P E O P L E W O U L D S E E T H E S I G N S.      WE HAVE 22 MILLION CLASS

14       M E M B E R S.     S O T H A T S H O W S U S - - T H E 6 4 M I L L I O N, W E

15       A C T U A L L Y T H O U G H T W A S O V E R K I L L.   WE THOUGHT THAT WAS MORE

16       T H A N E N O U G H.     IT COVERED IT.

17                                 ANOTHER SLIGHT LOGISTICAL CHALLENGE FROM

18       WAWA'S PERSPECTIVE IS, IT'S HARD TO KEEP SIGNS UP IN A

19       STORE FOR A PERIOD OF TIME.                       S I G N S G E T T A K E N D O W N.

20       P E O P L E S W I P E S I G N S.     THEY STEAL THEM.             I T S O U N DS L I K E

21       YOU JUST PUT THE SIGN UP AND FORGET IT.                               BUT

22       L O G I S T I C A L L Y F R O M A R E T A I L E R' S P E R S P E C T I V E, I T ' S N O T

23       T H A T E A S Y T O K E E P A S I G N U P E V E N F O R F O U R W E E K S.

24                                 T H E C O U R T:     THANK YOU.          YOU ACTUALLY

25       HELPED ME FOCUS MY THINKING ON THIS.                             SO IS THERE ANY
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                                                                                                         67

 1       P R O V I S I O N, I N A D D I T I O N T O T H E N O T I C E T O F I L E A C L A I M,

 2       WHICH IS A PERFECTLY SENSIBLE ANSWER YOU'VE JUST GIVEN

 3       ME, BUT IS THERE SOME OTHER ADDITIONAL SIGNAGE OR

 4       C O M M U N I C A T I O N, I W I L L S A Y T H A T , T H A T R E M I N DS P E O P L E T O

 5       A C T U A L L Y U S E T H E I R B E N E F I T?

 6                                M S . P A R K S:        WELL, THEY GET AN E-MAIL WITH

 7       T H E G I F T C A R D , B U T A F T E R T H A T, N O , Y O U R H O N O R.

 8                                T H E C O U R T:        THAT IS THE ANSWER TO MY

 9       Q U E S T I O N.

10                                M R . P A R K S:        YES.

11                                M R . J O H N S:        Y O U R H O N O R, U N L E S S Y O U H A V E

12       A D D I T I O N A L Q U E S T I O N S F O R M E , I T H I N K T H E R E' S T W O O T H E R

13       POINTS I'D LIKE TO --

14                                T H E C O U R T:        G O A H E A D.

15                                M R . J O H N S:        MR. HAVILAND ALSO MADE THE

16       POINT ABOUT THE CURRENT EMPLOYEES NOT BEING AWARE OF

17       THIS.       AND I THINK FOR THE REASONS THAT MR. PARKS JUST

18       DESCRIBED WITH RESPECT TO PUTTING THE PLACARDS UP,

19       F R A N K L Y, T H O S E F O L K S A R E G O I N G T O G E T M O R E N O T I C E A B O U T

20       THIS THING THAN ANYBODY ELSE.

21                                S O T H E O T H E R P O I N T, A N D T H I S G O E S T O

22       ANOTHER WHAT I WILL CALL TWO SHIPS PASSING IN THE NIGHT

23       D I S C O N N E C T, I S M R . H A V I L A N D W A S T E L L I N G Y O U R H O N O R A B O U T

24       HOW WAWA HAS ALL THESE CONTACT INFORMATION AND RECORDS

25       O F I T S E M P L O Y E E S A N D F O R M E R E M P L O Y E E S.      THAT IS NOT THE
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 1       CLASS HERE.           THE CLASS IS DEFINED BY REFERENCE TO

 2       C O N S U M E R S, A G A I N, I N C L U D I N G E M P L O Y E E S A C T I N G A S

 3       C O N S U M E R S, W H O M A D E A P U R C H A S E A T A W A W A , O N E O F T H E

 4       A F F E C T E D S T O R E S, D U R I N G T H E N I N E- M O N T H P E R I O D.      THAT

 5       M A G I C L I S T O F C O N T A C T I N F O R M A T I O N D O E S N O T E X I S T.       THERE

 6       IS NOT SOME CLASS LIST THAT EXISTS OR THAT I'M AWARE OF

 7       OR THAT ANYONE IS AWARE OF THAT SOME CLAIMS

 8       ADMINISTRATOR CAN SIMPLY POP IN AN EXCEL PROGRAM AND

 9       SEND OUT E-MAILS OR NOTICES TO.                          THAT IS WHY WE FRANKLY

10       C A M E U P W I T H T H I S N O T I C E P L A N W E D E S I G N E D.        WE THINK

11       C A N D I D L Y T H E Q R C O M P O N E N T O F I T I S P R E T T Y I N N O V A T I V E,

12       A N D W E T H I N K T H I S S A T I S F I E S T H E S T A N DA R D F O R N O T I C E.

13                                 AND THE STANDARD TO QUANTIFY IT, WE CITED

14       A 2010 FEDERAL JUDICIARY FORM THAT SAYS 70 PERCENT IS

15       T Y P I C A L L Y T H E N U M B E R Y O U W A N T T O H I T F O R C L A S S N O T I C E.

16       AND OUR KCC ADMINISTRATOR HAS PUT IN A DECLARATION THAT

17       S H E A N T I C I P A T ES T H A T T H I S N O T I C E W I L L S A T I S F Y T H A T .

18                                 T H E C O U R T:    DID YOU SPEND ANY TIME

19       EXPRESSING CONCERN ABOUT CUSTOMERS WHO NO LONGER LIVE

20       WHERE WAWA IS?

21                                 M R . J O H N S:    W E D I D C O N S I D E R T H A T, T O O .

22       A N D T H A T T I E S I N T O T H E T R A N S F E R A B I L I T Y O F T H E C A R D S.      SO

23       I F Y O U M O V E T O C O L O R A D O A N D T H E R E' S N O W A W A S T H E R E, I T ' S

24       EASY ENOUGH TO TRANSFER --

25                                 T H E C O U R T:    WHY WOULD ANYBODY DO SUCH A
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                                                                                                     69

 1       T H I N G?

 2                                T H A T I S A P E R F E C T L Y F I N E A N S W E R.       THANK

 3       YOU.

 4                                M R . J O H N S:    T H A N K Y O U , Y O U R H O N O R.

 5       U N L E S S Y O U H A V E A N Y Q U E S T I O NS F O R M E A B O U T T H E N O T I C E,

 6       W E W I L L R E S T O N O U R P A P E R S.

 7                                T H E C O U R T:    T H A T ' S G R E A T.   THANK YOU VERY

 8       MUCH.

 9                                M R . J O H N S:    THANK YOU.

10                                T H E C O U R T:    S O M R . P A R K S.

11                                M R . P A R K S:    T H A N K Y O U , Y O U R H O N O R.

12                                T H E C O U R T:    W H O I S T H E C L E A NU P H I T T E R

13       THESE DAYS?

14                                M R . P A R K S:    A C T U A L L Y, Y O U R H O N O R, G R E G

15       P A R K S F O R W A W A A G A I N, F O R T H E C O U R T R E P O R T E R' S B E N E F I T.

16       I'M GOING TO LET MS. HADGIS BE THE CLEANUP BATTER

17       BECAUSE SHE IS GOING TO ADDRESS SOME ISSUES RELATED TO

18       G I F T C A R D S.

19                                B U T I W A N T T O T A L K A B O U T F O U R T H I N G S.

20       O N E I S T H E D U A L C A P A C I T Y D I T T M A N I S S U E, O U R O L D F R I E N D

21       D I T T M A N.   T W O I S T H E N O T I C E P O I N T.     THREE IS THE CLAIMS

22       M A D E P O R T I O N O F T H E S E T T L E M E N T.   A N D F O U R T H, T O A N S W E R

23       Y O U R H O N O R' S Q U E S T I O N A B O U T T H E L O Y A L T Y O F W A W A

24       CUSTOMERS AND WHY WE KNOW THAT TO BE THE CASE.                                   SO I

25       W I L L G E T T O A L L O F T H O S E T H I N G S.
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 1                                  STARTING WITH THE DUAL CAPACITY DITTMAN

 2       I S S U E, I T H I N K T H E R E A L L Y I M P O R T A N T T H I N G T O U N D E R S T A N D

 3       IS -- AND I THINK MR. HAVILAND HIGHLIGHTED THIS NICELY

 4       -- IS THAT WE HAVE AGREED TO DISPUTE A LATER DAY THE

 5       QUESTION OF WHETHER THERE WAS A COMPROMISE OF THE WAWA

 6       H R E M P L O Y E E D A T A B A S E.    I AGREE WITH MR. HAVILAND THAT WE

 7       HAVE AGREED TO PUT OFF THAT DISPUTE FOR ANOTHER DAY.

 8       BUT THAT DRIVES A LOT OF WHY THERE NEEDS TO BE THIS DUAL

 9       C A P A C I T Y, B E C A U S E W H E N A N E M P L O Y E E J O I N S W A W A T H E Y A R E

10       O F C O U R S E R E Q U I R E D T O F I L L O U T F O R M S, S U P P L Y T H E I R

11       S O C I A L S E C U R I T Y N U M B E R, T H E I R A D D R E S S, T H E I R B A N K

12       A C C O U N T N U M B E R F O R D I R E C T D E P O S I T, A N Y N U M B E R O F O T H E R

13       T H I N G S.      THOSE GO THEN INTO AN HR EMPLOYEE DATABASE THAT

14       I S L I K E A V A U L T.        T H A T S I T S D E E P W I T H I N W A W A' S C O R P O R A T E

15       S E C U R I T Y N E T W O R K A N D I T ' S H E A V I L Y S E C U R E D.    OUR

16       P O S I T I O N, O U R V I E W I S T H A T D A T A B A S E W A S N O T T O U C H E D A T

17       A L L I N T H I S I N C I D E N T.      THERE WAS NO COMPROMISE OF IT.

18       M R . H A V I L A N D F E E L S D I F F E R E N T L Y, B U T W E H A V E A G R E E D T O

19       PUSH THAT OFF FOR ANOTHER DAY.

20                                  S E P A R A T E L Y, I F T H O S E E M P L O Y E E S T H E N ,

21       W H I L E T H E Y A R E O N T H E I R S H I F T A T W A W A O R O T H E R W I S E, U S E

22       A P A Y M E N T C A R D A T W A W A T O M A K E A P U R C H A S E, T H E Y G O

23       THROUGH THE EXACT SAME PATH THAT ANY OTHER CONSUMER

24       DOES.          T H A T I S , T H E Y S W I P E O R D I P T H E I R C A R D A T W A W A,

25       T H E I R I N F O R M A T I O N G E T S T R A N S M I T T E D T O W A W A' S P A Y M E N T
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                                                                                                      71

 1       P R O C E S S O R, A N D T H E N T H E Y M A K E T H E I R P U R C H A S E.    THE THING

 2       IS THAT DURING THE COURSE OF THIS DATA SECURITY INCIDENT

 3       THAT INFORMATION WAS ACCESSED AND IT WAS COMPROMISED AND

 4       T H E R E W E R E T H R E A T A C T O R S W H O G A T H E RE D T H A T I N F O R M A T I O N.

 5       S O T H A T I N F O R M A T I O N, F R O M O U R P O I N T O F V I E W , W A S

 6       P O T E N T I A L L Y A C C E S S E D A N D I S A T I S S U E.     SO THAT IS WHAT

 7       D R I V E S T H I S D I F F E R E N T C A P A C I T Y, W H I C H I S , I N S O F A R A S

 8       T H E Y A R E C O N S U M E R S, T H E I R H A R M , T H E I R R I G H T S, T H E I R

 9       EVERYTHING ELSE THAT MIGHT HAVE HAPPENED TO THEM, IS THE

10       E X A C T S A M E A S A N Y O T H E R C O N S U M E R.         IT DOES NOT MATTER

11       WHETHER THEY WERE WORKING AT WAWA THAT DAY OR THEY JUST

12       HAPPENED TO STOP BY WAWA THAT DAY.

13                                T H E C O U R T:     I T H I N K T H I S I S I R R E L E V A N T,

14       B U T I W I L L A S K I T A N Y W A Y.       IF SOMEBODY WHO IS AN

15       E M P L O Y E E O F W A W A - - T H E Y G E T A D I S C O U N T, R I G H T?

16                                M S . P A R K S:     C O R R E C T.

17                                T H E C O U R T:     SO THEY ARE DIFFERENT FROM

18       O T H E R C O N S U M E R S, A T L E A S T I N T E R M S O F T H E P R I C E C H A R G E D

19       TO THEM.

20                                M S . P A R K S:     C O R R E C T.

21                                T H E C O U R T:     DOES THAT ALSO APPLY IF THEY

22       HAPPEN TO BE NOT ON -- NOT WORKING THAT DAY, AND ON

23       THEIR DAY OFF THEY FOR SOME REASON CHOOSE TO STOP AT A

24       W A W A A N D U S E - - D O E S T H E I R E M P L O Y E E S T A T U S, I S I T G O O D

25       FOR THEM TO GET A DISCOUNT THAT DAY AS WELL?
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                                                                                                    72

 1                                   M R . P A R K S:    YES.      I THINK THAT THE

 2       D I S C O U N T I S D I F F E R E N T.     THEY GET A DEEPER DISCOUNT ON

 3       FOOD WHEN THEY ARE WORKING BECAUSE THEY HAVE TO EAT AND

 4       T H O S E K I N D O F T H I N G S, B U T Y E S .

 5                                   T H E C O U R T:    IT DOES NOT CHANGE THE DATA

 6       B R E A C H.      I UNDERSTAND THAT.

 7                                   M S . P A R K S:    C O R R E C T.   IF THE EMPLOYEE

 8       STOPS BY ON THEIR DAY OFF AND THEY WANT A COKE OR

 9       W H A T E V E R, T H E Y S T I L L G E T T H E I R E M P L O Y E E D I S C O U N T O N T H E

10       COKE.          I T I S A S L I G H T L Y D I F F E R E N T D I S C O U N T.   BUT YOUR

11       H O N O R I S R I G H T, W H A T H A P P E N S T O T H E I R P A Y M E N T C A R D

12       I N F O R M A T I O N I S E X A C T L Y T H E S A M E.

13                                   S O T H A T I S W H Y W E A N S W E R T H E Q U E S T I O N,

14       C A N ' T W E J U S T S A Y L O O K, L E T ' S I N C L U D E T H E M A L L I N O R W H Y

15       DO WE SPLIT THEM?                  WE SPLIT THEM BECAUSE ON THE ONE

16       INSTANCE WE BELIEVE THERE WAS NOT DAMAGE TO THEM, BUT

17       T H E R E W A S A C C E S S T O T H E I R I N F O R M A T I O N.      BUT AS TO THEIR

18       HR DATA, IF THEIR SOCIAL SECURITY NUMBER WAS COMPROMISED

19       O R T H E I R B A N K A C C O U N T N U M B E R W A S C O M P R O M I S E D, T H A T I S A

20       V E R Y D I F F E R E N T K I N D O F H A R M T H A T C A N O C C U R.        AND IT'S A

21       VERY DIFFERENT KIND OF CIRCUMSTANCE WE WOULD HAVE TO

22       A D D R E S S.

23                                   SO EXACTLY THE ISSUES THAT AMCHEM SAID

24       YOU ARE SUPPOSED TO FOCUS ON IN A CLASS SETTLEMENT IS

25       T H E H A R M I S S U E.       A N D I W A S V E R Y F A M I L I A R W I T H T H A T C A S E.
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                                                                                                      73

 1       AND ONE OF THE BIGGEST PROBLEMS WAS THE FACT THAT WE

 2       WERE LUMPING TOGETHER IN ONE CLASS PEOPLE WHO HAD NOT

 3       Y E T B E E N E X P O S E D T O A S B E S T O S B U T M I G H T B E I N T H E F U T U R E,

 4       PEOPLE WHO HAD BEEN EXPOSED BUT HAD NO HARM FROM IT, AND

 5       P E O P L E W H O H A D B E E N E X P O S E D A N D H A D S I G N I F I C A N T H A R M.

 6       T H E Y H A D E I T H E R D E V E L O P E D S E R I O U S I L L N E S SE S O R D E A T H.

 7       AND LUMPING ALL OF THOSE IN ONE CLASS IS WHAT WAS THE

 8       P R O B L E M.     A N D I T H I N K T H A T W O U L D B E T H E S A M E I S S U E H E R E,

 9       THAT IS, CONSUMERS EXPERIENCE ONE KIND OF POTENTIAL

10       I S S U E I F T H E I R C R E D I T C A R D I N F O R M A T I O N W A S T A K E N.

11       E M P L O Y E E S E X P E R I E N C E A V E R Y D I F F E R E N T I S S U E, I F T H E Y A R E

12       L A T E R A B L E T O P R O V E, W H I C H W E D O N ' T T H I N K T H E Y W I L L B E ,

13       BUT IF THEY ARE ABLE TO PROVE THAT THEIR SOCIAL SECURITY

14       N U M B E R O R B A N K A C C O U N T I N F O R M A T I O N W A S C O M P R O M I S E D, T H A T

15       IS A VERY DIFFERENT INJURY AND SO WE WOULD HAVE HAD TO

16       T R E A T T H A T S E P A R A T E L Y.

17                                  AND AS MS. SAVETT TOLD YOU, IT IS

18       E N T I R EL Y T R U E T H A T C A U S A T I O N A N D D A M A G E S D R I V E T H I S A N D

19       EVERY OTHER CONSUMER DATA BREACH CASE.                              I H A V E H A N D L ED A

20       LOT OF THEM.             Y O U K N O W, T H E R E A R E A L O T O F T H E M T H A T A R E

21       O U T T H E R E.      AND WHEN YOU SEE THEM, CAUSATION AND DAMAGES

22       A R E W H A T D R I V E S T H E I S S U E.      DITTMAN STANDS FOR THIS

23       PROPOSITION THAT EMPLOYERS WHO COMPEL EMPLOYEES TO

24       PROVIDE INFORMATION HAVE A DUTY TO REASONABLY SECURE

25       T H A T I N F O R M A T I O N.   W E , W A W A , B E L I E V E, A N D I A S A L A W Y E R
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                                                                                                        74

 1       W H O P R A C T I C E I N T H E S P A C E A L O T B E L I E V E, T H A T W A W A A L S O

 2       H A S T H A T D U T Y A S T O I T S C O N S U M E R S.        THAT IS, WHEN WAWA

 3       C O L L E C T S P A Y M E N T C A R D I N F O R M A T I O N F R O M C O N S U M E R S, W E

 4       HAVE A DUTY TO REASONABLY SECURE THAT.                               IF THAT WAS NOT

 5       TRUE JUST FROM THE LAW, WHICH I THINK IT WAS, IT THEN

 6       BECOMES EXTRA TRUE BECAUSE WAWA HAS A PRIVACY POLICY OUT

 7       O N I T S W E B S I T E, W H I C H I S C I T E D I N T H E C O N S U M E R S' C L A S S

 8       A C T I O N C O M P L A I N T, T H A T S A Y S W E , W A W A , U S E R E A S O N A B L E

 9       S E C U R I T Y.   W E S E C U R E Y O U R I N F O R M A T I O N.    SO AS SOON AS WE

10       H A V E S A I D T H A T T O T H E C O N S U M E R S, W E A R E R E A L L Y O N T H E

11       HOOK FOR THAT.

12                                 S O , A S M S . S A V E T T S A Y S, W E W A L K E D I N T O

13       THIS MEDIATION SAYING YES, WE OWE TO THESE CONSUMERS A

14       D U T Y T O R E A S O N A B L Y S E C U R E T H E I R I N F O R M A T I O N.   SO LIKE

15       MS. SAVETT SAYS, DITTMAN WOULD HAVE DONE NO MORE WORK

16       F O R T H E E M P L O Y E E S T H A N W H A T W E W E R E A L R E A D Y A D M I T T I N G.

17       W E W E R E A L R E A D Y S A Y I N G, Y E S , W E H A V E T H A T D U T Y .

18       I N S T E A D, W H A T W E P R E S E N T E D A T M E D I A T I O N W A S , T H E H A R M

19       H E R E W A S R E A L L Y M I T I G A T E D.    AND THAT HAPPENED BECAUSE

20       WAWA IDENTIFIED THIS SECURITY INCIDENT BEFORE THE PUBLIC

21       DID AND BEFORE CARDS WENT ON SALE ON THE DARK WEB.                                           AND

22       B E F O R E W A W A D I D A N Y T H I N G E L S E, W A W A A L E R TE D T H E P A Y M E N T

23       C A R D C O M P A N I E S, T H E V I S A S A N D M A S T E RC A R D S O F T H E W O R L D,

24       A N D S A I D H E Y , W E ' V E H A D T H I S I N C I D E N T.       WE ARE GOING TO

25       B E N O T I F Y I N G P E O P L E.    B U T Y O U P A Y M E N T C A R D C O M P A N I E S,
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                                                                                                      75

 1       YOU OUGHT TO DO THE THINGS YOU NEED TO DO TO TWEAK UP

 2       Y O U R F R A U D M O N I T O R I N G.         SO LONG BEFORE THERE WAS A

 3       PUBLIC NOTICE AND LONG BEFORE THERE WAS A SALE OF CARDS

 4       O N T H E D A R K W E B , W A W A H A D G O N E T O V I S A A N D M A S T E RC A R D

 5       AND SAID, HEY, CARDS THAT WERE USED HERE WERE

 6       P O T E N T I A L L Y C O M P R O M I S E D.     THEY IN TURN SAY, OKAY, WE ARE

 7       G O I N G T O T A K E A R E A L L Y H A R D L O O K A T T H O S E C A R D S.         IF WE

 8       SEE THOSE CARDS BEING USED IN A WAY THAT LOOKS A LITTLE

 9       F U N N Y, W E A R E G O I N G T O B L O C K T H A T C H A R G E.

10                                  A S A R E S U L T, W H A T W E S A W - - A N D U N L I K E

11       OTHER DATA BREACHES IN WHICH IT ONLY CAME OUT AFTER THE

12       FACT THAT CARDS HAD BEEN SOLD ON THE DARK WEB, WE SAW

13       THAT THE INSTANCES OF FRAUD HERE WERE VERY LOW.                                    WE KNOW

14       THAT BECAUSE THE CREDIT CARD COMPANIES HAVE TOLD US.

15       THEY'VE SAID WE ARE SEEING VERY LOW FRAUD HERE.                                    THEY

16       ARE NOT PURSUING US FOR ASSESSMENTS TO RECOVER FOR

17       F R A U D, W H I C H T H E Y C O U L D.

18                                  A N D W E , W A W A, A L S O S E T U P A 1 - 8 0 0 N U M B E R

19       FOR PEOPLE TO CALL IF THEY HAD BEEN THE VICTIMS OF

20       F R A U D, B E C A U S E W E W A N T E D T O L I S T E N T O O U R C U S T O M E R S.        WE

21       GOT LIKE 37 PHONE CALLS OUT OF 22 MILLION POTENTIAL

22       C L A S S M E M B E R S.     SO WE KNOW ACTUAL FRAUD IS LOW.                       WE KNOW

23       PEOPLE WERE NOT HARMED.                         THAT IS WHAT WE SAID AT

24       M E D I A T I O N.    T H E R E S P O N S E F R O M T H E P L A I N T I F FS W A S , B U T

25       PEOPLE MIGHT HAVE SPENT TIME, THEY MIGHT HAVE WORRIED
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                                                                                                    76

 1       A B O U T T H E F A C T T H A T T H E I R I N F O R M A T I O N W A S O U T T H E R E.

 2       AND THEY MIGHT HAVE ACTUALLY SEEN FRAUDULENT CHARGES ON

 3       T H E I R C A R D A N D H A D T O D I S P U T E T H E M.       AND MAYBE THEY

 4       M I G H T H A V E B E E N F O R C E D T O P A Y T H O S E.      THAT WAS REALLY

 5       THE BASIS OF THE NEGOTIATION FOR THE 5, 15 AND $500.

 6                                T H E C O U R T:     WHICH REMIND ME, I WANTED TO

 7       ASK YOU, HOW DOES $5 AND/OR $15 RELATE TO AN AVERAGE

 8       C R E D I T C A R D P U R C H A S E D U R I N G T H I S C L A S S P E R I O D?

 9                                M R . P A R K S:     THEY DON'T.            BUT THAT IS NOT

10       W H A T A C T U A L L Y H A P P E N E D T O T H O S E P E O P L E.   TO THE PERSON

11       WHO IS GETTING THE $5, ALL THAT HAPPENED IS MAYBE THEIR

12       I N F O R M A T I O N W A S A C C E S S E D, M A Y B E I T W A S N' T , W E D O N ' T

13       K N O W , A N D T H E Y D I D N' T H A V E A N Y F R A U DU L E N T C H A R G E S.       THEY

14       WERE NOT EVEN SHOWING UP ON THEIR CREDIT CARD.

15                                T H E C O U R T:     THE ANSWER TO MY QUESTION IS,

16       IT WAS NOT A LINEAR ANALYSIS THAT LED TO THE DOLLAR

17       A M O U N T.    I T W A S , T O Q U O T E M S . S A V E T T, A M A T T E R O F

18       N E G O T I A T I O N.

19                                M R . P A R K S:     ACTUALLY AS TO THE $500, IT

20       WAS.

21                                T H E C O U R T:     I WAS ONLY ASKING ABOUT THE

22       G I F T C A R D S.

23                                M R . P A R K S:     C O R R E C T.   THE $15, WHICH YOU

24       HAVE TO UNDERSTAND IS WHAT HAPPENED TO THAT PERSON IS,

25       T H E Y S A W A F R A U DU L E N T C H A R G E O N T H E I R C A R D, T H E Y S A I D
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                                                                                                       77

 1       OH, I BETTER CALL ABOUT THAT.                           T H E Y C A L L E D, I T W A S T A K E N

 2       OFF, THEY WERE NEVER FORCED TO PAY.                               SO THAT IS WHY THE

 3       5 AND THE 15.                THE $500 DID LOOK AT THAT.                     AND THE $500

 4       D I D C O N C L U D E T H E R E I S A N A V E R A G E N U M B E R.         I THINK IT IS

 5       LIKE 150 OR $200 IS THE AVERAGE ATTEMPTED FRAUDULENT

 6       CHARGE ON A CREDIT CARD.                        AND WE DID TAKE THAT INTO

 7       C O N S I D E R A T I O N I N S E T T I N G T H E $ 5 0 0 I N T H E , W E T H O U G H T,

 8       UNLIKELY EVENT THAT ANY CONSUMER WAS ACTUALLY FORCED TO

 9       P A Y A F R A U D U L E N T C H A R G E.        WE THOUGHT THE $500 WAS MORE

10       T H A N S U F F I C I E N T T O C O V E R T H A T.       WE DON'T THINK THAT

11       H A P P E N E D, B U T I F I T D I D , W E H A V E G O T T H A T S E T .

12                                    BUT ALL OF THOSE DYNAMICS ARE WHAT DROVE

13       T H I S S E T T L E M E N T.

14                                    T H E C O U R T:    PERHAPS THIS IS JUST MY

15       C U R I O S I T Y, B U T W H A T D O E S T H E A V E R A G E W A W A

16       C R E D I T- C A R D - U S I N G C U S T O M E R A C T U A L L Y B U Y ?

17                                    M R . P A R K S:    ALL THE THINGS THAT ANY WAWA

18       C O N S U M E R B U Y S , Y O U K N O W , G A S , F O O D, H O A G I E S.       WAWA IS A

19       BUSINESS ACTUALLY LESS --

20                                    T H E C O U R T:    I'M QUITE SURE WAWA HAS

21       FIGURED OUT WHAT TO EXPECT WHEN SOMEBODY WALKS IN AND

22       B U Y S S O M E T H I N G.

23                                    M R . P A R K S:    C O R R E C T.    ALTHOUGH THEY DON'T

24       D O N E A R L Y A S M U C H T R A C K I N G A S O T H E R R E T A I LE R S D O .        BUT

25       THEIR SPLIT IS ABOUT 50 PERCENT CREDIT CARDS AND
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                                                                                                        78

 1       50 PERCENT CASH.                 WAWA SEES A LOT MORE CASH THAN MOST

 2       R E T A I L E R S.   MOST RETAILERS SEE ABOUT 80 TO 90 PERCENT OF

 3       THEIR PURCHASES ON CREDIT CARDS AND ABOUT 95 PERCENT OF

 4       T H E D O L L A R A M O U N T O F P U R C H A S E S A R E O N C R E D I T C A R D S.

 5                                    T H E C O U R T:   I COMPLETELY UNDERSTAND WHY

 6       DATA COLLECTED IN THE LAST 14 MONTHS IS REALLY WORTHLESS

 7       I N T E R M S O F L O N G - T E R M P R O J E C T I O N S.     I W A S C U R I O U S.

 8                                    M R . P A R K S:   SURE.        AND HISTORICALLY AND

 9       WE LOOKED AT THIS BACK AT THE TIME WE WERE GOING THROUGH

10       THE DATA SECURITY INCIDENT IN DECEMBER OF 2019, AND

11       UNDERSTOOD THEN THAT ABOUT 50 PERCENT OF WAWA'S

12       PURCHASES WERE ON CREDIT AND DEBIT AND 50 PERCENT WERE

13       CASH.

14                                    T H E C O U R T:   SO WHAT DOES YOUR DATA TELL

15       Y O U I S T H E L I K E L Y U S E O F A L L O F T H E S E G I F T C A R D S?

16                                    M R . P A R K S:   MS. SAVETT NAILED IT.                   IT'S

17       A B O U T 9 7 . 5 P E R C E N T.

18                                    T H E C O U R T:   HOW IN THE WORLD DID YOU

19       FIGURE THAT OUT?

20                                    M R . P A R K S:   B E C A U S E W A W A I S S U ES G I F T

21       C A R D S R E G U L A R L Y.     T H E Y H A V E G I F T C A R D S.    AND IT'S THE

22       EXACT SAME GIFT CARD THAT CONSUMERS ARE GOING TO GET IN

23       T H E S E T T L E M E N T.      W A W A S E L L S T H O S E G I F T C A R D S, W A W A G I V E S

24       T H E M O U T P R O M O T I O N A LL Y S O M E T I M E S.    AND BECAUSE OF

25       A C C O U N T I N G R U L E S, W A W A H A S T O T R A C K H O W M U C H T H E Y A R E
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                                                                                                    79

 1       USED, AND 97.5 PERCENT OF THE DOLLARS OF WAWA GIFT CARDS

 2       T H A T G E T I S S U E D G E T U S E D.      SO --

 3                                  T H E C O U R T:   T H E D O L L A RS .   YOU ARE

 4       COUNTING THE DOLLARS AS OPPOSED TO THE INDIVIDUAL

 5       I S S U A N C E.

 6                                  M R . P A R K S:   C O R R E C T.   SO IT'S NOT WHICH

 7       CARDS WERE USED.               I T ' S T H E D O L L A R S O F C A R D S.   BECAUSE

 8       W A W A H A S T O T R A C K T H A T F O R A C C O U N T I N G P U R P O S E S, T H A T I F

 9       W E H A V E A M I L L I O N D O L L A R S W O R T H O F G I F T C A R DS O U T T H E R E,

10       W E H A V E T O H A V E A R E S E R V E.

11                                  T H E C O U R T:   IF YOU KNOW WHAT YOUR

12       LIABILITY IS.

13                                  M R . P A R K S:   E X A C T L Y.   SO WAWA HAS VERY

14       GOOD STATISTICS SHOWING THAT WE BELIEVE 97.5 PERCENT OF

15       THE VALUE OF THESE GIFT CARDS ARE GOING TO BE USED.

16       A N O T H E R T H I N G T H A T H A P P E N E D A N E C D O T A LL Y I S W A W A H A D A

17       RELATIONSHIP WITH CHASE HISTORICALLY ON A PROMOTIONAL

18       PROGRAM FOR A CREDIT CARD, WHERE WAWA GIFT CARDS WERE

19       GIVEN OUT AS A PROMOTION IN CONNECTION WITH THAT CREDIT

20       C A R D O F F E R I N G.    AND CHASE ACTUALLY TERMINATED THE

21       RELATIONSHIP WITH WAWA BECAUSE TOO MANY OF THE GIFT

22       CARDS WERE USED.               WITH MOST OF THEIR RETAILERS THEY

23       I S S U ED T H E G I F T C A R D S A N D A B O U T 5 0 P E R C E N T O F T H E V A L U E

24       GOT USED.            WITH WAWA THEY FOUND THAT IT WAS NORTH OF

25       9 0 P E R C E N T.     AND SO CHASE SAID WE ARE NOT DOING THIS
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 1       W I T H Y O U A N Y M O R E, W A W A.

 2                                 THIS IS ALL INFORMATION THAT I SHARED

 3       W I T H T H E P L A I N T I F FS ' L A W Y E R S I N A D V A N C E O F T H E

 4       M E D I A T I O N, T O S A Y , H E Y L I S T E N, H E R E I S W H Y G I F T C A R D S

 5       A R E A G O O D R E A S O N, A N D I D O N ' T W A N T T O S T E A L M S . H A D G I S'

 6       THUNDER WHO'S GOT BETTER ANSWERS EVEN TO WHY GIFT CARDS

 7       A R E T H E R I G H T T H I N G.

 8                                 T H E C O U R T:    IS SHE GOING TO ANSWER THE

 9       QUESTION OF CAN THE GIFT CARDS BE CREDITED DIRECTLY TO

10       T H I S W A W A A P P A C C O U N T?

11                                 M R . P A R K S:    YES.       SHE WILL ANSWER THAT

12       QUESTION AS WELL.

13                                 M Y K I N D O F M O R E S I M P L E T O N P O I N T I S T H A T,

14       A S W E N E G O T I A T E D T H E S E T T L E M E N T, T H E T H I N G S T H A T D R O V E

15       THE SETTLEMENT VALUES WERE THESE DAMAGES CONCEPTS THAT

16       ARE THE SAME FOR EMPLOYEES WHO USED A CREDIT CARD AT

17       WAWA AS THEY ARE FOR NONEMPLOYEES WHO USED THE CREDIT

18       CARD AT WAWA.             T H A T I S W H A T D R O V E T H E S E T T L E M E N T.

19       T H A T ' S W H A T B R O U G H T T H E C O M P R O M I S E.   THAT IS WHAT REALLY

20       J U S T I F I E S T H E R E L E A S E.   BECAUSE THE RELEASE WE ARE

21       ASKING FOR, FROM BOTH EMPLOYEE CONSUMERS AND NONEMPLOYEE

22       C O N S U M E R S, I S R E L E A S E U S F O R C L A I M S T H A T Y O U R C R E D I T

23       C A R D O R D E B I T C A R D W A S S T O L E N.       THAT IS THE RELEASE WE

24       WANTED TO GET.             THAT IS WHAT WE ARE COMPENSATING FOR AND

25       T H A T I S W H A T D R O V E T H E S E T T L E M E N T N E G O T I A T I O N S.     AND
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                                                                                                    81

 1       T H A T I S W H Y I T H I N K I T I S A P P R O V AB L E U N D E R A M C H E M A N D

 2       A L L O F T H E O T H E R C A S E L A W T H A T W E C I T E D T H E R E.

 3                                      T H E C O U R T:   HOW DO I KNOW WHETHER WAWA IS

 4       GOING TO BE USING THIS VEHICLE THAT IS SET UP FOR

 5       ISSUING THE GIFT CARDS TO ALSO THEN SEND ADDITIONAL

 6       C O M M U N I C A T I O N S?

 7                                      M R . P A R K S:   W E W I L L N O T , Y O U R H O N O R.

 8       WAWA'S PRIVACY POLICY SAID THAT IF YOU GIVE US YOUR

 9       E - M A I L F O R P U R P O S E S O F P R O M O T I O N S, W E W I L L U S E I T F O R

10       T H A T P U R P O S E.         THE E-MAILS THAT WE RECEIVE FOR PURPOSES

11       OF SENDING OUT THE GIFT CARDS WILL NOT BE ADDED TO OUR

12       G E N E R A L E - M A I L L I S T.        AND THAT IS -- THAT IS A

13       COMMITMENT THAT WE HAVE MADE, AND SO IT WON'T BE USED

14       F O R T H A T P U R P O S E.         I CAN ASSURE YOU OF THAT.

15                                      T H E C O U R T:   IS THAT PART OF THE

16       INFORMATION BEING GIVEN TO PEOPLE BUT IF THEY FILE A

17       C L A I M, T H E Y D O N ' T H A V E T O W O R R Y A B O U T T H E N G E T T I N G

18       Y E A R S' W O R T H O F C O M M U N I C A T I O N S?

19                                      M R . P A R K S:   N O , Y O U R H O N O R.

20                                      T H E C O U R T:   WELL, I WOULD

21       R E C O M M E N D P U T T I N G T H A T I N T H E R E.

22                                      M R . P A R K S:   I THINK WE COULD DO THAT.                WE

23       COULD CERTAINLY -- I THINK -- SOME OF THE INFORMATION

24       POINTS TO WAWA'S PRIVACY POLICY THAT SAYS THAT, BUT I

25       THINK WE COULD BE A LITTLE MORE EXPRESS ABOUT THAT AND
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                                                                                                        82

 1       WE COULD MODIFY THE NOTICES TO SAY, WHEN YOU PROVIDE

 2       Y O U R E - M A I L F O R P U R P O S E S O F F I L I N G A C L A I M, W E W O N ' T U S E

 3       T H A T F O R P U R P O S E S O F M A R K E T I N G.        A N D T H A T I S W A W A' S

 4       I N T E N T I O N A B S O L U T E L Y.      WE WANT TO SEND THOSE OUT TO GET

 5       THE GIFT CARDS OUT.                      F R A N K L Y, W A W A D O E S N O T D O L O T O F

 6       E-MAILING.             I T I S N O T A B I G M A R K E T I N G T E C HN I Q U E F O R

 7       THEM.       THEY DON'T HAVE E-MAIL ADDRESSES FOR VIRTUALLY

 8       A N Y O F T H E I R C U S T O M E R S.         M R . H A V I L A N D S A I D, I H E A R D

 9       M R . P A R K S S A Y W A W A H A S E - M A I L S.          A C T U A L L Y, I W A S T A L K I N G

10       ABOUT THE E-MAILS THAT WOULD BE GATHERED IN THE COURSE

11       O F T H I S C L A I M S P R O C E S S, T H O S E E - M A I L S.           FOR WAWA, IT'S

12       JUST NOT A WAY THAT WAWA DOES A LOT OF ADVERTISING IS BY

13       E-MAIL.          THEY DO --

14                                  T H E C O U R T:       N E V E R S A Y N E V E R.

15                                  M R . P A R K S:       A B S O L U T E L Y.    I A G R E E.

16                                  I THINK THAT IS EVERYTHING I HAVE TO SAY

17       ON THE DUAL CAPACITY POINT UNLESS YOU HAVE ANY

18       Q U E S T I O N S.

19                                  S O T U R N I N G T O N O T I C E, T H E C R I T I C A L P O I N T

20       THERE IS THAT WAWA DOES NOT COLLECT INFORMATION FROM

21       P U R C H A S E R S W H E N T H E Y M A K E A P U R C H A S E.           THIS IS A

22       C O N V E N I E N C E S T O R E.    W E W A N T T O G E T P E O P L E I N , O U T , G O N E,

23       DONE.       YOU SWIPE YOUR CARD, YOU PAY YOUR CASH, THANK YOU

24       VERY MUCH, GOOD-BYE.                      WAWA MEASURES THOSE THINGS IN

25       S E C O N D S.       IT'S NOT LIKE A DEPARTMENT STORE THAT WANTS
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                                                                                                      83

 1       Y O U T O G I V E Y O U R N A M E, A D D R E S S, E - M A I L A D D R E S S, P H O N E

 2       NUMBER BEFORE THEY WILL SELL YOU A COAT SO THEY CAN

 3       LATER MARKET TO YOU.                   WAWA DOES NOT DO THAT.                  WE DON'T

 4       HAVE THAT INFORMATION SO WE DON'T KNOW WHO THE MEMBERS

 5       OF THIS CLASS ARE.                  AND WE DON'T --

 6                                   T H E C O U R T:   BUT YOU DO KNOW WHO THE

 7       E M P L O Y E E S A R E O R W E R E.

 8                                   M R . P A R K S:   WE DO, BUT WE DON'T KNOW

 9       WHICH EMPLOYEES MADE PURCHASES USING A CREDIT OR DEBIT

10       C A R D D U R I N G T H E P E R I O D O F T H E I N C I D E N C E.      SO FROM MARCH

11       ' 1 9 T O D E C E M B E R ' 1 9 W E D O N ' T K N O W W H A T H A P P E N E D T H E R E.

12       A N D M R . - - T H E E M P L O Y E E T R A C K P L A I N T I F F S' S U R R E P L Y B R I E F

13       SAYS SURELY WAWA KNOWS WHO THOSE PEOPLE ARE.                                   WE DON'T.

14       T H E R E I S A N E M P L O Y E E D I S C O U N T, B U T T H E W A Y T H A T W O R K S A T

15       T H E P O I N T O F S A L E I S I F I T ' S A N E M P L O Y E E S T A N DI N G T H E R E,

16       T H E C A S H I E R H I T S T H E B U T T O N F O R E M P L O Y E E D I S C O U N T, I T

17       G E T S A P P L I E D.      T H E R E' S N O N E E D T O P U T I N T H E E M P L O Y E E' S

18       NAME OR EMPLOYEE ID NUMBER OR ANYTHING ELSE.                                   SO WE

19       ACTUALLY HAVE NO IDEA WHAT EMPLOYEES MADE PURCHASES

20       D U R I N G T H E C L A S S P E R I O D.

21                                   A N D C O N T R A R Y T O T H E S U G G E S T I O N, T H E R E I S

22       NO POLICY THAT REQUIRES WHILE WAWA EMPLOYEES TO MAKE

23       PURCHASES THERE OR REQUIRES THEM TO USE A CREDIT OR

24       DEBIT CARD.              T H E Y C O U L D U S E C A S H.   THEY COULD USE ALL

25       K I N D S O F O T H E R T H I N G S.       AND THE SUGGESTION THAT THE WAWA
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                                                                                                    84

 1       E M P L O Y E E D O E S N O T H A V E T I M E T O G O S O M E P L A C E E L S E , W A W AS

 2       TYPICALLY ARE NOT LOCATED IN PLACES WHERE THE NEXT PLACE

 3       IS 90 MILES AWAY.               I'M SURE WE HAVE SEEN THEM.                      WAWAS

 4       A R E I N A N D A R O U N D O T H E R P L A C E S.     SO IF EMPLOYEES WANTED

 5       TO GO SOMEPLACE ELSE, THEY ARE FREE TO DO THAT.                                    WE DO

 6       BELIEVE THAT THERE ARE EMPLOYEES WHO DON'T MAKE

 7       P U R C H A S E S.

 8                                    AND SO THE RESPONSE TO THE QUESTION OF

 9       BUT CAN'T YOU SEND NOTICE TO FORMER EMPLOYEES WHOSE MAIL

10       A D D R E S S E S Y O U H A V E I S - - T H A T I S A N O V E R I N C L U S I V E G R O U P.

11       AND THE CASE LAW WE CITED IN THE CARLOUGH CASE IN

12       PARTICULAR SAYS VERY CLEARLY IN THE BALANCE BETWEEN

13       C O M P R O M I S I N G R I G H T S I N M A K I N G R U L E 2 3 W O R K A B L E, W E D O N ' T

14       HAVE TO SEND NOTICE TO AN OVERINCLUSIVE GROUP JUST

15       B E C A U S E T H E R E A R E S O M E C L A S S M E M B E R S I N T H E R E.     THAT IS,

16       Y O U K N O W , J U S T A S I T R E L A T E S T O F O R M E R E M P L O Y E E S.

17                                    AS TO CURRENT EMPLOYEES ON THE NOTICE

18       P O I N T, T H E Y A R E G O I N G T O S E E T H O S E N O T I C E S I N S T O R E

19       EVERY DAY.           T H E Y A R E G O I N G T O S E E T H A T N O T I C E.      AND THEY

20       A R E A L S O G O I N G T O G E T I N S T R U C T I O NS A B O U T - - W H E N T H E

21       SIGNS COME OUT, WAWA IS GOING TO SAY, HEY, THE SIGNS ARE

22       GOING TO GO UP, AND HERE IS HOW YOU DEAL WITH QUESTIONS

23       F R O M C U S T O M E R S.    THAT I THINK DOVETAILS NICELY WITH WHY

24       IT IS WE CHOSE IN-STORE NOTICE IS BECAUSE THAT IS THE

25       W A Y W A W A C O M M U N I C A T E S W I T H I T S C U S T O M E RS I S T H R O U G H
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                                                                                                     85

 1       S T O R E S.   THROUGH SIGNAGE IN THE STORES AND THROUGH

 2       P E O P L E I N T H E S T O R E S, T H A T I S W A W A' S M A I N C O N N E C T I O N

 3       W I T H C U S T O M E R S.      W A W A I S N O T A N E C O M M E R C E B U S I N E S S.

 4       W A W A I S N O T K I N D O F A B U S I N E S S T H A T O P E R A T E S O N L I N E.        IT

 5       O P E R A T ES W I T H T H A T I N - S T O R E C O N N E C T I O N, A N D T H A T I S W H Y

 6       W E T H O U G H T T H A T W A S T H E B E S T M E T H O D O F N O T I C E.

 7                                    AND IT REALLY DID -- WHEN WE PRESENTED

 8       T H A T T O T H E M E D I A T O R A N D T O T H E P L A I N T I F FS ' L A W Y E R S A N D

 9       S A I D , L O O K , 6 4 M I L L I O N P E O P L E A M O N T H W A L K T H R O U G H H E R E,

10       AND IN A FOUR-WEEK PERIOD 64 MILLION PEOPLE WILL WALK

11       T H R O U G H, T H A T R E A L L Y R E S O L V E D T H E N O T I C E I S S U E.     AND

12       SAID, BOY, THAT IS WAY BETTER THAN ANY OTHER RETURN YOU

13       A R E G O I N G T O G E T O N A N Y K I N D O F A D V E R T I S I N G C A M P A I G N,

14       M A I L I N G, E - M A I L , N O T H I N G E L S E W E C O U L D D O .

15                                    T H E C O U R T:   D O E S N' T T H A T D E P E N D O N W H E R E

16       IN ANY GIVEN STORE THE NOTICE IS?

17                                    M R . P A R K S:   C O R R E C T.   BUT WE THOUGHT

18       ABOUT THAT TOO.

19                                    T H E C O U R T:   THE NOTICE TECHNICALLY WOULD

20       B E U P I F I T W A S U N D E R T H E C O U N T E R.

21                                    M R . P A R K S:   NO.

22                                    T H E C O U R T:   OR IN THE MEN'S ROOM OR

23       S O M E T H I N G, B U T T H A T I S N O T G O O D.

24                                    M R . P A R K S:   NO.     WE THOUGHT ABOUT THAT.

25       AND THE SETTLEMENT SPECIFICALLY PROVIDES IT HAS TO BE BY
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                                                                                                   86

 1       THE POINT OF SALE, BY THE PLACE WHERE THE CUSTOMER

 2       SWIPES OR DIPS THEIR CARD, AND ON THE FUEL PUMP RIGHT BY

 3       W H E R E T H E C U S T O M E R U S E S T H E I R C A R D.   SO IT'S ACTUALLY

 4       GOING TO BE MOST VISIBLE TO THE VERY PEOPLE WE ARE

 5       T R Y I N G T O C A P T U R E, W H I C H I S C R E D I T A N D D E B I T C A R D U S E RS

 6       B E C A U S E W H E N T H E Y G O T O U S E T H E I R C R E D I T A N D D E B I T C A R D,

 7       THEY ARE GOING TO SEE THE SIGN THERE BECAUSE THEY HAVE

 8       TO INTERACT --

 9                                T H E C O U R T:        THAT MEANS IT HAS TO BE ON

10       EVERY PUMP.

11                                M R . P A R K S:        IT WILL BE ON EVERY PUMP,

12       Y O U R H O N O R, E V E R Y P U M P R I G H T N E X T T O T H E P A Y M E N T C A R D

13       P I E C E.

14                                WHICH BRINGS ME TO MY -- THE QUESTION

15       ABOUT THE APP, THE FACT THAT WAWA HAS THIS APP, AND IN

16       T H E S U R R E P L Y B R I E F T H E E M P L O Y E E P L A I N T I F FS S A Y W E L L, W E

17       DON'T HEAR ANYTHING ABOUT THE APP, AND THERE IS VERY

18       GOOD REASON FOR THAT.                  AND THAT IS, APP CUSTOMERS ARE

19       A C T U A L L Y N O T C L A S S M E M B E R S.    APP CUSTOMERS WERE NOT AT

20       A L L A F F E C T E D B Y T H I S I N C I D E N T, B E C A U S E T H E W A Y T H E W A W A

21       APP WORKS IS YOU TAKE YOUR GIFT CARD, YOU LOAD THAT GIFT

22       CARD ON THE WAWA APP.                  YOU THEN GO PAY, AND THE PAYMENT

23       GOES THROUGH THE APP.                  YOU DON'T PAY WITH A CREDIT CARD

24       OR A DEBIT CARD ON THE WAWA APP.                        AND THE WAWA APP

25       ARCHITECTURE ACTUALLY WAS NOT AT ALL AFFECTED BY THIS
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                                                                                                       87

 1       P A Y M E N T C A R D I N C I D E N T.     SO ANYBODY WHO USED THE WAWA APP

 2       T O M A K E P A Y M E N T S, T H E Y A R E N O T C L A S S M E M B E R S.

 3                                    T H E C O U R T:    CAN SOMEBODY -- BUT THEY

 4       COULD --

 5                                    M R . P A R K S:    P O S S I B L Y, B U T I T W O U L D B E

 6       V E R Y C O N F U S I N G.

 7                                    T H E C O U R T:    LET'S ASSUME THAT JOE SMITH

 8       W A S A C L A S S M E M B E R, G O T A $ 5 O R $ 1 5 G I F T C A R D .             COULD

 9       THAT GIFT -- COULD HE USE HIS GIFT CARD TO CREDIT

10       D I R E C T L Y H I S W A W A A P P A C C O U N T?

11                                    M R . P A R K S:    YES.      THAT IS EXACTLY HOW IT

12       W O R K S, Y O U R H O N O R.       BUT THAT INFORMATION WAS NOT

13       C O M P R O M I S E D.   SO PUSHING OUT A NOTIFICATION --

14                                    T H E C O U R T:    I'M JUST ASKING IF YOU CAN

15       U S E I T A S A G I V E C A R D.

16                                    M R . P A R K S:    YES.      ABSOLUTELY IT COULD BE

17       USED THAT WAY.

18                                    BUT PUSHING OUT NOTIFICATION OF THE

19       SETTLEMENT TO THE APP WOULD BE NOTIFYING EXACTLY THE

20       W R O N G P E O P L E.       I T W O U L D B E L I K E I N A C O N S U M E R P R O D U C TS

21       CASE IF WE HAD CONSUMERS WHO BOUGHT THE PRODUCT THAT WAS

22       GOOD AND FINE, AND OTHERS WHO BOUGHT THE PRODUCT THAT

23       H A S B E E N R E C A L L E D, I F W E ' D S E N T N O T I C E T O T H E P E O P L E W H O

24       B O U G H T T H E G O O D P R O D U C T.        T H A T D O E S N O T M A K E A N Y S E N S E.

25       T H A T I S W H Y W E T R I E D T O G E T A T T H E C U S T O M E RS W H O U S E
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                                                                                                        88

 1       CREDIT AND DEBIT CARDS AT WAWA BY PUTTING THE SIGN RIGHT

 2       NEAR WHERE THEY HAVE TO INTERACT WITH.                               THE APP IS NOT A

 3       SENSIBLE WAY TO DO THAT.                        AND IN FACT, I THINK IT WOULD

 4       C R E A T E C O N F U S I O N.      PEOPLE GOT A NOTICE ON THEIR APP AND

 5       SAID OH, I MIGHT BE ENTITLED TO THE BENEFITS OF THE

 6       S E T T L E M E N T.      THEY ARE THEN GOING TO FIND OUT NO, THEY

 7       ARE NOT, BECAUSE THEY JUST USED THEIR APP.                                   THERE ARE A

 8       L O T O F W A W A C U S T O M E R S L I K E T H A T, W H O - - T H A T I S W H A T

 9       THEY USE.              THEY USE THEIR APP BECAUSE THEY LIKE THAT IT

10       I S F A S T E R.         S O T H E R E' S A L O T O F C U S T O M E R S W H O J U S T U S E

11       THE APP.           IF THEY JUST USE THE APP FOR THE ENTIRE PERIOD

12       O F T H E D A T A S E C U R I T Y I N C I D E N T, T H E Y A R E N O T C L A S S

13       M E M B E R S A N D S O T H E Y A R E N O T E N T I T L E D T O P A R T I C I P A T E.         SO

14       PUSHING OUT A NOTICE THROUGH THAT CHANNEL WOULD BE

15       I N E F F E C T I V E.

16                                    T H E C O U R T:    WHAT IS THE PROBLEM WITH

17       T A K I N G O U T A N A D I N T H E I N Q U I R E R?

18                                    M R . P A R K S:    WE ARE GETTING BETTER

19       C O V E R A G E T H A N T H A T T H R O U G H T H E M E D I A N O T I C E.     THE AD IN

20       THE INQUIRER WOULD BE LIKE ON PAGE 10.                               AND WHAT WE HAVE

21       DISCOVERED WITH THIS CASE IN DECEMBER OF 2019 WHEN WE

22       ISSUED A PRESS RELEASE SAYING THERE WAS A DATA SECURITY

23       I N C I D E N T, T H E R E W E R E L I T E R A L L Y H U N D R E D S O F M I L L I O N S O F

24       M E D I A I M P R E S S I O N S.     IT WAS ON THE FRONT PAGE OF THE

25       I N Q U I R E R.
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                                                                                                          89

 1                                    T H E C O U R T:     W H A T I S A M E D I A I M P R E S S I O N?

 2                                    M R . P A R K S:     IT'S EVERY TIME SOMEONE SEES

 3       A P A R T I C U L A R A R T I C L E.       SO HUNDREDS OF MILLIONS OF TIMES

 4       SOMEONE SAW AN ARTICLE THAT SAID WAWA HAD A DATA

 5       S E C U R I T Y I N C I D E N T.      I N T H I S I N S T A N C E, W H E N A L L T H A T

 6       HAPPENED WAS THE MOTION FOR PRELIMINARY APPROVAL WAS

 7       F I L E D W I T H T H I S C O U R T, A N D I T W A S F I L E D O F P U B L I C

 8       R E C O R D, A N D A N I N T R E P I D L A W 3 6 0 O R L E G A L I N T E L L I G E N C E R

 9       REPORTER PICKED UP ON IT, THEY PUBLISHED IT.                                      BUT THEN

10       MAINSTREAM MEDIA PICKED IT UP TOO.                               WHEN MAINSTREAM

11       M E D I A S A W T H E L A W 3 6 0 A R T I C L E, I T W A S I N T H E I N Q U I R E R,

12       IT WAS ON 6 ABC.                   IT WAS ON EVERY SINGLE LOCAL NEWS

13       C H A N N E L, T E L E V I S I O N A N D M E D I A.       THAT IS BETTER THAN ANY

14       PRESS WE COULD BUY.                    THAT IS BETTER THAN A HALF PAGE AD

15       O R A Q U A R T E R P A G E A D O N P A G E 8 O F T H E I N Q U I R E R.

16                                    T H E C O U R T:     EXCEPT THAT TO USE THE

17       I N Q U I R E R, T H E I N Q U I R E R S E N D S - - I N C L U D I N G I N T H E

18       A D V E R T I S EM E N T S T O I T S C U S T O M E R B A S E , A N E L E C T R O N I C M E A N S

19       O F C O M M U N I C A T I N G.

20                                    M R . P A R K S:     YES.      AND WE WILL BE THERE

21       TOO.      THE PRESS RELEASE THAT WE ISSUE WILL BE PICKED UP

22       B Y , I T H I N K I T I S P H I L L Y. C O M I S T H E I N Q U I R ER ' S P U B L I C

23       F A C I N G V E R S I O N.       T H A T E L E C T R O N I C V E R S I O N W I L L B E T H E R E.

24       A N D S O W E T H O U G H T T H E M E D I A N O T I C E, P U T T I N G O U T A P R E S S

25       R E L E A S E, W A W A P U T T I N G O U T A P R E S S R E L E A S E S A Y I N G W E
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                                                                                                         90

 1       S E T T L E D, A N D T H E R E I S C A S H A N D G I F T C A R D S A V A I L A B L E F O R

 2       P E O P L E, T H A T I S G O I N G T O B E I N T E R E S T I N G E N O U G H F O R T H E

 3       PRESS TO PICK IT UP AND REPEAT IT AND BE BETTER THAN AN

 4       A R T I C L E O N P A G E 1 0 O R I N T H E L E G A L N O T I C E S, A N D M O R E

 5       COST EFFECTIVE BECAUSE OBVIOUSLY THAT DOES NOT COST US

 6       A N Y T H I N G T O I S S U E T H E P R E S S R E L E A S E.

 7                                    A N D I N T H I S C O M P R O M I S E N E G O T I A T I O N, W E

 8       ARE ALWAYS BALANCING -- IF THE PLAINTIFFS HAD WANTED US

 9       T O D O M O R E N O T I C E, T H A T W O U L D H A V E B E E N L E S S D O L L A R S

10       T H A T W E C O U L D G I V E T O T H E C L A S S M E M B E R S.          AND SO WE HAD

11       TO BALANCE THAT.                 AND SO WE FOUND THIS WAY OF GIVING

12       N O T I C E I N A W A Y T H A T I S H I G H L Y E F F E C T I V E, B U T Y E T A L S O

13       E F F I C I E N T.   AND IT MEETS THE GOAL OF RULE 23 OF GIVING

14       N O T I C E, B E S T N O T I C E P R A C T I C A B L E A N D D I R E C T N O T I C E W H E R E

15       W E C A N I D E N T I F Y C L A S S M E M B E R S.       BUT HERE WE CAN'T

16       I D E N T I F Y C L A S S M E M B E R S.        SO WE DON'T HAVE TO PROVIDE

17       D I R E C T N O T I C E.      SUBSTITUTE NOTICE IS THE BEST THAT WE

18       CAN DO, AND WE ARE GIVING SUBSTITUTE NOTICE THAT IS THE

19       SAME NOTICE THAT WE GAVE WHEN THE INCIDENT FIRST

20       U N F O L D E D.

21                                    T H E C O U R T:     DID YOU NOT GET SPECIFIC

22       INFORMATION FROM THE CREDIT CARD COMPANIES WHERE THERE

23       WERE ACTUALLY -- EITHER CREDITS HAD TO BE ISSUED OR

24       C A R D S C A N C E L E D?

25                                    M R . P A R K S:     NO.    THE CARD COMPANIES DO
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 1       NOT GIVE THAT INFORMATION TO US.                           I N F A C T, W E B E A T T H E

 2       WALL FOR A WHILE AND IT TOOK A LOT TO GET THE RAW

 3       I N F O R M A T I O N T H A T A L L O WE D U S T O C O M E U P W I T H T H E 2 2

 4       M I L L I O N C L A S S M E M B E R S N U M B E R.    THAT WAS ONLY AFTER

 5       M O N T H S O F N E G O T I A T I N G W I T H T H E C R E D I T C A R D C O M P A N I E S.

 6       THEY WERE ABLE TO THROUGH OUR PROCESSOR TELL US ALL THEY

 7       H A D W A S - - A L L O U R P R O C E S SO R H A D W A S C A R D N U M B E R S.          THEY

 8       WERE ABLE TO MOUNT UP A WHOLE BUNCH OF COMPUTERS AND

 9       SAY, OKAY, WE ARE GOING TO DE-DUPLICATE I THINK IT WAS

10       B I L L I O N S O F T R A N S A C T I O NS , A N D W E C A N T E L L Y O U T H E R E W E R E

11       3 4 M I L L I O N U N I Q U E C A R D S, C R E D I T A N D D E B I T C A R D S, U S E D A T

12       W A W A D U R I N G T H I S P E R I O D.     AND THEN WE USED SOME

13       I N D U S T R Y- A V E R A G E S T A T I S T I C S A B O U T T H E N U M B E R O F C A R D S A N

14       INDIVIDUAL PERSON WOULD USE AT WAWA TO COME UP WITH

15       P E O P L E.   L I K E , I ' M A W A W A C U S T O M E R, I U S E D T H R E E

16       DIFFERENT CREDIT CARDS AT WAWA DURING THE PERIOD OF TIME

17       O F T H E I N C I D E N T.     SO THE 34 MILLION NUMBER COUNTS ME

18       T H R E E T I M E S.    SO WE HAD TO DE-DUPLICATE IT, AND USING

19       S O M E I N D U S T R Y- A V E R A G E S T A T I S T I C S, W E C A M E T O 2 2 M I L L I O N.

20       B U T I T T O O K A L O T O F W O R K T O G E T T O 2 2 M I L L I O N.               WE ARE

21       NEVER GOING TO GET FROM 22 MILLION WITH ANY KIND OF

22       R E A S O N A B L E O R F R A N K L Y E V E N U N R E A S O N A B L E E F F O R T.   WE ARE

23       NEVER GOING TO GET TO -- BEHIND THE 22 MILLION TO

24       I D E N T I F Y I N D I V I D U A L S B Y N A M E , A D D R E S S, E - M A I L A D D R E S S,

25       A N Y O F T H A T K I N D O F T H I N G.
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                                                                                                      92

 1                                 T H E C O U R T:     OKAY.       ARE YOU READY TO TAKE

 2       A BREAK AND LET MS. HADGIS TAKE OVER?

 3                                 M R . P A R K S:     I THINK I HAD TWO MORE

 4       P O I N T S.   BUT I WILL SKIP ONE, AND I WILL JUST GO WITH

 5       T H E A N S W E R T O Y O U R H O N O R' S Q U E S T I O N A B O U T H O W D O W E K N O W

 6       T H A T W A W A H A S S U C H L O Y A L C U S T O M E R S?         AND THAT IS, WAWA

 7       D O E S S U R V E Y S O F I T S C U S T O M E RS A N D H I R E S C O N S U L T A N T S, A N D

 8       W E S H A R E D T H I S I N F O R M A T I O N W I T H T H E P L A I N T I F F S' L A W Y E R S

 9       THAT SHOWED THE AVERAGE WAWA CUSTOMER GOES TO WAWA 8 TO

10       1 0 T I M E S A M O N T H.       A M O N G T H E B R A N D S I N T H I S F I E L D, W H I C H

11       A R E C O N V E N I E N C E S T O R E S, G A S S T A T I O NS , A N D F O O D O N T H E

12       GO, WHICH INCLUDES ALL OF YOUR FAST FOOD, PLUS PANERA

13       A N D E V E R Y T H I N G E L S E, W A W A , I N T H E S T A T E S I N W H I C H I T

14       O P E R A T E S I N B R A N D S U R V E Y S, H A S T H E H I G H E S T C U S T O M E R

15       L O Y A L T Y A M O N G A L L O F T H O S E C O M P A N I E S.       AND THERE ARE

16       SEVERAL BRAND SURVEYS THAT WE SHARED WITH THE

17       P L A I N T I F FS ' L A W Y E R S T H A T S H O W E D T H A T .

18                                 A N D T H E N T H E S T A T I S T I CS T H A T W E H A V E

19       BEFORE THE COURT SHOW THAT, IN THAT WE SHOWED THAT THERE

20       ARE 22 MILLION CLASS MEMBERS HERE, BUT IN JUST JANUARY

21       O F 2 0 2 1 A L O N E, E V E N W I T H T H E P A N D E M I C I N E F F E C T, T H E R E

22       WERE 64 MILLION VISITS TO WAWA.                          THAT TELLS YOU THAT

23       OVER A NINE-MONTH PERIOD THERE WOULD BE 570 MILLION

24       VISITS TO WAWA.              O B V I O U S L Y, T H A T I S M O R E P E O P L E T H A N

25       T H E R E A R E I N T H E C O U N T R Y, L E T A L O N E I N T H E S I X S T A T E S I N
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                                                                                                     93

 1       W H I C H W A W A O P E R A T E S.   SO THAT TELLS YOU, IF YOU DO THE

 2       MATH, THAT WORKS OUT TO -- I DID THE MATH -- 9.3 VISITS

 3       P E R C U S T O M E R T O W A W A S T O R E S.      S O T H A T W O R K S.       AND I WILL

 4       T E L L Y O U T H A T A L S O R E S O N A T E D W I T H T H E P L A I N T I F F S'

 5       L A W Y E R S I N T H E M E D I A T I O N, B E C A U S E E V E R Y S I N G L E O N E O F

 6       T H E I R N A M E D P L A I N T I F F S W E N T T O W A W A F R E Q U E N T L Y, W E E K L Y,

 7       M O N T H L Y.   I THINK THEY HAD ONE GUY WHO LITERALLY HAS

 8       BEEN AT WAWA ONCE A WEEK SINCE 2009.                             AND THAT CONTINUED

 9       E V E N A F T E R T H E I N C I D E N T, T H A T E V E N A F T E R T H E I N C I D E N T

10       O C C U R R E D, W A W A S T I L L C O N T I N U E D T O E N J O Y T H A T K I N D O F

11       L O Y A L T Y.   W A W A S A L E S D I D N O T D I P A F T E R T H E I N C I D E N T.

12       C U S T O M E R A C C O U N T S D I D N O T D I P A F T E R T H E I N C I D E N T.      WAWA

13       C O N T I N U E D T O E N J O Y T H A T L O Y A L T Y.    A N D S O T H A T R E S O N A T ED

14       W I T H T H E P L A I N T I F FS ' L A W Y E R S W H E N W E S A I D L O O K , T H I S I S

15       WHY GIFT CARDS IS A REALLY GOOD WAY TO DO THIS, BECAUSE

16       O F T H I S L O Y A L T Y, A N D T H E Y S A I D T H E Y A G R E E D.

17                                SO I'M HAPPY TO ANSWER ANY OTHER

18       QUESTIONS OR OTHERWISE I WILL TURN IT OVER TO MS.

19       H A D G I S.

20                                T H E C O U R T:      T H A N K Y O U V E R Y M U C H.

21                                M R . P A R K S:      T H A N K S, Y O U R H O N O R.

22                                M S . H A D G I S:      T H A N K Y O U , Y O U R H O N O R,

23       KRISTIN HADGIS FOR WAWA.                      AND I'M GOING TO JUST BE

24       DISCUSSING THE GIFT CARD ASPECT OF THE SETTLEMENT AND

25       WHY THEY ARE DIFFERENT THAN COUPONS UNDER CAFA.
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                                                                                                    94

 1                                S O I ' M J U S T G O I N G T O D E S C R I B E B R I E F L Y.    I

 2       K N O W Y O U ' V E H E A R D S O M E O F T H I S A L R E A D Y, B U T J U S T S O M E O F

 3       THE ASPECTS ABOUT THE GIFT CARDS THAT REALLY MAKE THEM

 4       MORE AKIN TO CASH.               THEY DO PROVIDE A REAL BENEFIT TO

 5       C L A S S M E M B E R S, W H I C H A R E R E L E V A N T T O T H E A N A L Y S I S A N D

 6       T H E C O N C L U S I O N T H A T T H E Y A R E N O T C O U P O N S.

 7                                T H E C O U R T:     I F T H E Y A R E F U N G I B L E T O C A S H,

 8       THEN WHY NOT CASH?

 9                                M S . H A D G I S:    WELL, THE REASON IS THAT FOR

10       W A W A I T ' S M O R E O F A N I S S U E O F P R O F I T M A R G I N S.      SO

11       WAWA -- AN ITEM THAT WAWA SELLS FOR $5 DOES NOT COST

12       WAWA $5.        BUT A CONSUMER CAN WALK INTO WAWA, AND A $5

13       GIFT CARD IS REAL VALUE TO THEM AND THEY COULD USE THAT

14       T O P U R C H A S E T H A T P R O D U C T.    IF WAWA HAD INSTEAD OFFERED

15       CONSUMERS CASH, IT MAY NOT HAVE BEEN ABLE TO OFFER THE 5

16       A N D $ 1 5 A M O U N T S.    THIS WAS JUST REALLY A GREAT SOLUTION

17       F O R B O T H S I D E S, B E C A U S E I T G I V E S M O R E D O L L A RS B U T I N T H E

18       F O R M O F A G I F T C A R D T O T H E C O N S U M E R S.

19                                T H E C O U R T:     THE MOTIVATION TO THE PAYOR

20       I N T H I S I N S T A N C E, W A W A, T R A N S L A T ES T O M O R E T O T H E

21       RECIPIENT OR THE PAYEE BECAUSE IT COSTS WAWA LESS TO

22       OFFER MORE.

23                                M S . H A D G I S:    T H A T ' S R I G H T.   T H A T' S R I G H T.

24       YES.      THAT IS ACTUALLY IN ONE OF THE CASES WE CITED IN

25       O U R B R I E F, R E I B S T E I N V E R S U S R I T E A I D B E F O R E J U D G E
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                                                                                                     95

 1       R O B R E N O, T H A T W A S A C T U A L L Y A F A C T O R I N H I S A N A L Y S I S

 2       A B O U T T H E G I F T C A R D S, T H A T T H E I R $ 2 0 R I T E A I D G I F T C A R D

 3       WAS OFFERED TO CONSUMERS AND HE ACKNOWLEDGED THAT RITE

 4       AID MAY NOT HAVE BEEN ABLE TO OFFER $20 IN CASH, BUT THE

 5       $20 GIFT CARD WAS OF REAL VALUE THAT CONSUMERS COULD USE

 6       O N E V E R YD A Y I T E M S.          HERE WAWA SELLS EVERYDAY ITEMS FOR

 7       C O N S U M E R S, L I K E M I L K A N D E G G S A N D C O F F E E A N D F O O D, A N D A

 8       $5 GIFT CARD REALLY GIVES THAT CONSUMER VALUE TO BE ABLE

 9       T O P U R C H A S E T H A T I T E M.

10                                  I N A D D I T I O N, W I T H T H E 5 A N D $ 1 5 G I F T

11       C A R D S, C L A S S M E M B E R S D O N O T N E E D T O S P E N D A N Y M O N E Y T O

12       REDEEM THE FULL VALUE OF THE GIFT CARD.                              SO YOU'VE HEARD

13       THAT MORE THAN 3,000 PRODUCTS AT WAWA COST LESS THAN $5.

14       THAT WAS ACTUALLY INFORMATION THAT IN ADVANCE OF THE

15       MEDIATION WAWA TOLD AND PROVIDED THAT INFORMATION TO THE

16       C O N S U M E R P L A I N T I F F S.     SO THIS IS NOT JUST US SAYING

17       HERE, OH, THERE IS ALL THESE AMOUNTS TO JUSTIFY THE

18       A M O U N TS O F T H E S E G I F T C A R D S.      THAT ACTUALLY WENT INTO

19       T H E N E G O T I A T I O N P R O C E S S.

20                                  U N L I K E T H E C O U P O N, C L A S S M E M B E R S H E R E D O

21       NOT NEED TO SPEND ANY MONEY TO REDEEM THE FULL VALUE OF

22       THEIR GIFT CARD, BECAUSE THERE ARE SO MANY ITEMS THAT

23       ARE AT 5 OR $15 OR LESS.

24                                  AND AS YOU HEARD WAWA HAS A VERY LOYAL

25       CUSTOMER BASE AND WE HAVE RECORDS THAT SHOW THAT GIFT
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                                                                                                        96

 1       C A R D S R E A L L Y D O G E T U S E D.

 2                                T H E C O U R T:     WOULD IT BE FAIR TO SAY AND

 3       WOULD IT BE SOMETHING THAT YOU WOULD BE ARGUING THAT

 4       I T ' S L E S S E X P E N S I V E T O D I S T R I B U T E G I F T C A R D S,

 5       P A R T I C U L A R L Y I N T H I S F A S H I O N, A N D T H E R E F O R E W A W A C O U L D

 6       O F F E R M O R E I N S E T T L E M E N T, I N S T E A D O F E F F E C T I N G A

 7       DISTRIBUTION OF CASH, IN WHICH CASE THE CASH WOULD HAVE

 8       H A D T O H A V E B E E N L E S S.

 9                                M S . H A D G I S:     YES, THAT IS ABSOLUTELY

10       R I G H T.

11                                T H E C O U R T:     G O O D A R G U M E N T.

12                                M S . H A D G I S:     IN THE CONTEXT OF CLASS

13       S E T T L E M E N TS , T H E L A W D O E S T R E A T G I F T C A R DS D I F F E R E N T L Y

14       T H A N C O U P O N S.   SO GIFT CARD SETTLEMENTS ARE NOT

15       T Y P I C A L L Y S U B J E C T T O T H E C O U P O N R E Q U I R E M E N T S O F C A F A.

16       T H E T E R M C O U P O N I N A N D O F I T S E L F I S N O T D E F I N E D I N C A F A,

17       B U T C O U R TS I N C L U D I N G I N T H E E A S T E R N D I S T R I C T O F

18       PENNSYLVANIA HAVE UNDERSTOOD A COUPON TO BE A DISCOUNT

19       T O W A R D S T H E F U T U R E P U R C H A S E O F A P R O D U C T O R A S E R V I C E,

20       S O $ 1 0 O F F O F $ 2 5 O R 2 0 P E R C E N T O F F Y O U R P U R C H A S E.

21                                THIS IS A VERY DIFFERENT THING THAN THE

22       G I F T C A R D S B E I N G O F F E R E D H E R E, W H E R E A S I M E N T I O N E D,

23       CLASS MEMBERS DO NOT NEED TO PURCHASE ANYTHING OR SPEND

24       ANY MONEY OUT OF THEIR OWN POCKET IN ORDER TO OBTAIN A

25       B E N E F I T.
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                                                                                                        97

 1                                A S N O T E D I N O U R R E P L Y B R I E F, T H E R E H A V E

 2       BEEN MULTIPLE --

 3                                T H E C O U R T:        THE EXPECTATION IS THEY ARE

 4       GOING TO SPEND MORE THAN JUST WHATEVER THE FACE AMOUNT

 5       OF THE GIFT CARD.

 6                                M S . H A D G I S:       I DON'T THINK THAT IS TRUE

 7       I N W A W A ' S C A S E , I M E A N, A T A C O N V E N I E N C E S T O R E W H E R E S O

 8       MANY ITEMS ARE SOLD AT LOW PRICE THAT YOU REALLY COULD

 9       G O I N - - I F Y O U A R E G O I N G I N F O R A C U P O F C O F F E E, Y O U

10       DON'T NEED TO SPEND MORE THAN YOUR $5.

11                                THERE HAVE BEEN MULTIPLE COURTS THAT HAVE

12       R E J E C TE D T H E A R G U M E N T T H E E M P L O Y E E T R A C K P L A I N T I F F S H A V E

13       M A D E T H A T G I F T C A R D S A R E C O U P O N S.      S O T H E S E C A S E S, W H I C H

14       I N C L U D E T H E R I T E A I D C A S E I M E N T I O N E D, J O H N S O N V E R S U S

15       A S H L E Y F U R N I T U R E, A N D I N R E : B P A C L A S S G I F T C A R D

16       LIABILITY LITIGATION ALL FOUND THAT GIFT CARDS OR

17       V O U C HE R S T H A T W E R E R E D E E MA B L E A T T H E D E F E N D A N T' S

18       BUSINESS WERE NOT COUPONS WITHIN THE MEANING OF CAFA

19       B E C A U S E T H E Y H A D T H E F O L L O W I N G F E A T U R E S, W H I C H A R E A L L

20       PRESENT HERE AS WELL.                  THEY COULD BE USED FOR THOUSANDS

21       OF PRODUCTS AND THEREFORE CLASS MEMBERS HAD CHOICES AS

22       T O W H A T T H E Y C O U L D P U R C H A S E.     CLASS MEMBERS DO NOT HAVE

23       TO SPEND ANY OF THEIR OWN MONEY IN ORDER TO REALIZE THE

24       B E N E F I T S O F T H E S E T T L E M E N T.    S O A S S T A T E D D I F F E R E N T L Y,

25       CLASS MEMBERS DON'T HAVE TO PAY TO ENJOY THE BENEFITS OF
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                                                                                                      98

 1       S E T T L E M E N T.   CLASS MEMBERS ARE ENTITLED TO THE FULL

 2       V A L U E O F T H E G I F T C A R D.        SO IF YOU SPEND A DOLLAR 50 ON

 3       C O F F E E, Y O U H A V E $ 3 . 5 0 R E M A I N I N G T O U S E W I T H I N T H E

 4       O N E - Y E A R P E R I O D O R W H A T E V E R I S L E F T O F T H E P E R I O D.

 5                                SO THERE HAVE BEEN OTHER INSTANCES WHERE

 6       COURTS HAVE EXPRESSED CONCERNS WHERE IT IS A ONE-TIME

 7       U S E , A N D Y O U F O R F E I T A N Y B A L A N C E, W H I C H W O U L D N O T B E

 8       PRESENT HERE.

 9                                F I N A L L Y, T H E Y A R E F R E E L Y T R A N S F E R A B L E

10       W H I C H M A K E S T H E M M O R E L I K E C A S H T H A N A C O U P O N.

11                                I JUST WANTED TO TOUCH ON A COUPLE OF THE

12       C A S E S C I T E D, T H E E M P L O Y E E T R A C K O P P O S I T I O N W H E R E C O U R T S

13       HAVE EXPRESSED --

14                                T H E C O U R T:     WHY NOT ALLOW THE RECIPIENT

15       O F A G I F T C A R D T O C O M E I N A N D S A Y , A L L R I G H T, I ' M

16       G E T T I N G M Y C U P O F C O F F E E.      GIVE ME THE 3:50 THAT REMAINS

17       O N T H E B A L A N C E O F T H E C A R D I N C H A N G E.        THERE IS A $5

18       BILL AND MY CHANGE IS 3.50.                      WHY NOT LET IT WORK THAT

19       WAY?

20                                M S . H A D G I S:     THAT IS ACTUALLY SOMETHING

21       THAT'S SUBJECT TO STATE LAWS.                        THERE ARE SOME STATES OUT

22       THERE THAT SAY IF YOU HAVE A GIFT CARD WITH A CERTAIN

23       B A L A N C E O N I T , O R L E S S T H A N A C E R T A I N B A L A N C E, T H A T Y O U

24       A R E O B L I G A T E D T O P R O V I D E C A S H.    BUT THAT IS NOT

25       S O M E T H I N G T H A T , Y O U K N O W, W E A R E N E C E S S A R I L Y L E G A L L Y
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                                                                                                        99

 1       R E Q U I R E D T O D O H E R E.

 2                                  T H E C O U R T:     B U T I T C O U L D B E D O N E?

 3                                  M S . H A D G I S:    I GUESS IT COULD BE DONE,

 4       B U T T H A T S O R T O F K I N D O F C U T S A G A I N ST T H E W H O L E N O T I O N

 5       THAT THE GIFT CARDS ARE A WAY TO PROVIDE MORE VALUE TO

 6       WAWA CONSUMERS VIS-A-VIS --

 7                                  T H E C O U R T:     I GUESS IT DEPENDS ON WHAT

 8       $3.50 MEANS TO YOU.

 9                                  M S . H A D G I S:    THE CASES IN THE EMPLOYEE

10       T R A C K O P P O S I T I O N, T H E R E A R E T W O I N P A R T I C U L A R, T H E

11       ROUGVIE VERSUS CNR RETAIL GROUP CASE BEFORE JUDGE

12       K E A R N E Y.   THAT CASE IS DISTINGUISHABLE HERE.                           IT DID NOT

13       I N V O L V E G I F T C A R D S, B U T R A T H E R D I S C O U N T V O U C H E R S.      SO

14       THEY PROVIDED FOR $10 OFF A $25 PURCHASE AT JUSTICE

15       R E T A I L S T O R E S.    JUDGE KEARNEY ACTUALLY SAID THIS VOUCHER

16       IS NOT A GIFT CARD.                 THOSE VOUCHERS WERE

17       N O N T R A N S F E R A B L E, A N D C O U L D N O T B E G I V E N O R S O L D T O

18       ANYBODY ELSE, WHEREAS HERE THE WAWA GIFT CARDS ARE

19       F R E E L Y T R A N S F E R A B L E A N D C A N B E U S E D M U L T I P L E T I M E S.        AND

20       THEN THERE WAS INFORMATION PROVIDED TO THE COURT THAT

21       ONLY 2 TO 4 PERCENT OF THE CLASS THAT ACTUALLY REDEEMED

22       T H E V O U C H E R S, W H E R E A S H E R E W E H A V E I N F O R M A T I O N T H A T W A W A

23       C O N S U M E R S A C T U A L L Y U S E D T H E I R G I F T C A R D S.   97 PERCENT OF

24       THE VALUE OF THOSE CARDS ARE TYPICALLY USED.                                  SO THESE

25       CHARACTERISTICS MAKE THE VOUCHERS IN THE ROUGVIE CASE
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 1        V E R Y D I F F E R E N T T H A N T H E G I F T C A R D S H E R E.

 2                                   THE EMPLOYEE TRACK PLAINTIFFS ALSO

 3        FOCUSED ON IN RE: GENERAL MOTORS FROM THE 3RD CIRCUIT

 4        F R O M 1 9 9 5 , W H I C H I S A L S O V E R Y D I S T I N G U I S H A B L E.   THE

 5        CLASS MEMBERS THERE WERE OFFERED A $1,000 CERTIFICATE

 6        T O W A R DS T H E P U R C H A S E O F A T R U C K.        AND THE COURT TOOK

 7        ISSUE WITH THE FAIRNESS OF THE CERTIFICATE BECAUSE THE

 8        AMOUNT OF MONEY A CONSUMER WOULD HAVE TO SPEND TO GET A

 9        T R U C K, W H I C H - - T H E R E W A S S O M E I N F O R M A T I O N I N T H E

10        DECISION THAT IT COULD BE 20,000 TO 33,000 IN ORDER TO

11        A C T U A L L Y R E A L I Z E T H E B E N E F I T.     AND THERE WAS ALSO A

12        FREQUENCY WITH WHICH PEOPLE WOULD ACTUALLY BUY A NEW

13        T R U C K.   S O H E R E I T ' S J U S T V E R Y V E R Y D I F F E R E N T.      UNLIKE A

14        N E W T R U C K, Y O U C A N G O T O W A W A A N D B U Y E G G S A N D C O F F E E

15        AND MILK AND LUNCH SO....

16                                   T H E C O U R T:     I T I S M O R E O F A C O M M O D I T Y.

17                                   M S . H A D G I S:    E X A C T L Y.

18                                   FOR THOSE REASONS THOSE DECISIONS WOULD

19        N O T C O M P E L A D I F F E R E N T R E S U L T H E R E.

20                                   O F C O U R S E, I T ' S W A W A ' S P O S I T I O N T H A T T H E

21        G I F T C A R D S A R E N O T C O U P O N S.         BUT EVEN IF IT DID INVOLVE

22        C O U P O N S, I T D O E S N O T M E A N T H A T P R E L I M I N A R Y A P P R O V A L C A N

23        N O T B E G R A N T E D.      CAFA RESTRICTS THE WAY IN WHICH

24        A T T O R N E Y S' F E E S A R E A W A R D E D I N C O N N E C T I O N W I T H C O U P O N

25        S E T T L E M E N T S, A N D I T D O E S N O T A F F E C T W H E T H E R T H E
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 1        S E T T L E M E N TS T H E M S E L V E S A R E F A I R, R E A S O N A B L E A N D

 2        A D E Q U A T E.

 3                                   S O T H E I S S U E O F A T T O R N E Y S' F E E S I S N O T

 4        C U R R E N T L Y B E F O R E T H E C O U R T.       SO THE FACT THAT WHETHER

 5        T H I S I S A C O U P O N S E T T L E M E N T, W H I C H W E D O N ' T T H I N K I T I S ,

 6        WOULD NOT COMPEL A RESULT THAT PRELIMINARY APPROVAL CAN

 7        N O T B E G R A N T E D.

 8                                   AND I WILL JUST CIRCLE BACK TO WHERE WE

 9        S T A R T E D, W A S J U S T T H A T T H E S E G I F T C A R D S H E R E A R E J U S T A

10        REALLY NICE WAY TO PROVIDE VALUE TO THE CLASS WITH LESS

11        EXPENSE TO WAWA.                 A S I M E N T I O N E D, I T D O E S N O T C O S T W A W A

12        THE DOLLARS FOR THE MERCHANDISE OR THE COMMODITIES THAT

13        T H E C O N S U M E R S W O U L D B E B U Y I N G.        SO IT'S REALLY A NICE

14        WAY AND A NICE SOLUTION TO PROVIDE MORE VALUE TO THE

15        C L A S S, A N D T H A T W A W A L I K E L Y W O U L D N O T H A V E B E E N A B L E T O

16        P R O V I D E T H E S A M E A M O U N TS H A D I T G O N E W I T H A C A S H O R

17        C H E C K S E T T L E M E N T.

18                                   T H E C O U R T:      NICELY DONE.

19                                   M S . H A D G I S:       T H A N K Y O U , Y O U R H O N O R.

20                                   T H E C O U R T:      T W O M I N U T E S.

21                                   M R . H A V I L A N D:      J U S T T W O P O I N T S.

22                                   T H E C O U R T:      T W O M I N U T E S P E R P O I N T.

23                                   M R . H A V I L A N D:      THANK YOU.

24                                   T H E C O U R T:      C O M E O N U P , M R . H A V I L A N D.

25                                   M R . H A V I L A N D:      O N C E A G A I N, Y O U R H O N O R,
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 1        D O N H A V I L A N D, H A V I L A N D H U G H E S F O R T H E E M P L O Y E E T R A C K

 2        P L A I N T I F F S.

 3                                  T W O Q U I C K P O I N TS A N D O N E B I G A S K .

 4                                  POINT NUMBER ONE.               DITTMAN DOES

 5        D I S T I N G U I S H T H E E M P L O Y E E T R A C K P L A I N T I F F S, A N D T H A T I S

 6        T H E R E A S O N W H Y I T H I N K T H E C O U R T' S D E S C R I P T I O N O F D U A L

 7        CAPACITIES IS A GOOD ONE.                        YOU REALLY JUST TALKED TO THE

 8        S I T U A T I O N O F T H E E M P L O Y E E S.     AND I HAVE TO GO TO JUDGE

 9        BECKER IN HIS DECISION IN THE GEORGINE CASE THAT WENT TO

10        T H E S U P R E M E C O U R T I N A M C H E M, A N D T H E C O U R T S A I D A T 5 2 1

11        US 591 AT 627:              T H E S E T T L I N G P A R T I E S I N S U M A C H I E V ED A

12        GLOBAL COMPROMISE WITH NO STRUCTURAL ASSURANCE OF FAIR

13        AND ADEQUATE REPRESENTATION FOR THE DIVERSE GROUPS AND

14        I N D I V I D U A LS A F F E C T E D.   Y O U K N O W, I T ' S N O T A Q U E S T I O N O F

15        D E G R E E.    I T ' S A Q U E S T I O N O F D I V E R S I T Y.    AND THEN THE

16        C O U R T C O N C L U D ES A N D S A Y S T H A T T H E T H I R D C I R C U I T F O U N D N O

17        S U C H A S S U R A N C E S H E R E , B O T H I N T E R MS O F T H E S E T T L E M E N T

18        AND THE STRUCTURE IN TERMS OF THE DIFFERENT GROUPS OF

19        P E O P L E, A N D S A I D T H A T T H E C O U R T' S C O N C L U S I O N W A S R I G H T

20        ON THE MARK.

21                                  O F C O U R S E, T H A T C A S E I N V O L V E D F U T U R E

22        C L A I M A N T S, B U T I T R E A L L Y D I D G I V E C O U R T S A G U I D E P O S T A S

23        TO HOW TO DEAL WITH THE EFFORT TO SETTLE DIVERSE

24        I N T E R E S TS .     AND WE HAVE NOT GOTTEN TO THE DETERMINATION

25        O N D I T T M A N I N T E R M S O F T H E E M P L O Y E ES ' R I G H T S, B U T W E
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 1        S T R O N G L Y B E L I E V E T H A T I T S P E A KS R I G H T T O T H E E M P L O Y E ES '

 2        S I T U A T I O N.

 3                                 T H E C O U R T:      HERE, AS I UNDERSTAND

 4        M R . P A R K S' C O M M E N T S, I T C O U L D W E L L B E T H A T A S A F T E R Y O U

 5        L I T I G A T E T H E Q U E S T I O N, T H E T E C H N O L O G Y Q U E S T I O N, I T C O U L D

 6        BE THAT AN EMPLOYEE -- THERE IS NO LIABILITY AS TO THE

 7        EMPLOYEE QUA EMPLOYEE FOR HIS OR HER OR THEIR STATUS AS

 8        A N E M P L O Y E E, A N D Y E T T H E C O N S U M E R S I D E O F T H A T

 9        E M P L O Y E E' S C L A I M W O U L D S T I L L T H E N H A V E T O B E O U T T H E R E.

10                                 M R . H A V I L A N D:    YES.        I AGREE WITH THAT

11        A N D T A L K I N G A B O U T T H E E S O T E R I C I S S U E O F M R . P A R K S, O U R

12        C O N C E R N W A S T H A T A D V O C A C Y, T H A T S T R U C T U R A L A S S U R A N C E W A S

13        NOT AT THE TABLE ON THE EMPLOYEE QUA CONSUMER SIDE OF

14        IT, IN ORDER TO ADVOCATE THAT WE APPRECIATE THAT WAWA

15        LIKES ITS CUSTOMERS AND WILL ASSUME A DUTY IN

16        N E G L I G E N C E, W I L L N O T A R G U E T H E E C O N O M I C L O S S R U L E.      WE

17        DON'T NEED YOUR MOTHER MAY I.                        WE HAVE YOU BECAUSE THE

18        S U P R E M E C O U R T S A I D W E A R E D I F F E R E N T.     THAT IS JUST A

19        DIFFERENT NEGOTIATION IN TERMS OF -- AND WE REALLY THINK

20        T H A T T H E E M P L O Y E E S N E E D T O B E T R E A T E D B E T T E R.      WHAT THAT

21        M E A N S D I D N O T H A P P E N.     AND THAT IS THE REASON FOR OUR

22        OBJECTION TO THE SETTLEMENT INCLUDING THE EMPLOYEES AS

23        P A R T O F T H E C O N S U M E R C L A S S.

24                                 T H E C O U R T:      YES, BUT THEY DON'T

25        NECESSARILY GET TO BE TREATED BETTER WHEN THEY ARE
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 1        WEARING THEIR CONSUMER HAT.

 2                                     M R . H A V I L A N D:   W E L L, T H E Y ' R E T R E A T E D

 3        D I F F E R E N T L Y.   AND YOU CAN'T DECIDE THE OUTCOME UNTIL YOU

 4        H A V E G O N E T H R O U G H T H E P R O C E S S T O G E T T H E R E.         AND THAT IS

 5        REALLY THE ISSUE THAT WE HAVE WITH THE END RESULT OF THE

 6        5 B U C K S I S 5 B U C K S.           AND SOME OF THE ISSUES YOUR HONOR

 7        HAS GOTTEN TO, AND I KNOW I'M GOING WELL OVER TWO

 8        M I N U T E S, B U T T H E E M P L O Y E E S A R E T H E R E.        AND SO HERE IS A

 9        G O O D E X A M P L E F O R T H E C U R R E N T E M P L O Y E E.       THEY ARE JUST

10        GOING TO PUT IT IN THE SYSTEM AND TAKE 5 BUCKS OUT OF

11        T H E R E G I S T E R, A N D T H A T B E G S T H E Q U E S T I O N.         YOU HAVE

12        5 0 , 0 0 0 P E O P L E T H A T A R E C A S H I N G T H A T M O N E Y.       RIGHT AWAY

13        T H A T I S H I T T I N G T H E B O T T O M L I N E, R I G H T?         SO THERE IS

14        P R O B A B L Y A N I S S U E T H E R E.

15                                     I DON'T SEE WHERE THAT CAME UP, BUT I

16        C E R T A I N L Y W O U L D H A V E S A I D , A L L R I G H T, W E L L, Y O U A R E J U S T

17        G O I N G T O G I V E T H E M O N E Y T O T H E E M P L O Y E E S, A N D I T ' S A

18        D I R E C T B E N E F I T.      AND THEY ARE CERTAINLY GOING TO USE IT

19        BECAUSE THEY ARE ON THE JOB, BUT THAT IS GOING TO

20        E N G E N D E R A D I S C U S SI O N A B O U T C L A I M S' R A T E S, A N D I K N O W W E

21        SKIPPED OVER THAT.

22                                     B U T I D O N ' T S E E W H E R E T H A T H A P P E N E D,

23        J U D G E, A N D T H A T I S T H E B I G G E S T C O N C E R N I S T H A T B E C A U S E

24        T H E Y A R E A D I V E R S E G R O U P, B E C A U S E T H E Y A R E D I S T I N C T,

25        T H E Y H A V E A D I F F E R E N T A R G U M E N T, W E S A Y Q U A L I T A T I V E L Y
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                                                                       105

 1        B E T T E R, I T W O U L D H A V E L E D T O A D I F F E R E N T D I S C U S S I O N A N D

 2        M A Y B E A S I M I L A R O U T C O M E, B U T I C A N ' T S A Y T H A T A T T H I S

 3        P O I N T.

 4                                   S E C O N D P O I N T, A N D I A P P R E C I A T E T H E

 5        I N D U L G E N C E, O N T H E N O T I C E P L A N .       I JUST WANT TO MAKE THE

 6        POINT THAT I THINK THE RECORD IS VERY CLEAR NOW, THERE

 7        A R E 1 1 , 0 0 0 M C G L A D E- L I K E F O R M E R E M P L O Y E E S.     I THINK

 8        DIRECT MAIL COST SOMETHING IN THE ORDER OF TO 2 TO 250.

 9        YOU ARE TALKING ABOUT $25,000.                           THEY SAY IT'S

10        O V E R - N O T I C I N G P E O P L E.   I DON'T SEE IT THAT WAY.                     THE

11        W H O L E C L A S S I S O V E R- N O T I C ED I N T E R M S O F T H E P L A C A R D A N D

12        THE EXPERIENCE BECAUSE THEY DON'T KNOW FROM THE

13        C O N S U M E R' S P E R S P E C T I V E W H O I S I N T H E C L A S S.        YOU HAVE A

14        FINITE GROUP OF PEOPLE --

15                                   T H E C O U R T:      YES.      B U T T H E P L A C A R D, A T

16        HOWEVER MANY STORES THERE ARE, IS A FINITE COST.                                           AN

17        ECONOMIST WILL USE FANCY TERMS BUT THE PUR-VIEWING COSTS

18        OF A PLACARD THAT IS AT THE CASH REGISTER IS

19        I N F I N I T E S S I M A L, A S O P P O S E D T O S L A P P I N G A S T A M P O N A N

20        E N V E L O P E.

21                                   M R . H A V I L A N D:     THE REAL CONCERN IS FORMER

22        E M P L O Y E E S S O M E O F W H O M D O N ' T R E A L L Y L I K E W A W A A N Y M O R E.

23        WE HAVE SOME CLIENTS THAT ARE ROYAL FARMS AND OTHER

24        P L A C E S.       AND EXPECTING THEM TO GO INTO WAWA IN FOUR

25        W E E K S I S A B I G S T R E T C H.          W H E R E A S, Y O U ' V E G O T T H E I R
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 1        ADDRESS AND YOU CAN SEND THEM A NOTICE AND SAY, BY THE

 2        W A Y , I K N O W Y O U W E R E T H E R E T H E N, A N D S I N C E Y O U W E R E A N

 3        EMPLOYEE THEN, IT IS HIGHLY LIKELY YOU USED YOUR CREDIT

 4        CARD BECAUSE YOU WERE BEHIND THE DESK.                             SO TO STAY THAT

 5        I T I S O V E R - N O T I C I N G, I D O N ' T K N O W H O W - -

 6                                  T H E C O U R T:    MAYBE THESE FOLKS ARE READING

 7        T H E L E G A L I N T E L L I G E N C E R?

 8                                  M R . H A V I L A N D:   J U D G E, I C A N F R E E L Y A D M I T

 9        I D O N ' T R E A D I T A S O F T E N A S I P R O B A B L Y S H O U L D, B U T I T

10        D O E S C O M E T O O U R O F F I C E.

11                                  I W I L L R E A D T H I S P O R T I O N O F M U L L A N E, A N D

12        THEN I WILL SIT DOWN:                   WHERE THE NAMES AND ADDRESSES OF

13        THOSE AFFECTED BY A PROCEEDING -- THIS IS THE PROCEEDING

14        -- ARE AT HAND, THE REASONS DISAPPEAR FOR RESORT TO

15        MEANS LESS LIKELY THAN THE MAILS TO APPRISE THEM OF THE

16        P E N D E N C Y.   AND THAT IS REALLY -- I UNDERSTAND WE HAVE

17        G O N E A L O N G W A Y I N T E R M S O F T E C H N O L O G Y.      I HAVE NOT SEEN

18        A C A S E W H E R E A C O U R T H A S S A I D, Y O U C A N J U S T D O A P R E S S

19        R E L E A S E A N D T H A T I S G O I N G T O S U F F I C E U N D E R D U E P R O C E S S.

20        MULLANE STILL EXISTS AS THE LAW OF THE LAND IN TERMS OF,

21        Y O U H A V E T O G O T H R O U G H T H I S D E C I S I O N T R E E.     IF YOU GOT

22        T H E M A I L S, Y O U U S E T H E M A I L S.        IF YOU HAVE GOT

23        P U B L I C A T I O N, Y O U U S E T H E P U B L I C A T I O N.   THAT IS WHAT

24        THESE EXPERTS GET PAID FOR.

25                                  T H E C O U R T:    BUT THE LAW SAYS, YOU DON'T
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 1        H A V E T O D O S O M E T H I N G T H A T H A S N O P O I N T.

 2                                  M R . H A V I L A N D:   T R U E T H A T, Y O U R H O N O R.

 3        BUT YOU DO HAVE TO GO THROUGH THE DECISION TREE, AND I'M

 4        O N L Y H E R E O N B E H A L F O F T H A T G R O U P O F P E O P L E.        AND

 5        BECAUSE YOU'VE GOT NAMES AND ADDRESSES AND REALLY

 6        ACUTELY AS TO THE 11,000 PEOPLE WHERE IT IS UNLIKELY

 7        T H E Y A R E G O I N G B A C K T O T H E S T O R E, T H E R E' S G O O D R E A S O NS

 8        W H Y T H E Y W O U L D N O T G O B A C K , T H E Y W O U L D N O T B E L O Y A L, M Y

 9        C L I E N T W A S T E R M I N A T E D.   I WAS HOPING MS. MCGLADE WOULD

10        C O M E T O D A Y, B U T S H E H A S A D O U B L E S H I F T.            SHE WOULD HAVE

11        T O L D Y O U , S H E I S N O T G O I N G B A C K T O W A W A.

12                                  A N D T H E P O I N T B E I N G, S E N D T H E M T H E M A I L,

13        JUST TELL THEM.                  IF YOU ARE GOING TAKE AWAY THEIR RIGHTS

14        A N D S A Y , H E R E I S 5 B U C K S, A T L E A S T L E T T H E M K N O W A N D L E T

15        T H E M P A R T I C I P A T E.     THAT IS ALL I ASK.

16                                  T H A N K Y O U , Y O U R H O N O R.

17                                  T H E C O U R T:    THANK YOU ALL VERY MUCH.

18        HAVE A GOOD DAY.

19                                  JUST THOSE OF YOU WHO MIGHT BE

20        I N T E R E S T E D, Y O U C A N E X P E C T S O O N, A N D S O O N I N M Y W O R L D I S

21        A WEEK AGO, SOME RULINGS ON THE PENDING MOTIONS IN THE

22        F I N A N C I A L I N S T I T U T I O N S' T R A C K, E T C E T E R A.     NO SPECIFIC

23        P R O M I S E S, B U T I T H O U G H T I W O U L D L E T Y O U K N O W W H A T' S O N

24        MY DESK.

25                                  O N T H I S P O I N T, I W O N ' T B E H O L D I N G I T A
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 1        W H O L E L O N G T I M E , B U T I D O W A N T T O E V A L U A T E, O N C E

 2        M S . W H I T E G E T S M E T H E T R A N S C R I P T, A N D Y O U A L L C A N R E A C H

 3        O U T T O M R . C O Y L E, W H O C A N T E L L Y O U H O W Y O U C A N G E T T H E

 4        T R A N S C R I P T U N D E R T H E S E C I R C U M S T A N C E S, I F Y O U W I S H I T .

 5                                  I'M NOT REALLY INTERESTED IN SOLICITING

 6        M O R E W R I T T E N S U B M I S S I O N S O N T H I S P O I N T, B U T I F T H E R E I S

 7        SOMETHING THAT YOU JUST REALLY MUST COMMUNICATE WITH THE

 8        C O U R T I N W R I T I N G O N P O I N T S T H A T W E H A V E D I S C U S S E D, O R I F

 9        THERE WERE TO BE SOME LATE-BREAKING NEWS ABOUT SOME NEW

10        CASE THAT IS PERTINENT AND YOU FEEL A NEED TO WRITE

11        A B O U T I T , I W O U L D N O T W A I T T O O L O N G T O S E N D M E A N Y T H I N G.

12        BUT IF YOU DO SEND THE COURT MORE WRITTEN MATERIAL ON

13        T H E S E P O I N T S, K E E P I T T O S I X P A G E S, 8 - A N D - A - H A L F B Y 1 1 ,

14        O N E S I D E O N L Y , D O U B L E S P A C E D, L E G I B L E- T Y P E S I Z E ,

15        O N E - I N C H M A R G I N S, N O A T T A C H M E N T S A N D M I N I M A L F O O T N O T E S,

16        THAT IS, LESS THAN SEVEN LINES OF FOOTNOTES PER

17        F O O T N O T E.

18                                  IS THERE ANYTHING UNCLEAR ABOUT THAT,

19        F O L K S?    I D O N ' T R E A D B E Y O N D T H O S E N U M B E R S O F P A G E S,

20        P A R T I C U L A R L Y I N T H I S S E T T I N G.     I F O U N D L A W Y E R S, A S Y O U

21        W E L L K N O W , A R E S O S M A R T.       THEY CAN FIGURE OUT WHAT

22        L I T T L E T E E N Y C R A C K R E M A I N S.       I REALLY DON'T INTEND FOR

23        THERE TO BE ANY.               THERE IS NO DAYLIGHT IN WHAT I'M

24        C O M M U N I C A T I N G T O Y O U O N T H I S P O I N T, B E C A U S E Y O U H A V E A L L

25        BEEN EXTREMELY EFFECTIVE THUS FAR.
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 1                                  THANKS VERY MUCH.                 NICE TO SEE YOU.

 2                                  A L L C O U N S E L:     T H A N K Y O U , Y O U R H O N O R.

 3                                  ( H E A R I N G C O N C L U D E D. )

 4                                  I CERTIFY THAT THE FOREGOING IS A CORRECT

 5        TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

 6        A B O V E- E N T I T L E D M A T T E R.

 7

 8        5-20-21

 9        DATE                                             SUZANNE R. WHITE

10                                                         OFFICIAL COURT REPORTER

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